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                                                                            Page 1
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.:9:18-cv-80176-BB/BR

              ----------------------------------------
              IRA KLEIMAN, as the personal            )
              representative of the Estate of David    )
              Kleiman, and W&K Info Defense           )
              Research, LLC                           )
                                  Plaintiffs,.        )
                                                      )
                      v.                              )
                                                      )
              CRAIG WRIGHT                            )
                                  Defendant.          )
              ----------------------------------------

                                 VIDEO-TAPED DEPOSITION OF

                                     MR. ANDREW O'HAGAN

                                               On

                                   Tuesday March 17, 2020

                                     At the offices of:
                                Simons Muirhead & Burton LLP
                                 87-91 Newman St, Fitzrovia,
                                      London W1T 3EY,
                                      United Kingdom


              taken by:
              AMY COLEY, Court Reporter

              Plaintiffs' Designations
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              %FGFOEBOUhT$PVOUFS%FTJHOBUJPOT
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                                                                            Page 2
         1                              A P P E A R A N C E S
         2
              For the Plaintiffs (via telephone):
         3
              BOIES SCHILLER FLEXNER LLP
         4    100 SE 2nd Street, Suite 2800
              Miami, Florida 33131
         5    Tel. 305-539-8400.
              Email: Abrenner@bsfllp.com.
         6
              By: Andrew S. Brenner, Esq.
         7
         8    ROCHE CYRULNIK FREEDMAN LLP
              200 S. Biscayne Blvd, Suite 5500
         9    Miami, Florida 33131
              Telephone: (305) 357-3861.
        10    Email: Vel@rcfllp.com.
        11    By: Velvel (Devin) Freedman, Esq.
        12
              ROCHE CYRULNIK FREEDMAN LLP
        13    99 Park Avenue, Suite 1910
              New York City, NY 10016
        14    Email: Kyle@rcfllp.com.
              Email: Jdelich@rcfllp.com.
        15
              By: Kyle W. Roche, Esq.
        16    Joseph M. Delich, Esq.
        17
              For the Defendant (via telephone):
        18
              RIVERO MESTRE LLP
        19    2525 Ponce de Leon Boulevard, Suite 1000
              Miami, Florida 33134
        20    Phone: 305.445.2500
              E-mail: Arivero@riveromestre.com
        21
              By: Amanda McGovern
        22    Andrés Rivero, Esq.
              Julio Paez, Esq.
        23
        24
        25
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                                                                            Page 3
         1
              For Mr. O'Hagan:
         2
              MILLER KORZENIK SOMMERS RAYMAN LLP
         3    Paramount Plaza, 1501 Broadway
              Suite 2015, New York, NY 10036
         4
              By David Koreznik, Esq.
         5    Terrence Keegan, Esq.
         6    English Counsel for Mr. O'Hagan:
         7    SIMONS MUIRHEAD & BURTON
              87-91 Newman St, Fitzrovia,
         8    London W1T 3EY, United Kingdom
         9    By Jude Bunting, Esq.
        10
              Also present:
        11
              Ms. Alison Green (The Examiner via Telephone)
        12
              Martin Soames, Erica Henshilwood, Flora
        13    Bezzenberger (Simons Muirhead & Burton)
        14
              Amy Coley (Court Reporter on behalf of Magna Legal
        15    Services)
        16    Linda Fleet (Videographer on behalf of Magna Legal
              Services)
        17
        18
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        25
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                                                                              Page 4
         1                               I N D E X
         2
         3    Exhibit No.                                              Page
         4    1                  --                           --       12
         5    2                  --                           --       12
         6
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                                                                             Page 5
         1                       THE VIDEOGRAPHER:       We are now on
         2    the record.      This begins media number 1 in the
         3    deposition of Andrew O'Hagan, in the matter of Ira
         4    Kleiman et al versus Craig Wright.            In the United
         5    States District Court Southern District of
         6    Florida, case number 9:18-cv-80176-BB/BR.              Today
         7    is March 17th 2020 and the time is 1.11 p.m.              This
         8    deposition is being held at the offices of Simons
         9    Muirhead & Burton in London United Kingdom.              The
        10    videographer is Linda Fleet of Magna Legal
        11    Services, the court reporter is Amy Coley.              Will
        12    counsel please state their appearances and whom
        13    they represent.
        14                       MR. BUNTING:      My name is Jude
        15    Bunting, I am English counsel for Mr. O'Hagan.
        16    Also present with me in the room are three
        17    solicitors from Simons Muirhead & Burton, Martin
        18    Soames, Erica Henshilwood and Flora Bezzenberger.
        19                       MR. KORZENIK:      I will give my
        20    appearance, on behalf of Andew O'Hagan, David
        21    Korzenik -- K-O-R-Z-E-N-I-K, of Miller Korzenik
        22    Sommers Raymond.       With me online is Terrence
        23    Keegan.
        24                       MR. KEEGAN:      My name is spelled
        25    T-E-R-R-E-N-C-E K-E-E-G-A-N.
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                                                                            Page 6
         1                       MS. McGOVERN:      On behalf of
         2    Dr. Wright my name is Amanda McGovern, with the
         3    law firm of Rivero Mestre, and I am here with my
         4    colleague Julio Paez.        Also Andres Rivero will be
         5    joining this deposition intermittently throughout
         6    the day.
         7                       MR. BRENNER:      This is Andrew
         8    Brenner from the law offices of Boies Schiller and
         9    Flexner.     I represent the plaintiffs in this case.
        10    Mr. Freedman may be on or off during the time of
        11    the deposition, from the law firm of Roche
        12    Cyrulnik and Freedman, also on behalf of the
        13    plaintiffs.      Ms. Green, you may swear the witness.
        14                       THE EXAMINER:      Thank you very much.
        15       Mr. Andrew Francis O'Hagan, was duly sworn and
        16                      testified as follows:
        17                       THE EXAMINER:      Mr. O'Hagan, what
        18    I want to say to you is that I am appointed to
        19    look after the position as far as the English
        20    court's jurisdiction is concerned.            I hope we will
        21    see fair play as far as you are concerned.              I hope
        22    we will see fair play as far as you are concerned.
        23    What I suggest is, if you ever feel you need a
        24    break, please indicate that to everyone.             If you
        25    do not understand something that you are being
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                                                                            Page 7
         1    asked, or you have not heard it quite right, do
         2    ask for it to be repeated, and at any time if you
         3    want to stop, just make that clear.            Having said
         4    that, I will now hand-over to counsel who will ask
         5    you some questions.
         6                       THE WITNESS:      Thank you.
         7                       MR. BRENNER:      Good morning
         8    Mr. O'Hagan -- or good afternoon, I am sorry.               How
         9    are you?
        10               A.      Very well thank you.
        11               Q.      Let me just pick up where the
        12    examiner left off.        If, for reasons of the
        13    technology we are using, or just simply because I
        14    am not clear, or I am not loud enough, just make
        15    sure to let me know that you are either having
        16    difficulty hearing or understanding anything that
        17    I am asking you and I will remedy that, okay?
        18               A.      I will.
        19               Q.      Okay?
        20               A.      Yes.
        21               Q.      Just for the purpose of making sure
    R
        22    you understand how depositions work in the United
        23    States, have you ever had your deposition taken
        24    before in a US case?
        25               A.      I have not.
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                                                                            Page 8
         1               Q.      Okay, so let me give you some of
         2    the ground rules so that this is not all foreign
         3    to you.     A few things to keep in mind:          There is a
         4    court reporter there, or a stenographer, who is
         5    trying to take out everything you say, everything
         6    I say and to the extent any lawyers have an
         7    objection, anything they say; okay?
         8               A.      Yes.
         9               Q.      And because of that we have to make
        10    sure we do a couple of things.           One is that we
        11    either ask questions or answer the questions
        12    audibly, as opposed to with gestures or shakes or

   R    13    nods of the head; okay?
        14               A.      Yes.
        15               Q.      Another thing we have to try to do,
        16    and sometimes it is difficult, is make sure that
        17    we let each other finish either a respective
        18    question or answer; okay?
        19               A.      Yes.
        20               Q.      So if there is a time that I cut
        21    you off in the middle of an answer, or talk at any
        22    part of your answer, I can assure you it is
        23    unintentional, but all you need to do is let me
        24    know that I did that and I will make sure you to
        25    let you finish what you were trying to say; okay?
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                                                                            Page 9
    R    1               A.      Understood.
         2               Q.      And try to do the same for me.
         3    Sometimes I think it will be pretty apparent what
         4    my question is going to -- the rest of my question
         5    is going to sound like, and in a conversation
         6    sometimes we are able to anticipate what the other
         7    person is going to say, but in a deposition we
         8    have to let each other finish so that the court
         9    reporter can get a full record; okay?
        10               A.      Understood.
        11               Q.      And I will underscore what you were
        12    told before, you are in charge here as far as
        13    breaks go.      If at any time, whether for a good
        14    reason or no reason at all, you simply need to
        15    take a break -- (unclear due to problem with video
        16    link)
        17               A.      I should tell you that you are
        18    breaking up somewhat at the moment.
        19                       THE EXAMINER:      Mr. Brenner's voice
        20    is broken up as far as I am concerned.             It has
        21    broken up.
        22                       MR. BRENNER:       Yes, for me too.
        23                       THE VIDEOGRAPHER:       Do you want to
        24    go off the record?
        25                       THE EXAMINER:      Maybe someone can
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                                                                          Page 10
        1    phone him from the solicitor's office.
        2                       MR. FREEDMAN:      This is
        3    Mr. Freedman.      I am going to try to reach
        4    Mr. Brenner via his cell phone.
        5                       THE EXAMINER:      Okay.
        6                       THE VIDEOGRAPHER:         Okay we will go
        7    off?
        8                       THE EXAMINER:      Yes.
        9                       THE VIDEOGRAPHER:         Going of the
       10    record.    The time is 1.19.
       11                       (A short break off the record from
       12    1.19 to 1 23).
       13                       THE VIDEOGRAPHER:       Back on the
       14    record.    The time is 1.23.
       15                       (The court reporter read back the
       16    last question and answer between Mr. Brenner and
       17    the witness).
       18                       MR. BRENNER:      Okay.    Are we back on
       19    the record?
       20                       THE EXAMINER:      Yes.
       21    MR. BRENNER:
       22              Q.       Mr. O'Hagan, where we left off and
       23    I had technical difficulties, I was just letting
       24    you know that if you need to take a break it is up
       25    to you and you just let us know; okay.
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                                                                          Page 11
        1               A.      Thank you, that is understood.
        2               Q.      The last thing is, so you
        3    understand, your deposition is being not only
        4    taken down by a stenographer, there is also an
        5    videographer there.        The reason that is, is some
        6    or all of this deposition may be played at a trial
        7    to a jury in the United States.           Do you understand
  R
        8    that?
        9               A.      I do understand that.
       10              Q.       The oath you took today before the
       11    deposition is in some substance the oath you would
       12    have taken had you taken an oath in the United
       13    States to tell the truth to the best of your
       14    ability.     Do you understand that?
       15              A.       Yes, indeed.
       16              Q.       Prior to today's deposition
       17    I forwarded to your counsel two documents that I
       18    intended to aid us in the question and answer
       19    today.    Do you have those in front of you?
       20              A.       I do.
       21              Q.       Okay.    So if we could, Madam Court
       22    Reporter, if we could mark as exhibit 1 to this
H
BOL    23    deposition the witness statement of Andrew
R
       24    O'Hagan, the date of which -- the signed date is
       25    November 22, 2019.
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 H                                                                        Page 12
BOL     1             (Exhibit 1 marked for identification)
 R
        2              Q.       Do you have that Mr. O'Hagan?
        3              A.       I do.
        4              Q.       The second document that I would
        5    like to mark as exhibit number 2 is a photocopy of
        6    a long form article entitled "The Satoshi Affair".
        7    The subtitle appears to be "Andrew O'Hagan on the
  H     8    many lives of Satoshi Nakamoto", and that
  R
        9    document, if you look at the bottom, Mr. O'Hagan,
       10    the copy we are working off appears to be 48
       11    pages; is that correct.        If you look at the very
       12    bottom right-hand corner?
       13            (Exhibit 2 marked for identification)
       14              A.       Actually the copy I am working from
       15    has 55 pages.
       16              Q.       Okay.    That would be -- on the
       17    bottom right-hand corner does it say 1/55 on the
       18    first page?
       19              A.       It says 55 out of 55 and on the
       20    front it says is 1/55.
       21              Q.       Okay, we will see how that works.
       22    I wonder if that is how it printed out at your
       23    end.
       24              A.       Yes.
       25              Q.       In any event, it is an article that
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                                                                          Page 13
        1    appeared in the London Review of Books in June
        2    2018, is that?
        3              A.       No.
        4              Q.       What is the date?       I am having
        5    trouble reading the date on top.
        6                       MR. KORZENIK:      Andrew Brenner, the
        7    document that I am looking at begins with page 157
        8    of page 420, and it is listed as document 24-1,
        9    page 2 of 96.
       10                       MR. BUNTING:      I understand that
       11    Mr. Korzenik is referring to a copy of The Satoshi
       12    Affair which was exhibited to Mr. Freedman's
       13    helpful witness statement in the English
       14    proceedings.      I am not sure that we are all
       15    working from the same copy of this document.
       16    BY MR. BRENNER:
       17              Q.       I don't want to get hung up.          I
       18    think we will all be looking at the same article,
       19    regardless of the page numbers, but I will work
       20    with you, Mr. O'Hagan, to make sure that you
       21    understand what part of the article I am referring
       22    to, if you need help in that; okay?
       23              A.       Yes.
       24              Q.       So have we marked those now as
       25    exhibits 1 and 2?
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                                                                          Page 14
        1                       THE COURT REPORTER:       Yes.
        2    BY MR. BRENNER:
        3              Q.       Okay.    Mr. O'Hagan, just because we
        4    got a little sidetracked, what is the date of the
        5    The Satoshi Affair article?
        6              A.       The date of publication, as marked
        7    on the exhibit in front of me, and what I know to
        8    be the publication date of the original article,
        9    is 30th June 2016.
       10              Q.       Thank you sir.      If I could go to
       11    direct your attention to exhibit 1, which is a
       12    witness statement you filed ----
       13              A.       Yes.
       14              Q.       What I am going to do, just so you
  R
  H    15    understand sort of the road map for the deposition
       16    today is, I am going to walk you through that
       17    statement, only to use it as a guide to present to
       18    the jury your background and your qualifications
       19    and your work as a journalist; okay?
       20              A.       Understood.
       21              Q.       Can we just start off by you
       22    identifying yourself and spelling your last name
       23    for the record?
       24              A.       My name is Andrew O'Hagan, surname
       25    spelled O'-H-A-G-A-N.
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                                                                          Page 15
        1                Q.     In exhibit 1 you identify an
        2    address of
        3            ;
        4
        5

  R     6                A.     Yes.
        7                Q.     And is that a business address?
        8                A.     No, that is a home address.
        9                Q.     Is that a current address for you?
       10                A.     It is.
       11
       12
       13
       14                Q.     Is it fair to describe your
       15    profession as a journalist and a published
       16    novelist?
       17                A.     Yes, indeed.
       18                Q.     Where are you currently employed?
       19                A.     I am a freelance writer who has a
       20    contract with the London Review of Books as editor
       21    at large, which is effectively a contributing
       22    editor.
       23                Q.     And how long have you had that
       24    title of editor at large or contributing editor at
       25    the London Review of Books?
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                                                                          Page 16
        1              A.       Over the last ten years, that
        2    particular title.
        3              Q.       I'm sorry?
        4              A.       Ten years.
        5              Q.       Thank you.     Can you tell the jury
        6    what the London Review of Books is?
        7              A.       The London Review of Books is the
        8    largest -- that is to say the largest selling and
        9    most read -- literary publication in Europe and
       10    has been in existence as a publication since 1979,
       11    carrying book reviews and freestanding
       12    journalistic reports since that time.            So it has
       13    existed for 40 years.
       14              Q.       Can you estimate for me the
       15    readership for the London Review of Books if you
       16    know that?
       17              A.       You mean the circulation figure?

   R   18              Q.       Yes, sir.
       19              A.       That number would be 80,000-plus,
       20    as of this month's figures.
       21              Q.       And how much of that is within the
       22    United Kingdom and how much of that is outside the
       23    United Kingdom?
       24              A.       The proportion is about 75% UK, 25%
       25    US, I believe.      But I would need to take
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                                                                           Page 17
        1    advisement on that.        I am not absolutely certain
   R
        2    these days.
        3              Q.       Okay, and I appreciate that.          If
        4    you have an answer that you are unsure of and you
        5    are giving your best estimate, you should just let
        6    us know that and I appreciate that.
        7              A.       Sure.
        8              Q.       Okay.    You said that approximately,
        9    at least as you sit here today, approximately a
       10    quarter of the readership or the subscription to
       11    the London Review of Books is US based?
       12              A.       Yes.    For the record, we should
       13    make a distinction between circulation and

   R   14    readership.     Circulation refers to numbers of
       15    copies sold or subscribed to.          Readership is the
       16    number of people who would actually put eyes on
       17    the publication, which is always much higher,
       18    because many of the people who read this
       19    publication read it in a library, where of course
       20    we would expect that many people would read the
       21    same copy.
       22              Q.       How often is the London Review of
       23    Books published?
       24              A.       Fortnightly.
       25              Q.       Was that the case at or around the
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                                                                          Page 18
        1    time The Satoshi Affair was published?
        2              A.       It was.
        3              Q.       You described the London Review of
        4    Books as primarily doing two kinds of work; one
        5    was a review of books and the other I think you
        6    described as long form journalism?
        7              A.       Yes, broadly speaking.        It also
        8    carries poems.
        9              Q.       Poems, okay.      I know from exhibit 1
       10    and from your publication of The Satoshi Affair
       11    that you yourself contributed in the way of long
       12    form journalism.       Do you do also reviews of books?
       13              A.       From time to time, yes.
       14              Q.       Do you write poems?
       15              A.       I do not.
       16              Q.       Okay.    Primarily your work for the
       17    London Review of Books, is it in the field of long
       18    form journalism?
       19              A.       I could not tell you the split but
       20    I am certainly known for writing long form
       21    journalism as much as for reviewing books.
       22              Q.       Okay.    Now, in your witness
       23    statement, if you could go to the second page,
   H
       24    because I am going to ask you some questions about
       25    paragraph 3?
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                                                                          Page 19
        1              A.       Yes.
        2              Q.       It says that you have been doing

   H    3    investigative journalism for the London Review of
        4    Books for 25 years; is that correct?
        5              A.       That is correct.
        6              Q.       So just so -- my understanding, is
        7    it only the last ten or so that you have held the
        8    role of editor at large?
        9              A.       Before that I was contributing
       10    editor and before that I was simply a contributor.
       11    And in the 1990s I was employed as an assistant
       12    editor there.
       13              Q.       Can you say the last part again,
       14    sir?
       15              A.       In the 1990s I was employed as an
       16    assistant editor on the publication.
       17              Q.       When you write novels -- strike
       18    that.    Do you write novels?
       19              A.       I do sir.
       20              Q.       Okay.    Do you write both fiction
       21    and nonfiction when you are publishing books?
       22              A.       I am afraid I do not understand
       23    that question.
       24              Q.       Sure, well, the books you have
       25    published, are they fiction, nonfiction or both?
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                                                                          Page 20
        1              A.       They are both, that is to say some
        2    of them are nonfiction and some of them are
        3    fiction.
        4              Q.       Okay, not within the book, I got
        5    that.    Do -- sorry, I lost that for one second.
        6    When you are writing books, are you doing that in
        7    an independent capacity, or is that also part of
   R
        8    your job at the London Review of Books?
        9              A.       It is an independent thing.
       10                       MR. KORZENIK:      At some point I am
       11    going to object.       It seems that we are getting a
       12    bit far afield.      I have no objection to background
       13    but I am not sure where this is going.
       14                       MR. BRENNER:      Right now, just
       15    background.     That will be about the first half of
       16    the deposition.
       17    BY MR. BRENNER:
       18              Q.       Okay.    Can you tell the jury how
       19    many books you have published?
       20              A.       I have published nine books.          Can I
       21    make the note that in my statement it says eight
 R
BOL
       22    books, but one has been published since then.
       23              Q.       Okay.    What is the one that has
       24    been published since the statement?
       25              A.       A foreign edition of a book I wrote
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                                                                          Page 21

 R      1    about British farming has been published since
BOL     2    then.
        3               Q.      Okay. Have you published any books
        4    on the subject of crypto currency?
        5               A.      I would need you to describe or
        6    define what you mean by that.
        7               Q.      Have you published any books that
        8    involve the subject matter of -- crypto currency,
        9    do you know what that term means?
       10              A.       Yes, I do.
       11              Q.       Okay.    Have you published any books
       12    on that subject?
       13              A.       I have published no complete book
       14    on that subject, but I published a book that
       15    included references and chapters relating to that
       16    subject.
       17              Q.       I understand the clarification.
       18    Which book was that?
       19              A.       That was my last book "The Secret
       20    Life".
       21              Q.       And is that book about in any way
       22    Dr. Wright?
       23              A.       A third of that book is taken up
       24    with the article that you have previously
       25    mentioned, The Satoshi Affair, which was
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                                                                          Page 22
        1    republished in that book.
        2               Q.      Okay.    In your witness statement
        3    you have listed a series of awards you have got.
        4    I would just like you to walk me through those and
        5    really briefly tell me what they are.            You said
        6    you have been nominated three times for the Booker
        7    Prize;     what is that?
        8               A.      The Booker Prize is one of the
        9    premier awards for fiction in the English speaking
       10    world, covering both books published in England
       11    and in the Commonwealth and in the United States.
 H
       12    The United States have only been involved or
 R
BOL    13    covered by that prize in the last four years,
       14    I think.     I have been nominated, as you say, three
       15    times, I have been long listed or shortlisted for
       16    that prize.     Going on to other awards, would you
       17    like me to?
       18              Q.       Sure,sir, thank you.
       19              A.       The Esquire Award for nonfiction
       20    writing was in recognition of a book I wrote
       21    called "The Missing" which was a nonfiction book;
       22    the Glenfiddich Award, which is a Scottish award,
       23    for best novel of the year, which is voted for by
       24    the public, was for a book of mine called
       25    "Personally"; the Los Angeles Times Book Prize
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                                                                          Page 23
        1    self-describing.       That was awarded for me for a
        2    novel of mine called "Be Near Me"; the EM Forster
        3    Award from the American Academy of Arts and
        4    Letters is an award given by that organisation for
        5    a body of work, and that was given to me for my
        6    body of work so far.        I am also a fellow of the
        7    Royal Society of Literature, which is perhaps some
        8    would say the leading society for literary
        9    scholars and writers in the United Kingdom, and
       10    I am a visiting professor of writing at King's
 H     11    College London.      I have an honorary doctorate from
 R
       12    the University of Strathclyde, which is in
BOL
       13    Glasgow, and I am a patron of several book
       14    festivals as well as the George Orwell society.
       15              Q.       Your witness statement goes on to
       16    say that you are a member of the Professional
       17    Publishers Association; what is that?
       18              A.       That is an organisation which
       19    recognises journalists working currently and
       20    publishing currently in the United Kingdom.
       21              Q.       Thank you sir.      You indicate in
       22    your witness statement, which is exhibit 1, that
       23    you have done some work for UNICEF.            Can you tell
       24    the jury, first, what UNICEF is and what you have
       25    done for them?
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                                                                          Page 24
        1              A.       UNICEF is the United Nation
        2    organisation, a charity devoted the welfare of
        3    children around the world.         They appoint
 H      4    ambassadors to signal their work and represent the
 R
        5    organisation, both in terms of consciousness
BOL
        6    raising and fundraising in the media and
        7    elsewhere.     And I have been an ambassador for that
        8    organisation for 20 years this coming year.
        9              Q.       Thank you sir.      It says you have a
       10    degree, which I think you just mentioned, from the
       11    University of Strathclyde; is that right?
       12              A.       That is right.
       13              Q.       It says you also have, in addition
       14    to your work for the London Review of Books, it
       15    appears you have also contributed journalism to
       16    other newspapers; is that correct?
       17              A.       That is correct.
 R
BOL    18              Q.       You have done work for the
       19    Guardian?
       20              A.       I have.
       21              Q.       And the Guardian is what?
       22              A.       The Guardian is an English
       23    newspaper, but when I say that, it also has a
       24    large leadership online around the world now.
       25              Q.       Okay, and you have also done work
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        1    for the Daily Telegraph?
        2              A.       Also an English newspaper.
        3              Q.       Thank you.     And the New Yorker,
        4    that is not a newspaper; correct?
        5              A.       The New Yorker is a well known
        6    magazine sited in New York since the 1920s.
        7              Q.       Also a publication that does long
        8    form investigative journalism?
        9              A.       It does.
       10              Q.       And you have published there?
       11              A.       I have.
       12              Q.       And then you also have published in
 R     13    the New York Times?
BOL
       14              A.       I have.
       15              Q.       You also have done some
       16    contributions for the BBC.         Can you first of all
       17    tell the jury what the BBC is?
       18              A.       The British Broadcasting
       19    Corporation is perhaps, or certainly sees itself
       20    as the premier broadcaster in the United Kingdom.
       21              Q.       Okay.    What have you done for that?
       22              A.       I have presented various arts
       23    programmes for them, not in any regular capacity
       24    I have to say, that is to say I have never had a
       25    regular show nor sought one, but I have presented
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                                                                          Page 26
  R
        1    documentaries for them over the years.
 BOL
        2              Q.       In your -- in the professional
        3    circles in which you operate, what is your
        4    professional -- strike that.          In the professional
        5    circles in which you operate what is your
        6    understanding of the reputation for the work that
        7    is published in the London Review of Books?
        8                       MR. KORZENIK:      Objection, seems far
        9    afield.
       10    BY MR. BRENNER:
       11              Q.       You can answer, Mr. O'Hagan, unless
       12    you are instructed not to.         You know what, let me
       13    give you one more ground rule that I forgot to
       14    give you.      There will be times that various
       15    lawyers may make objections.          Let me try to let
       16    you know how that is going to work.            You have
       17    counsel that is representing you in your capacity
       18    as a witness, both in London and in the United
       19    States.    From time to time they may make an
       20    objection and they may or may not follow that
       21    objection with an instruction for you not to
       22    answer a question.       If they are just making an
       23    objection and not giving you that instruction,
       24    that objection is not one that you need to be
       25    concerned about, it is one that is going to be
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                                                                          Page 27
        1    resolved or perhaps resolved by a court later.              If
        2    your counsel instructs you not to answer a
        3    question, all I will do is ask you a follow-up,
        4    which is whether you are going to follow that
        5    instruction; okay?
        6              A.       Yes.
        7              Q.       There may be times also where the
        8    lawyers for Dr. Wright, who do not represent you,
        9    they may make objections in order to preserve some
       10    issues for a judge in the United States to rule on
       11    down the road.      I do not anticipate at any time
       12    they will instruct you not to answer a question,
       13    but please pay them the courtesy to just allow
       14    them to finish their objection, because they need
       15    that to be noted for the record, and then once you
       16    are comfortable, or we are both comfortable that
       17    they have completed their objection, then you will
       18    answer the question.        Okay?
       19              A.       Of course.
       20                       MR. KORZENIK:      One note here is
       21    that, since we are not really parties to the
       22    Florida action and have not appeared in it, some
       23    of our objections, we will have no opportunity
       24    later to object to the use of particular answers,
       25    and therefore I will want to be a little bit more
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                                                                          Page 28
        1    strict in the way in which I treat objections.
        2                       MR. BRENNER:      We will cross that
        3    bridge if we need to when we get there.
        4    BY MR. BRENNER:
        5               Q.      Mr. O'Hagan, since there was a lot
        6    of talk in between the question, let me try to ask
        7    it again, okay.
        8               A.      Yes.
        9               Q.      I just wanted to get your
       10    understanding, as a long-time member of the
       11    journalistic community, both writ large in the

 R     12    world and specifically in the UK, what is your --
BOL    13    at least based on your understanding, the
 F
 S     14    reputation for the London Review of Books?
       15              A.       Sir, are you asking about my
       16    reputation or the reputation of the publication?
       17              Q.       Thank you for the clarification.           I
       18    am not asking you to comment on your reputation,
       19    I am asking you to comment on the reputation of
       20    your employer, the London Review of Books?
       21                       MS. McGOVERN:      (Unclear) Objection
       22    to form.
       23              A.       Yes?
       24                       MR. BRENNER:      I am not sure if
       25    Ms. McGovern made an objection. I did not really
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                                                                           Page 29
        1    hear it.
        2                       MS. McGOVERN:      I am sorry.
        3    Objection to form.         This is Amanda McGovern.
        4    BY MR. BRENNER:
        5              Q.       You can answer sir.
        6              A.       I am not quite sure what the
        7    intervention was just now.
        8              Q.       Okay.     That was Ms. McGovern, who
        9    is one of the attorneys for Dr. Wright.             She has
       10    appropriately exercised her right to make a legal
       11    objection to the form of my question.            That is
       12    something that may or may not be resolved by a
       13    judge down the road, but it is of no moment to
       14    you, in the sense that once she has completed her
       15    objection you should answer the question.
       16              A.       Okay.    As a person associated with
       17    the London Review of Books, I am not sure I am
  R
 BOL   18    best positioned to talk about its reputation.              For
  F
       19    my own part, my understanding is that it has one
  S
       20    of the highest representations for journalistic
       21    standards in the English speaking world.
       22              Q.       Only to your own work, and I am
 H     23    going to paragraph 6 of your witness statement,
 R
BOL
       24    you describe your own stories or your own work as
       25    having had some of the biggest -- have been some
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 H      1    of the biggest the London Review of Books has ever
 R      2    published; do you see that?
BOL
        3              A.       That is right.
        4              Q.       What do you mean by the biggest,
        5    what is that ----
        6                       MR. KORZENIK:      Objection.     We are
        7    way far afield from what we are really have been
        8    ordered to discuss.       This is no longer really his
        9    background.
       10                       MR. BRENNER:      Are you instructing
       11    the witness not to answer?         We can have this
       12    debate off the record if you are instructing the
       13    witness not to answer.        All I am trying to do,
       14    which is specifically ordered by the court, and
       15    I am trying to establish the gentleman's
       16    qualifications, which of course go to the question
       17    regarding the scope of the work which we are going
       18    to get to, which is The Satoshi Affair.             I am
       19    entitled to go through his qualifications and his
       20    professional abilities, which I believe are
       21    outstanding and have been set forth by him in
       22    great detail.      I am not sure what the basis of the
       23    objection, when I am going through specifically
       24    what he himself has identified as his background
       25    and qualifications.       So ----
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                                                                          Page 31
        1                       MR. KORZENIK:      Right, but this is
        2    far afield from that, because you are now talking
        3    about his impression of the reputation of the
        4    publication.      He has already given you a
        5    background of the London Review of Books.             So
        6    I just ask that we -- you are asking him -- he
        7    says that he does not know what others may think.
        8    You are asking him what he thinks it may be.
        9    I think this invites speculation, so I am --
       10    I want to allow you to get his background, you are
       11    entitled to that, but I just think this is getting
       12    into his speculation about what other people think
       13    about a publication that he writes for.
       14    BY MR. BRENNER:
       15              Q.       Right, so, just to be clear,
       16    Mr. O'Hagan, I am on paragraph 6, which we are
       17    talking specifically about your work and how you
 R
       18    described your own work, so I am not asking about
 H
BOL    19    the -- we have already covered the reputation of
       20    the London Review of Books generally.            If you can
       21    go to paragraph 6, you describe your work as some
       22    of the biggest the London Review of Books has
       23    published; do you see that?
       24              A.       I do.
       25              Q.       What did you mean by some of the
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                                                                          Page 32
        1    biggest work -- some of the biggest the London of
        2    Review of Books has published?

 R      3               A.      The ones with the biggest hits.
 H      4               Q.      Okay, and when you say hits, does
BOL
        5    that mean trying to measure the readership of the
        6    pieces?
        7               A.      That is currently how the success,
        8    if you like, of such articles is measured.
        9               Q.      Very well, sir, that is what I was
       10    trying to clarify.       You have written pieces for
       11    example on Mr. Assange from Wikileaks?
       12                       MS. McGOVERN:      Object to form;
       13    leading.
       14    BY MR. BRENNER:
       15              Q.       Okay, let me rephrase the question.
       16    Have you written any pieces on Mr. Assange from
       17    Wikileaks?
       18              A.       I did.
       19              Q.       Now, you have a reference to
  R    20    something here which is very well known in London
       21    but less so in the US, so I am going to ask you
       22    clarify.     You also have written pieces on the
       23    Grenfell Tower fire?
       24              A.       You say pieces, plural, it was a
       25    single piece.
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                                                                          Page 33
        1              Q.       Okay, very well.       You wrote a piece
        2    on the Grenfell Tower fire?
        3              A.       I did.
        4                       MS. McGOVERN:      (Unclear) form;
        5    leading.
        6    BY MR. BRENNER:
        7              Q.       Did you write a piece on the

   R    8    Grenfell Tower fire?
        9              A.       I did.
       10                       MS. McGOVERN:      Objection.
       11    BY MR. BRENNER:
       12              Q.       What is the Grenfell, what was the
       13    Grenfell Tower fire?
       14                       MS. McGOVERN:      Object to form;
       15    relevance.
       16                       MR. BRENNER:      That is not a proper
       17    form of objection, Ms. McGovern.
       18                       MS. McGOVERN:      I am not going to
       19    object to this line of questioning.            Just --
       20    I don't want to interrupt you and I don't want to
       21    delay this, so let me just make a standing
       22    objection to this prolonged discussion about
       23    Mr. O'Hagan on other unrelated books and
       24    publications, based on relevance.           I also am going
       25    to insist that you stop leading the witness.
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                                                                          Page 34
        1                       MR. KORZENIK:      And by the way,
        2    I have not stipulated to the usual stipulations,
        3    including waiving questions as to relevance
        4    precisely because I have no later opportunity to
        5    challenge that.      So I have to deal with that now.
        6    I think we are getting quite distant from what
        7    I think it is proper background, in terms of
        8    credentials, education, and journalistic
        9    experience.     So I would ask that you focus and
       10    keep within that zone.
       11                       MR. BRENNER:      Thank you.
       12    BY MR. BRENNER:      What was the Grenfell Tower fire?
       13              A.       The Grenfell Tower fire was an
       14    incident in London where a whole tower block in
       15    West London went on fire, resulting in the deaths
 R
BOL    16    of 79 individuals.
       17              Q.       And that particular piece you wrote
       18    actually took up the whole publication, one whole
       19    publication of the London Review of Books?
       20              A.       Famously.
       21              Q.       You yourself have written over 250
       22    articles for the London Review of Books?
       23                       MS. McGOVERN:      Object to form;
       24    leading.
       25    BY MR. BRENNER:
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                                                                           Page 35
        1              Q.       Let me rephrase that.        Have you
 R      2    written -- how many articles have you written for
BOL
        3    the London Review of Books?
        4              A.       Over 250.
        5              Q.       I want to transition just a little

 R      6    bit into your professional method for when you do
        7    long form journalism, okay?
        8              A.       Okay.
        9                       MR. KORZENIK:      Objection.     And that
       10    goes to the privilege, and I am directing the
       11    witness not to answer that.          We are not going into
       12    his methods, his journalistic technique or his
       13    editorial methodology.
       14                       MR. BRENNER:      Sir, with all due
       15    respect, nothing can have journalistic privilege
       16    if he put it in a witness statement.            I am asking
       17    about things that he has put -- that he has
       18    voluntarily published.        I am not asking for
       19    anything privileged.        Trust me on this.       We have
       20    to take it question by question.           But I am not
       21    going to accept a blanket objection to things that
       22    he has put it in a witness statement.            It cannot
       23    be privileged if he put it in the witness
       24    statement.     None of this is going to be offensive
       25    to Mr. O'Hagan, in allowing him to explain how he
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        1    does his work.      So I will ask my questions.          If
        2    you want to instruct him not to answer on a
        3    question by question basis, that of course is your
        4    right to do so.
        5                       MR. KORZENIK:      Then I will direct
        6    the witness to read that portion of the witness
        7    statement that he has disclosed in which he
        8    disclosed that, but no more no less.
        9                       MR. BRENNER:      Okay, that is
       10    perfectly fine with me.        I am okay that.       As I am
       11    sure you will understand, I need him to do that
       12    because I cannot just simply put in the witness
       13    statement as evidence, so I do need him to read
       14    what is in there; okay?
       15    BY MR. BRENNER:
       16              Q.       Mr. O'Hagan, if you could go to
       17    paragraph 11 of your witness statement, which is
       18    on page 5?

 H     19              A.       Yes.
 R
       20              Q.       I am focused on the beginning part
       21    of that to start; do you see that?
       22              A.       Yes.
       23              Q.       Can you read into the record what
       24    the first sentence -- before I do that, this is a
       25    witness statement you prepared; correct?
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                                                                          Page 37
        1              A.       It is.
        2              Q.       And you signed it,       I think it is
        3    on page 14; is that correct, that is your
        4    signature?

 H      5              A.       Yes.
 R      6              Q.       And as you state, to the best of
        7    your knowledge, you believe that the facts stated
        8    in the statement are true; correct?
        9              A.       Yes.
       10              Q.       Okay.    Can you read the first
       11    sentence of what you wrote in paragraph 11?
       12                       MS. McGOVERN:      If you could just
       13    stop one moment.       I am going to make objection to
       14    this entire reading of paragraph 11 of the witness
       15    statement, based on hearsay and based on
       16    relevance.
       17                       MR. BRENNER:      If you can limit your
       18    objections to form -- either way.
       19    BY MR. BRENNER:
       20              Q.       Could you read that please ----
       21                       MS. McGOVERN:      If I could just
       22    clarify the record, I am not trying to do this to
       23    be difficult.      I agree with Mr. Korzenik, we do
       24    not have an opportunity to later to state our
       25    otherwise accepted standard objections, and
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        1    because you are having a witness read a witness
        2    statement which is hearsay into the record, I must
        3    state that objection now so that we can make that
        4    objection to the District Court in the Southern
        5    District of Florida at a later time at the
        6    appropriate time.
        7                       MR. BRENNER:      Thank you.
        8    BY MR. BRENNER:
        9               Q.      Can you read what you wrote in
       10    paragraph 11, the first sentence, please?
       11              A.       "Journalists, whilst preparing
  H
  R    12    their stories, do not merely accept what is said
       13    to them.     We will report what is said but also
       14    take steps to verify it against what others say,
       15    as well as against available records."
       16              Q.       When you write "we" in that second
       17    sentence you are including yourself in that as
       18    part of your process?
       19                       MR. KORZENIK:      Objection.
       20                       MR. BRENNER:      Are you objecting to
       21    him defining the word "we", sir?
       22                       MR. KORZENIK:      Yes.
       23                       MR. BRENNER:      Okay, are you
       24    instructing him not to answer the word "we" sir?
       25                       MR. KORZENIK:      Yes.
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                                                                           Page 39
        1                       MR. BRENNER:      Okay.   Ms. Green, is
        2    this something you weigh in on, or do we have to
        3    bring this up to the British court, the objection
        4    to the witness identifying when he uses the word
        5    "we" whether it includes himself?
        6                       THE EXAMINER:      He can explain what
        7    he means by "we".         When it comes to objections and
        8    whether something is admissible in the US court,
        9    because it is hearsay, as Ms. McGovern has said,
       10    then that is something for the US court.             But he
       11    can clarify his own words.
       12    BY MR. BRENNER:
       13              Q.       Sir, what did you mean by the word
  H
       14    "we" in the second sentence at paragraph 11; did
  R
       15    that include you?
       16                       MR. KORZENIK:      Objection.

   H
       17              A.       It refers to the word "journalists"
   R   18    at the beginning of the previous sentence.
       19    BY MR. BRENNER:
       20              Q.       Are you including yourself in the
       21    term journalists?
   H   22              A.       Yes.
   R
       23              Q.       Okay.    If you could read the next
       24    sentence which starts:        " As journalists"?
       25              A.        "As journalists, we will interview
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        1    sources who can confirm or contradict the given
        2    statements and generally work to dig down into the
        3    claims being made."
        4              Q.       Do you -- is that, do you consider
        5    yourself part of the "we" in that sentence?
        6              A.       Yes.
        7              Q.       Okay.    Can you read the next
        8    sentence please, sir?
        9              A.       "As part of this process, the
       10    journalist often meets with people who wish to
  H    11    tell the truth but demand to be protected through
  R
       12    confidentiality."
       13              Q.       When the word "the journalist" is
       14    used there, does that include you?
       15              A.       I would hope so, yes.
       16              Q.       Thank you, sir.      Can you read the
       17    next sentence please?
       18              A.       "Alternatively, they may seek to
       19    give background information only, or to give
       20    information some of which is very sensitive and
       21    which is expressly said to be 'not for
       22    publication', or to provide other information
       23    which may not be revealed even possibly by being
       24    attributed to that source."
       25              Q.       Okay, thank you sir.        If you could
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  H     1    go to paragraph 12 next?
  R     2               A.      Yes.
        3               Q.      Can you read the first sentence
        4    please?
        5                       MS. McGOVERN:      I am going to object
        6    to the entire line of questioning regarding this
        7    witness reading any of his witness statement into
        8    the record, based on hearsay.          I am going to make
        9    this objection once, but it is pertaining to every
       10    single time to ask him to read his witness
       11    statement into the record, so that I do not
       12    interrupt the deposition.
       13    BY MR. BRENNER:
       14              Q.       Sir, to address that objection, the
       15    things that I am having you read from the witness
       16    statement, are those things that you are
       17    testifying to under oath, just as you wrote them
       18    in your witness statement as being true and
       19    correct?
       20              A.       I am afraid I do not understand
       21    your meaning.
       22              Q.       Sure.    In your witness statement

 H     23    you stated that the statements contained in there
 R
       24    were -- you said the facts stated in the witness
       25    statement are true; do you recall that?
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                                                                          Page 42
        1              A.       Yes.
        2              Q.       Okay, you still stand by that;
        3    correct?
        4              A.       I stand by my statement, yes.
        5              Q.       Yes.    Now what I am asking you to
        6    read those things again into the record, do you
        7    stand by them pursuant to the same oath you took
  H
  R     8    at the start of this deposition?
        9              A.       I do.
       10              Q.       Okay.    Can you read the first
       11    sentence of paragraph 12 again please?
       12              A.        "In my practice, the undertaking
       13    of a journalistic article is a matter of intense
       14    discussion and preparation."
       15              Q.       Then you go on in that paragraph,
       16    I will ask you to read it in a moment, to describe
       17    your method for doing your research; correct?
       18                       MR. KORZENIK:      Objection.
       19    BY MR. BRENNER:
       20              Q.       Is that correct?
       21                       MR. KORZENIK:      Again, you have can
       22    have him read those statements, those have been
       23    made in a public document, but beyond that, to ask
       24    him to go beneath the surface of that, I will
       25    object to it and instruct him not to answer,
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                                                                          Page 43
        1    unless it is a very obvious question.
        2    BY MR. BRENNER:
        3              Q.       Okay, so let's do it this way.           Can
        4    you read the second sentence of paragraph
        5    12 please?
        6                       MS. McGOVERN:      Just so that the
        7    record is perfectly clear with respect to my
        8    objection, the only thing this witness is being
        9    permitted to do is to read his out of court
       10    statement.     He is not being allowed to go into
       11    depth and certainly he is not being allowed to be
       12    properly cross-examined with respect to those
       13    statements.     I continue my objection based on
       14    hearsay and the inability to thoroughly
       15    investigate the statements made by the out of
       16    court statement that has been permitted to exactly
       17    what he said and nothing more.
       18                       MR. BRENNER:      With all due respect
       19    Ms. McGovern, I have not limited your ability to
       20    do anything at this point.         Right now I am taking
       21    a deposition ----
       22                       MS. McGOVERN:      Well I ----
       23                       MR. BRENNER:      Excuse me, just let
       24    me finish, I know you wanted -- let me finish.
       25    I will let you finish, let me finish.            With all
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                                                                          Page 44
        1    due respect, I have not done anything to limit
        2    your ability.      Now, that may or may not come to be
        3    when you get to your part of the deposition, but
        4    right now no one has done anything to limit you.
        5    You are being allowed to listen to the deposition
        6    and you are allowed to make objections as you deem
        7    appropriate.      That is all we are doing right now.
        8    I am now asking the witness to affirm again what
        9    he has written in his witness statement.
       10    BY MR. BRENNER:
       11              Q.       If you could read, sir, the second
       12    part of paragraph 12 ----
       13                       MS. McGOVERN:      Before you jump in,
       14    Mr. Brenner, I would like to respond.            This is a
       15    very, very important issue in this deposition, as
       16    you can imagine.
       17                       MR. BRENNER:      Yes Ma'am.
       18                       MS. McGOVERN:      I would like to
       19    complete my objection so it is clear for Judge
       20    Bloom as to what the basis is.
       21                       MR. BRENNER:      Okay.
       22                       MS. McGOVERN:      You were asking this
       23    witness to read into the record the statement that
       24    he made and his counsel is instructing him not to
       25    go beyond that.      My objection, based on hearsay,
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                                                                          Page 45
        1    is an out of court statement includes that
        2    objection by his counsel, Mr. Korzenik and in fact
        3    really emanates from that objection, so it is
        4    perfectly clear what the limitation on this
        5    witness's ability to testify about the statement
        6    truly is.      Thank you.
        7                       MR. BRENNER:      So far we are okay.
        8    We will see if we get there.
        9    BY MR. BRENNER:
       10              Q.       Mr. O'Hagan can you read what you
       11    wrote in the second sentence of paragraph 12 and
       12    tell me if that is still true and correct?
       13                       A.   "I interview researchers,
       14    convene meetings with editors and finally deploy
       15    myself in many month months of scrutiny and
       16    interviewing of subjects relevant to the story."
 H
 R     17              Q.       And the next sentence too please,
       18    sir?
       19              A.       "I am very much an on-site
       20    journalist, staying in the locations of the story
       21    and investigating carefully over time and with the
       22    luxury of many thousands of words to properly
       23    write the complete story."
       24              Q.       Thank you sir.      Okay.    We are going
       25    to now transition to talking specifically about
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                                                                          Page 46
        1    The Satoshi Affair, which has been marked as
        2    exhibit 2, we are going to stick on exhibit 1,
        3    just because you addressed that article in

 H      4    particular in your witness statement.            Okay?
 R      5              A.       Okay.
        6              Q.       If you could go to page 8 is where
        7    I believe you start talking, at least you have a
        8    section devoted to The Satoshi Affair?
        9              A.       Yes.
       10              Q.       Excuse me.     I am directing your
       11    attention to starting at paragraph 21 ----
       12                       MR. BUNTING:      Can I object and ask
       13    that any question is properly identified to the
       14    limited scope of the deposition, as agreed and
       15    ordered in the consent order of 17th December.              If
       16    Mr. Brenner could helpfully explain what paragraph
       17    of paragraph 3 these questions are going to, then
       18    that will enable us to advice Mr. O'Hagan, in
       19    terms of whether or not he needs to answer any
       20    further questions.
       21                       MR. KORZENIK:      I agree with that.
       22                       MR. BRENNER:      I have no idea what
       23    you are asking me to do.         But I am going to ask my
       24    questions.     If you think it goes beyond the scope,
       25    that is your right and obligation to make an
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                                                                           Page 47
        1    objection.     I am asking him, which I told you
        2    before the deposition repeatedly, I have sent you
        3    the documents before the deposition, I am walking
        4    through the gentleman's witness statement.             I am
        5    going to talk to him about what he has revealed
        6    was his reasons and his process during The Satoshi
        7    Affair, and I am going to go through the article
        8    and go through the various actual statements and
        9    quotations in there and I will not, as agreed to,
       10    ask him to verify either any other source other
       11    than Dr. Wright, nor will I ask him to reveal any
       12    other source, nor will I ask him to confirm the
       13    accuracy of any other quotes from individuals
       14    other than Dr. Wright.        That is all within the
       15    scope of the order and that is what I intend to
       16    do.
       17                       MR. BUNTING:      Mr. Brenner, let me
       18    respond to that.
       19                       MR. KORZENIK:      (Unclear) that even
       20    the reading of the witness statement, public
       21    though it may be, is departing from background,
       22    which is one of the permissible zones of
       23    questions.     That is what troubles us.         So I would
       24    like to stick with the zones of permissible
       25    enquiry, which are background and then
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                                                                          Page 48
        1    confirmation of quotations, confirmation of
        2    factual assertions (unclear) with the work.
        3                       MR. BRENNER:      I am sorry, I didn't
        4    hear you.
        5                       MR. KORZENIK:      In other words, the
        6    order confines this questioning to background.              We
        7    have construed that as liberally as we can, and
        8    background can be broad, but the court order
        9    limits these questions to background and then to
       10    the confirmation of quotations, and the
       11    confirmation of factual assertions, quote:
       12    "Contained within the work."          So that is what
       13    I would like this deposition to focus on, is those
       14    permitted zones of enquiry.
       15                       MR. BRENNER:      Are you ready to
       16    proceed?
       17                       MR. KORZENIK:      Yes.
       18    BY MR. BRENNER:
       19              Q.       I will make sure -- Mr. O'Hagan,
       20    please make sure to just -- you have been doing a
       21    great job of this -- wait half a second or so, or
       22    a second, to give either your attorneys or the
       23    attorneys for Dr. Wright, which will be
       24    Ms. McGovern, to make an objection so we are not
       25    speaking over each other and give you whatever
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        1    direction they think is appropriate.            Then,
        2    barring one of them telling you not to answer the
        3    question, I will ask you to answer the question;
        4    okay?
        5              A.       Okay.
        6              Q.       Very well.     If you could go to
  R
  H     7    paragraph 21 of your witness statement?
        8              A.       Yes.
        9              Q.       Can you please tell us how you were
       10    contacted by representatives of Dr. Wright to
       11    begin your work on The Satoshi Affair?
       12                       MR. BUNTING:      Objection, that is
       13    outside the scope of the order.
       14                       MR. BRENNER:      Are you instructing
       15    him not to answer?
       16                       MR. BUNTING:      Yes.
       17                       MR. KORZENIK:      Yes.
       18                       MR. BRENNER:      Ms. Green, is that
       19    something I need to take up with the --
       20    I apologise for my not full familiarity with the
       21    processes in the UK -- is that something that you
       22    are supposed to rule on, or is that something that
       23    we need to take up after the fact then see if the
       24    court will order Mr. O'Hagan to answer the
       25    question?
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                                                                          Page 50
        1                       THE EXAMINER:      The position is that
        2    there has been, as presented to me, a draft
        3    consent order, which states what are the areas
        4    that Mr. O'Hagan should be asked about.             As far as
        5    the order goes, one has to concentrate on that and
        6    say the things set out in the order are what he
        7    can be asked about.       Looking at paragraph 3, it is
        8    the following topics of questioning.            As far as
        9    I am concerned, and if you disagree with me you
       10    can take it up with the court, you are entitled to
       11    ask him under (a), his educational background,
       12    employment history, professional qualifications,
       13    personal preparation for the deposition.             It says
       14    "(that includes contacts he has had with parties,
       15    lawyers etc.)".      Then at (b), "The accuracy of the
       16    quotes and factual assertions contained within his
       17    work The Satoshi Affair."         Then it says:      "Save
       18    that other than confirming the accuracy of quotes
       19    and factual assertions with his work The Satoshi
       20    Affair, nothing within this order shall require
       21    the respondent to..." Then it deals with not
       22    disclosing various matters which reveal a
       23    confidential journalistic source.           I am confirming
       24    that.    So that is the -- as far as the English
       25    court is concerned, it looks at that as being what
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                                                                          Page 51
        1    has been agreed by consent orders the areas that
        2    are going to be covered.         It is a matter for
        3    Mr. O'Hagan's counsel as well representing him to
        4    say what they consider to be covered, but it is
        5    what is said there and you are quite entitled to
        6    ask him all about the, as I said, the educational
        7    background etc. in that (a) and then (b), looking
        8    at the accuracy of the quotes and factual
        9    assertions contained within his work, The Satoshi
       10    Affair.
       11                       MR. BRENNER:      Okay.   Just so the
       12    record is clear, all I wanted to ask him in this
       13    area was, just to establish that his work began
       14    through a contact from Dr. Wright or his
       15    representatives, and the reason is that it is
       16    going to go to the credibility of Mr. O'Hagan's
       17    testimony when he is asked to confirm or affirm
       18    the accuracy of information provided by Mr. Wright
       19    in The Satoshi Affair.        So it really was one
       20    question on this.       That is all I want to ask him,
       21    which is in his witness statement, is that he was
       22    approached in December 2015 by people representing
       23    Dr. Wright.     I do not ----
       24                       MR. KORZENIK:      I am going to object
       25    to that and direct the witness not to answer that.
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                                                                           Page 52
        1                       MR. BRENNER:      Okay.   So I can --
        2    thank you, sir, and I understand that will be your
        3    instruction.      I just want to finish what I was
        4    saying.    I am sure that you did not know that I
        5    was not done, because it is hard on video.             That
        6    is all I wanted to ask him on that, then I was
        7    going to proceed to going through the actual
        8    Satoshi Affair.      Just so the record is clear, my
        9    question would have been:         "Is it true you were
       10    approached in December 2015 by people representing
       11    Dr. Wright to investigate and write the truth
       12    about him and the journey he says he went about
       13    the process of outing himself as the inventor of
       14    Bitcoin, Satoshi Nakamoto" -- and what I just read
       15    is a direct quote from the witness's statement in
       16    paragraph 21.      So that is my question.        Now that I
       17    have put my question on the record if the
       18    instruction is not to answer we will consider
       19    going back to the court and obtaining an order for
       20    Mr. O'Hagan to answer that question, if he is
       21    instructed not to, just to we have all made the
       22    record clear.      So counsel for Mr. O'Hagan, does
       23    your instruction remain that you are not going to
       24    allow the witness to affirm the statement that I
       25    read from his witness statement?
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                                                                           Page 53
        1                       MR. KORZENIK:      Correct.
        2                       MR. BRENNER:      Okay.
        3    BY MR. BRENNER:
        4              Q.       Sir, are you going to follow your
        5    instructions from your counsel?
        6              A.       Yes, indeed.
        7              Q.       Thank you.     Just before we get to
        8    Satoshi Affair article, in that order ----
        9                       MS. McGOVERN:      Just for the record,
       10    I would also like to interject my objection to the
       11    last question.
       12    BY MR. BRENNER:
       13              Q.       In the order that Examiner Green
       14    just went through, one of the areas that was
       15    permissible to discuss with you is to ask you if
       16    you had any contact with certain people.             Let me
       17    ask you, have you had any contact in preparation
       18    for this deposition with Dr. Wright?
       19              A.       No.
       20              Q.       Have you had any contact in
       21    preparation for this deposition with any lawyers
       22    representing Dr. Wright?
       23              A.       No.
       24              Q.       Okay.    For the record, have you had
       25    any contact with myself or any of the attorneys --
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        1    in preparation for this deposition have you had
        2    any contact with any of the lawyers, including
        3    myself, or Mr. Kleiman -- the estate of
        4    Mr. Kleiman or any of the other plaintiffs in the
        5    case?
        6              A.       No.
        7              Q.       Thank you.     Let us go to exhibit 2,
  R     8    if we could, which is your article.            Do you have
  H
        9    that in front of you?
       10              A.       I do.
       11              Q.       Do you want to take a break before
       12    we start this section?
       13              A.       No, I am happy to continue if you
       14    are.
       15              Q.       Thank you.     You will let me know.
       16    By the way, just as a matter of terminology, I am
       17    referring to it as an article, is that the proper
       18    terminology to use?
       19              A.       That is correct, yes.
       20              Q.       Okay.    The article was published,
       21    you testified earlier, in June of 2016?
       22              A.       Yes indeed.
       23              Q.       You referenced -- strike that.
       24    I just want to check the court's order real quick
       25    before I ask the next question.
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                                                                          Page 55
        1                       MS. McGOVERN:      Mr. Brenner, I don't
        2    want to interrupt your line of questioning on this
        3    article.     I would like to make a standing
        4    objection to your references in a publication
        5    which has been produced in a book of fiction as
        6    hearsay, and every single question that you ask
        7    about this article, I would like a standing
        8    objection to the admissibility of that testimony
        9    in the proceeding pending in this case.             If we can
       10    agree on that standing objection I will not
       11    interrupt your line of questioning: if not, you
       12    have to make every single objection clear.
       13                       MR. BRENNER:      Okay, thank you for
       14    that.    You always have a standing objection, you
       15    always have an objection to relevance.            The rules
       16    are you do not have to object on relevance, but if
       17    you want me to state on the record that you have a
       18    standing objection to relevance, I am happy to do
       19    that ----
       20                       MS. McGOVERN:      Mr. Brenner, I am
       21    objecting to the use of this article on hearsay
       22    grounds.
       23                       MR. BRENNER:      I also do not believe
       24    hearsay is an objection you need to raise under
       25    the Florida and Federal rules at the time of the
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                                                                          Page 56
        1    deposition.     The only objections that I think you
        2    do need to raise are objections as to the form of
        3    the question.      I cannot give you a standing
        4    objection to that, only because this is our one
        5    time with Mr. O'Hagan and if it is then I need to
        6    fix a question, to fix the form of it, I need to
        7    know to do that now.        So I do not believe you need
        8    me to give it to you, but you have a standing
        9    objection based on hearsay and relevance.             I would
       10    ask that, to the extent that you have other
       11    objections which would be form objections, that
       12    you make those on the record.
       13                       MS. McGOVERN:      I am sorry, I am
       14    confused.     Do we have an agreement that there is a
       15    standing objection to the line of questioning on
       16    this article based on relevance and hearsay?
       17                       MR. BRENNER:      You are not -- yes,
       18    you do.
       19                       MS. McGOVERN:      Okay.    Thank you.
       20                       MR. BRENNER:      Okay?    But not as to
       21    form.
       22                       MS. McGOVERN:      Understood.
       23                       MR. BRENNER:      Understood?
       24                       MS. McGOVERN:      Understood.
       25    BY MR. BRENNER:
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                                                                          Page 57
        1              Q.       Because we have an issue with page
        2    numbers I will try my best to direct you to where
        3    I am.    If you could go to -- it is the 8th page of
        4    the article on my copy.        Mr. O'Hagan, if you see
        5    about six pages in there is a section where it has
        6    four pictures in there, do you see that?
        7              A.       Yes.
        8              Q.       Okay, I am about a page and a half
        9    past that.     There is a paragraph that starts with
       10    a bold letter "I", do you see that?
       11              A.       Yes.
       12              Q.       Okay, so now we are in the sort of
       13    the same place.      I am going down to the paragraph
       14    that starts with "I found him"?
       15              A.       Yes.
       16              Q.       Do you see where I am?
       17              A.       I do.
       18              Q.       Okay.    So, this is a paragraph that
       19    deals with --
       20                       MS. McGOVERN:      I apologise,
       21    Mr. Brenner, I cannot find where you are.
       22                       MR. BRENNER:      Okay.   In my copy it
       23    is page 8 of 48.       If you look at the bottom
       24    right-hand corner, unfortunately it seems we all
       25    have different printouts of the article.             I am not
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                                                                          Page 58
        1    sure why that is.
        2                       MR. KORZENIK:      Andrew Brenner, one
        3    of the things you could do is, sometimes there are
        4    headings.
        5                       MR. BRENNER:      Yes, I was looking
        6    for that, that is why I used the pictures.             For
        7    this one there was no heading nearby.            If you
        8    could help us that would be great.
        9                       THE EXAMINER:      What about, is there
       10    a possibility that the witness, when he finds it,
       11    holds it up to the camera so everybody can see
       12    what he is looking at?        Is that a possibility?
       13                       MR. BRENNER:      The witness and I are
       14    in the same place, but the others may have trouble
       15    finding it.
       16                       MR. BUNTING:      If I could help
       17    Mr. Korzenik -- and I am so sorry to interrupt
       18    Mr. Brenner -- if Mr. Korzenik could turn to page
       19    171 of 420, I think it is this passage that
       20    Mr. Brenner is drawing our attention to.
       21                       MR. KORZENIK:      Which page is that,
       22    Jude?
       23                       MR. BUNTING: 171 of 420.
       24                       MR. KORZENIK: That is helpful, if
       25    we could find that before.
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                                                                          Page 59
        1                       MR. BRENNER:      Sure, take your time.
        2    I will make sure we are on the same thing before I
        3    ask him a question.       I am going to be looking at
        4    the paragraph which starts with, "I found him
        5    easier to talk to..."
        6                       MS. McGOVERN:      I see where you are
        7    Mr. Brenner.
        8                       MR. BRENNER:      Mr. Korzenik, have
        9    you found that?
       10                       MR. KORZENIK:      Yes, I did, and
       11    thank you.
       12                       MR. BRENNER:      Yes, and just holler
       13    any time if you think I am reading something you
       14    are not following, okay?
       15    BY MR. BRENNER:
       16              Q.       Mr. O'Hagan I think you and I had
       17    found it before; correct?
       18              A.       Correct.
       19              Q.       So in that paragraph you are
       20    talking about -- when you use the word "him" this
  H
       21    is a reference to Dr. Wright; correct?
  R
  J    22              A.       To be accurate, sometimes I am
  P
       23    using "his" to refer to his father.
       24              Q.       Right, so when you said:         "I found
       25    him easier to talk to than I had expected", that
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                                                                          Page 60
  H
  R     1    is about Dr. Wright; correct?
  J
        2              A.        Correct.
  P
        3                        MR. KORZENIK:     I am going to object
        4    to that since it is not a fact, it is an
        5    evaluation that this journalist had of the
        6    subject.       So I object to it on grounds of the
        7    privilege, I object to it on the grounds of order
        8    paragraph 3(c).
        9                        MR. BRENNER:     Right now all I am
       10    asking him to do is identify a pronoun.             But thank
       11    you.    I am just trying to make the record clear.
       12    I have not asked him anything other than to
       13    identify a pronoun.
       14    BY MR. BRENNER:
       15              Q.       If you could go to the third line
       16    of that paragraph?
       17              A.       Yes.
       18              Q.       It starts off with the words, "He
  R
  H    19    said he..."      Do you see that?
       20              A.       Yes.
       21              Q.       Okay, did Dr. Wright in fact tell
       22    you that he was happy that you were writing about
       23    him?
       24              A.       That is what he said at the time.
       25              Q.       Okay.    Has he told you something --
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                                                                          Page 61
        1    when you say at the time, is that no longer
        2    true ----
        3                       MR. KORZENIK:      Sorry, we stick with
        4    the article.
        5                       MR. BRENNER:      I am allowed to ask
        6    him to clarify his answer.
        7    BY MR. BRENNER:
        8              Q.       Why did you say "at the time", sir?
        9                       MR. KORZENIK:      Objection.     That is
       10    not confirming the accuracy of a factual statement
       11    within the article.       Stick with the article.
       12                       MR. BRENNER:      Are you instructing
       13    him not to answer to clarify the answer he gave?
       14                       MR. KORZENIK:      Yes.
       15    BY MR. BRENNER:
       16              Q.       Going back to the article, sir, did
   R
       17    Dr. Wright tell you he was happy for you to write
   H
   L   18    about him?
       19              A.       Yes.
       20              Q.       And he told you the reason was, was
       21    because he wanted to step into history; correct?
       22                       MS. McGOVERN:      Object to form;
       23    leading the witness.
       24    BY MR. BRENNER:
   R
       25              Q.       I will ask the question again.          Did
   L
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                                                                          Page 62
        1    he tell you that the reason he was happy you were
   R    2    writing about him was because he wanted to step
   L
        3    into history?
        4              A.       He did.
        5              Q.       And did he also say that he wanted
        6    to tell you the story of the brilliant people he
        7    had collaborated with?
        8                       MS. McGOVERN:      Objection; leading.
        9    BY MR. BRENNER:
       10              Q.       Let me rephrase the question.          Sir,
       11    did Dr. Wright tell you one of the reasons he was
   R
   L   12    happy you were writing about him is because he
       13    wanted to tell you the story of the brilliant
       14    people he had collaborated with?
       15                       MS. McGOVERN:      Same objection.
   R   16              A.       Yes.
   L
       17    BY MR. BRENNER:
       18              Q.       Yes?
       19              A.       Yes.
       20              Q.       Did you answer yes?
       21              A.       I did.
       22              Q.       Thank you.     If you could go -- we
       23    are going to go, just so everyone sort of follows
       24    along, it looks like 1, 2, 3, 4, 5 paragraphs down
       25    in the article?
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                                                                          Page 63
        1               A.      Five paragraphs from where we were
        2    before?
        3               Q.      Yes, from where we were before.
        4    The paragraph is going to start with, "Wright told
        5    me..."
        6               A.      Yes, I have it.
        7                       MR. BRENNER:      Is everyone on the
        8    same page?
        9                       MR. BUNTING:      Yes, thank you.
       10    BY MR. BRENNER:
       11              Q.       Can you read the first sentence
       12    please of that paragraph?
       13                       MS. McGOVERN:      Object to form;
       14    hearsay.
       15    BY MR. BRENNER:
       16              Q.       You can answer?
       17                       THE EXAMINER:      Are you asking him
       18    to read it or to read it out loud?
       19                       MR. BRENNER:      Yes, I am sorry,
       20    thank you Madam Examiner.
       21    BY MR. BRENNER:
       22              Q.       Can you read that out loud?
       23              A.        "Wright told me that thanks to the
   H
   R   24    tax office they'd had to lay out all the research
       25    for their patents, which had been useful since the
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                                                                          Page 64
        1    encrypt team was in a hurry:          The banks now alert
        2    to crypto currencies and the effectiveness of the
   H
   R    3    block chain are rushing to create their own
        4    versions."
        5              Q.       Is that something that Dr. Wright
        6    told you?
        7                       MS. McGOVERN:      Object to form.
        8                       MR. KORZENIK:      Yes, objection as to
        9    form.
       10    BY MR. BRENNER:
       11              Q.       Okay, you can answer sir?
       12                       MR. BUNTING:      Objection as regards
       13    the scope of the order.        The question has to be
       14    whether or not this is an accurate or inaccurate
       15    assertion.
       16                       MR. KORZENIK:      That is correct.
       17    There are multiple things being stated in that
       18    sentence, and only one of them seems to be what
       19    Wright told him, and that is the initial phrase:
       20    "Wright told me thanks to the tax office it had to
       21    lay out all the research for their patents."
       22                       MR. BRENNER:      Perhaps the witness
       23    would say that.      I do not know that is true and
       24    I do not know that it is untrue.           It is unclear in
       25    the article.      Secondly, it is not limited -- the
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                                                                          Page 65
        1    scope of the deposition is not limited just to the
        2    quotes, it is also within the scope of the factual
        3    assertions made in the article.           Certainly those
        4    are factual assertions.        So I am going to ask the
        5    witness ----
        6                       MR. BUNTING:      Which assertion you
        7    are asking is accurate?
        8                       MR. KORZENIK:      No, because "useful"
        9    and other terms are evaluative, and background and
       10    context that may have nothing to do with what
       11    Wright said, so I am going to -- you have to break
       12    that sentence up.       The first part of it does refer
       13    to something that Wright told him.           As to that
       14    first clause, he may answer that yes or no.
       15    BY MR. BRENNER:
       16              Q.       Let's break it down to address your
       17    counsel's objections.        The first part of the
       18    sentence, what I am calling the first part is what
       19    end at the colon, okay?
  H
  R    20              A.       Yes.
  L
       21              Q.       That first part of the sentence, is
       22    that something that Dr. Wright told you?
       23              A.       Yes.
       24              Q.       The second part of the sentence, is
       25    that a factual assertion you were making, or is
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                                                                          Page 66

   H    1    that something Dr. Wright told you?
   R    2               A.      It is a factual statement based on
   L
        3    my journalistic materials ----
        4                       MS. McGOVERN:      Objection.
        5                       MR. BRENNER:      Only because you
        6    talked over each other, can you just repeat that
        7    please?
   H    8               A.      It is an expression based on my
   R
   L    9    journalistic materials.
       10              Q.       I think your answer was it was a
       11    factual assertion based on your journalistic
       12    materials, was the first one; is that correct?
       13                       MR. KORZENIK:      It was his
       14    evaluation based on journalistic materials and
       15    therefore he does not need to answer that.
       16    I object to it.
       17                       MR. BRENNER:      We are definitely
       18    going to be back here if -- there is nothing
       19    impressionist or valuistic, it is a fact he is
       20    stating.     He is either going to confirm the fact
       21    or refute the fact.       Okay.    Let me finish.      You
       22    are trying to draw a line at what a factual
       23    assertion is.      The article has two things in it:
       24    It has quotes from people, and it has assertions
       25    in it.    I am not asking him his opinions.           I am
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                                                                           Page 67
        1    asking him if the assertions he himself made in
        2    the article are accurate.         It is directly within
        3    the scope of the order.        If you want to come back
        4    again we will come back again.          I don't
        5    understand.     I am not asking him to reveal any
        6    privilege, I am not asking him to reveal anything
        7    about it.     These are things he published in the
        8    widest read piece in the history of this journal,
        9    there is nothing privileged about it.            I am not
       10    asking him to go one word beyond the quote.              I
       11    don't know why you guys are taking this position
       12    but all it is going to do is, we are going to come
       13    back.    If you would just allow him to affirm what
       14    he himself wrote in a long form article.             This is
       15    nothing privileged.       I honestly do not understand
       16    the basis for the fight here.          If we have to come
       17    back we will come back.
       18                       MR. KORZENIK:      Right, let's see if
       19    we can avoid a conflict.         The difficulty here is
       20    that it is a broad conclusion about what quote
       21    "banks" think and what bank's positions are and
       22    the concerns are on this particular subject.
       23    There is nothing here that he is eyewitness to and
       24    he therefore cannot testify to it anyway.             So if
       25    he is eyewitness to and this here is a statement
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                                                                           Page 68
        1    from Wright, then he can testify to that and say
        2    that that is what he saw or heard.           If there is a
        3    factual assertion to which he was eyewitness, then
        4    he can assert that to be true.          Otherwise, it is
        5    just complete hearsay and it is based on composite
        6    studies of his journalistic material, and that is
        7    not something that we are willing to discuss or
        8    disclose.
        9                       MR. BRENNER:      I disagree 100% in
       10    what you have said.       It is factual assertion in an
       11    article.     I did not ask him what a bank thinks, I
       12    did not ask him what a bank's opinion was.             What
       13    I asked him is what he wrote, based on his own
       14    professional article that he published, whether
       15    that factual assertion is true.           That is entirely
       16    within the scope of the order.          I am not
       17    withdrawing my question, I am asking my question
       18    again.    If you instruct him not to answer I am
       19    telling you that we are coming back.
       20                       MR. BUNTING:      Mr. Brenner, I ----
       21                       MR. BRENNER:      Excuse me sir, I am
       22    not done.     Excuse me, sir, let me finish.          If that
       23    is the road you want to take, I suggest we take a
       24    break, I suggest you talk it over with your local
       25    counsel, and then we will figure out what we are
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                                                                          Page 69
        1    going to do, because we are going into this fight
        2    100 times.     You guys have tried to carve out of
        3    the order a factual assertion, okay.            Factual
        4    assertions are not things -- it does not mean --
        5    factual assertion does not mean eyewitness
        6    account.     That is absurd, sir, you know that.           It
        7    cannot be an eye witness account.           These are not
        8    things that there can be an eyewitness account,
        9    okay.    All I am asking him to do is to affirm what
       10    he wrote in an article.        I am not asking him why
       11    he wrote it, I am not asking him who told him
       12    that.    Those are none of the things that I am
       13    asking, those are the things that you guys
       14    objected to and we consented to.           For you then to
       15    take that and say, "You cannot ask him about any
       16    factual assertions because he is not an eye
       17    witness, I reject that and we will go to court and
       18    we will do it.
       19                       MR. BUNTING:      Okay, let me ----
       20                       MR. KORZENIK:      Right there is one
       21    problem with it and let's discuss that now.              Your
       22    question presumes -- assumes undisclosed fact,
       23    namely it assumes that he knows that first-hand
       24    there are assertions that he makes that are based
       25    on his journalistic judgment and (unclear) believe
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                                                                          Page 70
        1    them to be true.       He has no way of affirming that
        2    in any kind of legal sense.
        3                       MR. BRENNER:      Then all he has to do
        4    is say, "Based on my journalistic judgment
        5    I believe that is true".         And he can leave it at
        6    that.
        7                       MR. BUNTING:      Can I ----
        8                       MR. KORZENIK:      I will tell you what
        9    I am going to do, I want to take a break and
       10    speak ----
       11                       MR. BRENNER: Sure.
       12                       MR. KORZENIK:      -- with local
       13    counsel by phone and we will see what we want to
       14    do about that.
       15                       MR. BRENNER:      Okay, thank you.
       16                       MS. McGOVERN:      Before we go off the
       17    record, before we do that (unclear) your questions
       18    directed to what Mr. Brenner is seeking admissions
       19    of Dr. Wright, who is the defendant in this case.
       20    It is very important that we are also allowed to
       21    state our objection.        Mr. Brenner, we object to
       22    the manner in which you are reading this article,
       23    merging sentences together, making them one, they
       24    are not in quotes, and asserting on the record to
       25    this witness, which we believe is improper
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                                                                          Page 71
        1    coaching, that they are actually factual
        2    statements.     We object to the manner in which
        3    these arguments are being made on the record and
        4    we ask, going forward, that you not do that,
        5    because we are not going to have Mr. O'Hagan at
        6    trial, we are going to be relying upon a
        7    transcribed record of videotape, we are not going
        8    to have this dialogue in the trial at the time,
        9    and it is going to appear as though these are
       10    eyewitness accounts of a red or yellow light, and
       11    they are not.      So we share Mr. Korzenik's
       12    objection, not because ----
       13                       MR. BRENNER:      Why don't you ----
       14                       MS. McGOVERN:      Mr. Brenner, let me
       15    finish.
       16                       MR. BRENNER:      Yes.
       17                       MS. McGOVERN:      Not because of the
       18    scope of the order which is not within our
       19    bailiwick, but because the manner in which the
       20    questions are being asked and the arguments that
       21    you are making, with respect to the
       22    characterisation, is journalistic judgmental
       23    statements, they are not in fact facts.
       24                       MR. BRENNER:      I am not sure what
       25    you are asking me to do.         Are you asking me that
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                                                                          Page 72
        1    when Mr. Korzenik makes an objection, that we
        2    excuse the witness?       I am happy to do that, I have
        3    no desire to have this argument in front of him.
        4                       MS. McGOVERN:      I am also asking
        5    that the questions that you ask when you read the
        6    statement into the record, which is an article, a
        7    journalistic article that was published, that you
        8    accurately quote it.        If it is in quotes say
        9    quotes.    If it is not in quotes don't say quotes.
       10    But if you are going to read the question and ask
       11    about that statement, it should be accurately read
       12    into the record, or I am going to have to go back
       13    and do that all over again and we are going to be
       14    here until 10.30 at night.
       15                       MR. BRENNER:      Okay, I did not merge
       16    other than in one sentence, by the way, so your
       17    statement on the record that I have merged
       18    sentences together is not correct.           We were
       19    literally on one sentence, okay, so I am not sure
       20    what you are talking about.
       21                       MR. KORZENIK:      Andrew, maybe this
       22    will help, Andrew Brenner.         What concerns me here
       23    is that yes, that sentence includes -- is a
       24    composite sentence which has semicolons and so on,
       25    so there are a set of different thoughts there.
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                                                                           Page 73
        1    One of them is a statement made by Wright to
        2    Andrew.
        3                       MR. BRENNER:      Correct.
        4                       MR. KORZENIK:      The other statements
        5    are composite evaluative things and those are they
        6    are not factual, they are not concrete and they
        7    are his surmise about what other people are
        8    thinking and what banks' impressions are.             I know
        9    that you would like to have an expert describe
       10    what the thinking was of banks about crypto
       11    currency at that particular time, but that is his
       12    surmise about those things at the time, made by --
       13    based on his assessment and evaluation, and those
       14    are not really factual components.           They are not
       15    concrete.     They are evaluative.        So there is some
       16    complexity there for all of us.           I want to be --
       17    these things that Andrew has seen first-hand,
       18    heard, witnessed, those can be confirmed.             There
       19    are some things that are evaluative and that seem
       20    far afield from observed fact that he could
       21    testify to, and then there are things that are
       22    kind of in between and we have to kind of deal
       23    with that.     I am going to try to be accommodating
       24    with respect to that, but when it comes to broader
       25    things that you need an expert for, or that look
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                                                                            Page 74
        1    at what banks are thinking at a particular time,
        2    then my feeling is that we need to step away from
        3    that.
        4                       MR. BUNTING:      I think we have lost
        5    Mr. Brenner.      I think we need a break.        I think we
        6    will take a break, if that meets with your
        7    approval, Madam Examiner.
        8                       THE EXAMINER:      Yes, I think it
        9    would be a good idea to have a break now.             How
       10    long do you think you will need to consult with
       11    local counsel?
       12                       MR. BUNTING:      The primary basis of
       13    this is so that we can get Mr. Brenner back.              We
       14    do not have Mr. Brenner.
       15                       THE EXAMINER:      Alright, let us have
       16    at least five minutes.
       17                       MR. BUNTING:      We don't currently
       18    have Mr. Brenner -- it may help also for us to
       19    talk to Mr. Brenner, so we can try to speed these
       20    things along, because I can see that we are
       21    getting bogged down unnecessarily.
       22                       THE EXAMINER:      In my experience,
       23    five minutes from a lawyer is often longer,
       24    so ----
       25                       MR. BUNTING:      I would suggest ten
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                                                                          Page 75
        1    minutes.
        2                       THE EXAMINER:      -- if you do need
        3    longer than five minutes please let me and
        4    Mr. O'Hagan know.
        5                       MR. BUNTING:      Can we say 10 minutes
        6    please?
        7                       MR. KORZENIK:      Yes, let's say 10
        8    and try to keep it within that.           Maybe, Jude and
        9    Martin, if you could give me a call on my cell
       10    phone number that would be ideal.
       11     (A short break off the record from 2.38 to 3.05)
       12                       THE VIDEOGRAPHER:       We are back on
       13    the record.
       14    BY MR. BRENNER:
       15              Q.       Okay.    Mr. O'Hagan, let's go back
       16    to exhibit 2.
       17              A.       Yes.
       18              Q.       On the same page we were on, just
       19    going to drop down one paragraph, which is
   R
       20    actually just a one line paragraph.            It starts
       21    with a quotation mark with the word, "They are
       22    behaving..."
       23              A.       Yes.
       24              Q.       Just let me know when you get
       25    there.    Everyone should be there but just give
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                                                                          Page 76
        1    them a second.      Are you there Mr. O'Hagan?
        2              A.       I am.
   R
        3              Q.       Okay.    There is a quotation there
        4    that says:     "They are behaving like children",
        5    Wright said at the ATO.         Do you see that?
        6              A.       I do.
   R    7              Q.       Is that an accurate quotation of
   L
        8    what Dr. Wright told you about the ATO?
        9              A.
       10                       MS. McGOVERN:      Object to form.
   R
       11              A.       It is.
   L
       12    BY MR. BRENNER:
       13              Q.       Thank you.     If you go now -- it is
       14    really the next page.        To try to orient everyone,
       15    it is a paragraph that starts off with the words
       16    "Wright said he had never..."
       17              A.       Yes, I am there.
       18                       MR. BRENNER:      Counsel, what I am
       19    going to do is wait five seconds.           If someone has
       20    trouble finding it, if you just speak up, if you
       21    do not I will assume you found it.           Dr. Wright, I
       22    am focussed on the paragraph that starts off with:
       23    " Wright said he never expected..."            Do you see
       24    that?
       25              A.       Yes.
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                                                                           Page 77
        1                       MS. McGOVERN:      I think you just
        2    referred to him as Dr. Wright.
        3    BY MR. BRENNER:
        4              Q.       Yes, Mr. O'Hagan, I am referring to
        5    the paragraph that starts off with:            "Wright said
        6    he never expected..." You are there, right?
        7              A.       I understand, yes.
        8              Q.       In the answer you write:         "Wright
        9    said he had never expected the myth of Satoshi to
   L
       10    gather such force."        Do you see that?
   H
   R   11              A.       I do.
       12              Q.       Is that accurate statement of what
       13    Dr. Wright told you?
       14                       MS. McGOVERN:      Object to the form.
   L
   H   15              A.       It is.
   R   16    BY MR. BRENNER:
       17              Q.       Then the next sentence, I believe
       18    there are quotation marks starting the next
       19    sentence, correct?
       20              A.       Yes.
       21              Q.       Dr. Wright -- strike that.         The
       22    first part of the quotation says:           "We were all
       23    used to using pseudonyms", do you see that?

   H   24              A.       I do.
   L
   R
       25              Q.       Is that an accurate statement of
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                                                                          Page 78
 H-L       1   what Dr. Wright told you?
           2                     MS. McGOVERN:     Object to the form.

 H-L       3           A.        It is.
           4   BY MR. BRENNER:
           5           Q.        Then I think after the words "he
           6   told me" it starts off with another quotation;
           7   correct?
           8           A.        Yes.

      H    9           Q.        And the quotation says:       "That is
      R   10   the cyberpunk way, now people want Satoshi to come
          11   down from the mountain like a Messiah, I am not
          12   that, and we did not mean to set up a myth that
          13   way."   Do you see that?
          14           A.       I do.
          15           Q.       Is that an accurate statement of
H-L
          16   what Dr. Wright told you?
          17                    MS. McGOVERN:      Object to the form.
H-L       18           A.       Yes, it is.
          19   BY MR. BRENNER:
          20           Q.       Okay.     If you could now go to the
          21   next page, and I am going to ask you a series of
          22   questions, it is really starting with the
          23   paragraph that starts with:        "While reading
          24   Wright's ideas on creation..."
          25                    MR. BUNTING:      It is the same page,
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                                                                          Page 79
           1   the bottom of the page.
           2           A.        Yes, I have it.
           3   BY MR. BRENNER:
           4           Q.        Okay, if you go to the second
           5   sentence of that paragraph ----
           6           A.        Yes.
           7           Q.        -- which starts with an offhand
           8   remark, that Wright made?
           9           A.        Umm hmm.
          10           Q.       So when the article says:         "It was
          11   about storytelling and how a possible meaning of
     H
          12   freedom might reside not only in martial arts in
     R
     L    13   the ability to defend oneself but in the ability
          14   to make oneself", is that the offhand remark -- is
          15   than an accurate statement of an offhand remark
          16   that Dr. Wright had made to you?
          17                    MS. McGOVERN:      Object to the form.

H, R, L   18
           8           A.       Yes.
          19   BY MR. BRENNER:
          20           Q.       Okay.    Then it starts off the next
          21   sentence says "Mas" -- M-A-S, is that right?
          22           A.       Yes.
          23           Q.       Then it starts with a quotation
          24   right after the word Mas?
          25           A.       Yes.
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                                                                           Page 80
           1            Q.       It says:    "Mas 'taught me a lot of
     H
     R     2   eastern philosophy and gave me the means to become
     L
           3   myself.'" Is that an accurate statement of what
           4   Dr. Wright told you?
           5                     MS. McGOVERN:      Object to the form.

H, R, L    6            A.       Yes, it is.
           7   BY MR. BRENNER:
           8            Q.       Okay.    If you could go now to --
           9   it's about two full pages forward or further into
          10   the article.     The paragraph starts with the words,
          11   "Dave Kleiman"?
          12            A.       "Dave Kleiman was to become..."
          13            Q.       Yes, let's wait for everyone else
          14   to get there.
          15                     MR. KORZENIK:      How many paragraphs
          16   down from?
          17                     MR. BRENNER:      It is almost exactly
          18   two full pages from where we were, about 10 to 12
          19   paragraphs.
          20                     MR. KORZENIK:      The paragraph begins
          21   what?
          22                     MR. BUNTING:      Page 181, Mr.
          23   Korzenik.
          24                     MR. KORZENIK: Okay, thank you.
          25                     MR. BRENNER:      Are you there sir?
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                                                                          Page 81
         1                      MR. KORZENIK: Yes.
         2   BY MR. BRENNER:
         3             Q.       Mr. O'Hagan, you write there, and
         4   I am quoting from the article, you don't have this
         5   in quotes.     You write:     "Dave Kleiman was to
   H
   L
         6   become the most important person in Wright's
         7   professional life, the man he says helped him do
         8   Satoshi's work."       Do you see that?
         9             A.       Yes.
        10             Q.       Is that an accurate statement of
        11   what Dr. Wright told you?
        12                      MS. McGOVERN:      Object to the form.
        13   The statement is in quotes, and it is not a
        14   statement it is actually made by Dr. Wright, it is
        15   an evalued ----
        16                      MR. BRENNER:      Ms. McGovern, none of
        17   that is an objection to form, so, please you made
        18   an objection to form, it is for the record.

 H, L   19             A.       Yes.
        20                      MS. McGOVERN:      It was my
        21   understanding that we were going to keep the
        22   questions to statements that Dr. Wright made as
        23   inaccurate or accurate, and you are referring to
        24   this statement as a statement that Dr. Wright made
        25   and in fact in the article that is not a statement
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                                                                           Page 82
           1   that he has even attributed to Dr. Wright.
           2                     MR. BRENNER:      Ms. McGovern, you can
           3   read it the way you would like to read it.            Let me
           4   ask a follow-up question to you.
           5   BY MR. BRENNER:
           6            Q.       Mr. O'Hagan, I am on that same
           7   sentence?
           8            A.       Yes.
           9            Q.       Do you see that?       Is it accurate

      H   10   that Dr. Wright told you that Dave Kleiman was the
      L   11   man that helped him do Satoshi's work?
          12            A.       Yes.
          13                     MR. KORZENIK:      Object, he says -- I
          14   am sorry, he says -- the man he says, sorry.
          15   BY MR. BRENNER:
          16            Q.       Let me ask it again, because we got
          17   broken up.    Is it accurate, sir, that --
          18   Mr. O'Hagan, is it accurate that Dr. Wright told
L-H
          19   you that Dave Kleiman was the man that helped him
          20   do Satoshi's work?
          21            A.       It is what he said, yes.
          22            Q.       Okay.    Reading on, it says:       "They
          23   met online, they visited the same cryptography
          24   forums and had interacted since 2003."           Is that
          25   accurate?
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                                                                          Page 83
        1                       MS. McGOVERN:      Object to the form.
        2    Mr. Brenner, are you going to be reading the
        3    entire article into the record for this
        4    deposition?
        5                       MR. BRENNER:      Ms. McGovern, do you
        6    I think, since we are about half way into the
        7    article and I have read four sentences, do you
        8    think that that is really what I intend to do,
        9    because the answer is no, but thank you.
       10                       MS. McGOVERN:      It is a published
       11    journalistic work.        I am just saying I object to
       12    the manner in which the questions are leading, and
       13    the document speaks for itself.
       14                       MR. BRENNER:      Are you stipulating
       15    the document is evidence?
       16                       MS. McGOVERN:      Absolutely not.
       17                       MR. BRENNER:      Then the document
       18    does not speak for itself.         Thank you.
       19    BY MR. BRENNER:
       20              Q.       Okay, Mr. O'Hagan, let me go back,
       21    since the record got a little choppy.            I am in
       22    that same paragraph, sir, do you see that?
       23              A.       Yes.

  H    24              Q.       What you write is:       "They met
  L    25    online" -- is that referring to Mr. Kleiman and
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                                                                          Page 84
        1    Mr. Wright?
        2              A.       Yes.
   H
        3              Q.       Okay, and "they visited the same
   L
        4    cryptography forums and had interacted since
        5    3003."    Is that accurate?
        6                       MS. McGOVERN:       Object to the form.

   H    7              A.       That is an expression of my
   L    8    understanding, yes.
        9    BY MR. BRENNER:
       10              Q.       Okay.    It says:    "Both men were
   H
       11    interested in cyber security, digital forensics
   L
       12    and the future of money."         Is that accurate?
       13                       MS. McGOVERN:      Object to the form.

   H   14              A.       That is an accurate reflection of
   L
       15    my journalistic materials, yes.
       16    BY MR. BRENNER:
       17              Q.       If you go down to the next
       18    paragraph?
       19              A.       Yes.
       20              Q.       That is the paragraph that starts
       21    off with, "Napster" -- "Intel Napster", I am
       22    sorry.
       23              A.       Yes.
       24              Q.       I am about half way down that
       25    paragraph?
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                                                                          Page 85
        1              A.       Yes.
        2              Q.       Where it says, "Wright told me."
        3              A.       Yes.
        4              Q.       You write:     "Wright told me that
        5    his earliest conversations with Kleiman were about
        6    file sharing."      Is that accurate?
        7              A.       Yes indeed.
        8              Q.       Go down a little further.         It says:
  H     9    "They began to speak" -- and by the way, the
  L
       10    "they" is Mr. Kleiman and Dr. Wright?
       11              A.       Yes.
       12              Q.       It says:    "They began to speak of
       13    ways to use the Napster idea in other areas and
       14    solve some old problems in cryptography."             Is that
       15    accurate?
       16                       MS. McGOVERN:      Object to the form.

H, L   17              A.       That is right.
       18    BY MR. BRENNER:
       19              Q.       Did you say yes?
  H    20              A.       I did.
  L
       21              Q.       That is what Dr. Wright told you?
       22                       MR. KORZENIK:      Objection.
       23    BY MR. BRENNER:
  H    24              Q.       Is it accurate that Dr. Wright told
  L
       25    you that?
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                                                                          Page 86
 H, L    1              A.      Yes.
         2              Q.      If you go down to ----
         3                      MS. McGOVERN:      Are you going to
         4   finish the statements in that paragraph?
         5                      MR. BRENNER:      No Ma'am, but you
         6   can.
         7   BY MR. BRENNER:
         8              Q.      If you go down to the bottom --
         9   well, on mine it is the bottom of the page, it is
        10   the paragraph that starts with a quote, "We
        11   needed", do you see that?
        12             A.       Yes.
        13             Q.       It says -- well, first of all, just
        14   look at that quote, the quotation that identifies
        15   someone called "he", are these quotations from
        16   Dr. Wright?
        17                      MS. McGOVERN:      Object to the form;
        18   leading.
        19   BY MR. BRENNER:
        20             Q.       You can answer.
        21             A.       Sorry, where is the "he" in that
        22   paragraph?
        23             Q.       Okay, so I am starting with the
        24   paragraph that says:        "We needed people..."
        25             A.       Yes.
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                                                                          Page 87
        1              Q.       Right after the first part of the
        2    quote it says "he said" ----
        3              A.       Yes.
        4              Q.       I want to know who the "he" is?
        5              A.       Mr. Wright.
        6              Q.       Thank you.     It quotes Dr. Wright as
        7    saying:    "We needed people to respond to us."            Do
        8    you see that?
        9              A.       "Respond to me" it says.
       10              Q.       I am sorry, I -- no, I think it
       11    said:    "We needed people to respond to us."
       12                       MR. BUNTING:      Mr. O'Hagan is
       13    reading the next part.
       14    BY MR. BRENNER:
       15              Q.       We will start over.       You and I are
       16    crossing paths a little.
       17              A.       Yes, we are a sentence apart.
       18    I see where you are referring to now.
       19              Q.       Let me go back.      If there is ever a
       20    time that you and I are reading different things
       21    let's make sure we are correct.           The first part of
H-L
       22    the quote, which you just told me is from
       23    Dr. Wright, says:       "We needed people to respond to
       24    us"; correct?
       25              A.       Correct.
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                                                                          Page 88
        1              Q.       And that is an accurate statement
        2    of what Dr. Wright told you?
        3              A.       It is.
        4              Q.       Then it goes on to say, and again,
        5    in quotes, I believe, although my copy is a little
        6    up there, is the rest of that paragraph in quotes?
        7              A.       Yes.
        8              Q.       Okay, great.      My copy is a little
  H
  L     9    unclear.       It says:   "I did not really want people
       10    to respond to me, there are a couple of reasons
       11    for that.      I do not I think really would have sold
       12    the idea to anyone.       If I come out originally as
       13    Satoshi without Dave I do not think it would have
       14    gone anywhere.      I have had too many conversations
       15    with people who get annoyed because it is me."              Is
       16    that accurate writing of what Dr. Wright told you?
       17              A.       That is what he said.
       18              Q.       If you go to the following page
       19    which will be, I am going to direct you three
       20    paragraphs into the next page ----
       21              A.       Beginning?
       22              Q.       So the paragraph begins with,
       23    "I had brought rolls..."
       24                       MR. BUNTING:      It is the same page.
       25              A.       Okay, for us, same page, yes, I am
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                                                                          Page 89
         1   there.
         2                      MR. BRENNER:      Let me give a second
         3   for folks to get there.
         4                      MR. KORZENIK:      I am there.
         5   BY MR. BRENNER:
         6             Q.       Okay.    The only reason I directed
         7   you to that paragraph is that at the end of that
         8   paragraph it appears you have a quote from
         9   yourself, do you see that?
        10             A.       Yes.
        11             Q.       And not asking -- the quote from
        12   yourself, is you asked Dr. Wright, "Was there a
 H-L    13   primary person doing the maths?"           Do you see that?
        14             A.       Yes, I see that.
        15             Q.       Do you see that, sir?
        16             A.       Yes.
        17             Q.       And that is a question you asked
        18   Dr. Wright?
        19             A.       It is.
        20             Q.       And then the next paragraph has his
   H
        21   answer; correct?
   L
        22             A.       Yes.
        23                      MS. McGOVERN:      Object to the form.
        24   BY MR. BRENNER:

 H, L   25             Q.       His answer is:      "Me.    Dave was not
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                                                                          Page 90
         1   really a mathematician, what he did was make me
         2   simplify it."      Do you see that?

  H      3             A.       I do.
  L      4             Q.       Is that an accurate statement of
         5   what Dr. Wright told you, in response to your
         6   question about the primary person doing the maths?
         7                      MS. McGOVERN:      Object to the form;
         8   leading.

 H, L    9             A.       That is what he said.
        10   BY MR. BRENNER:
        11             Q.       Did we lose Mr. O'Hagan?
        12             A.       No, I am still here.
        13             Q.       You came off my screen.
        14                      MR. BRENNER:      Does anyone else see
        15   Mr. O'Hagan?
        16                      MR. FREEDMAN:      I do see
        17   Mr. O'Hagan.      The answer to that last question is,
        18   "That is what he said."
        19                      MR. BRENNER:      Okay.   The reason
        20   I have lost Mr. O'Hagan is Ms. McGovern's
        21   microphone appears to be the one active right now.
        22   I can see ----
        23                      MR. FREEDMAN:      Mr. Brenner, if you
        24   right-click the video of Mr. O'Hagan -- sorry, if
        25   you hover over the little screen, you can see
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                                                                          Page 91
        1    three little dots and a blue square.            Click that
        2    and then click "pin video", Mr. O'Hagan will not
        3    move from the main screen.
        4    BY MR. BRENNER:
        5               Q.      Alright, Mr. O'Hagan, I have you
        6    full-time now.
        7               A.      Good, good.
        8               Q.      The next paragraph, right below
        9    where we were, is another quotation and it says?
       10    "How did he know how to make you simplify it?"
   H   11    You are actually quoting yourself there; right?
   L
       12              A.       I am.
       13              Q.       And that is a question you asked
       14    Dr. Wright; correct?
       15              A.       Correct.
       16                       MS. McGOVERN:      Object to the form.
       17    BY MR. BRENNER:
       18              Q.       The next paragraph is his answer;
       19    correct?
       20              A.       Yes.
L-H    21              Q.       Is it accurate that Dr. Wright told
       22    you:    "We got to a point in the writing of the
       23    Satoshi White Paper where it was people say that
       24    it was hard."      Is that what Dr. Wright told you in
       25    response to your question?
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                                                                           Page 92
        1              A.       That is what he said.
        2              Q.       Okay.    Now, if you go down just
        3    what we -- the next paragraph is a quotation of
        4    yourself; is that correct, where it says, "He
        5    wanted"?
        6              A.       Yes.
        7              Q.       This is following -- I am just
        8    trying to follow the conversation between you and
        9    Dr. Wright so his answers make sense, so that we
       10    know what he is answering.
       11              A.       I understand.
       12              Q.       Is it accurate that you asked
       13    Dr. Wright the question:         "He wanted you to bring
       14    the language down a little bit?"
 L-H
       15              A.       I did.
       16              Q.       And is next paragraph Dr. Wright's
       17    answer to your question?
       18              A.       It is a long paragraph, do you mean
       19    the quotation "a lot" then "it is very simple"
       20    etc?
       21              Q.       Yes, that is a fair point.         Let's
       22    break it down so we make sure we are not adding
       23    things into a quote that are not there.
       24              A.       Sure.
       25              Q.       Thank you for the clarification.
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                                                                          Page 93
         1   In response to your question, is it accurate that
         2   Dr. Wright said:       "A lot.    It's very simple, the
         3   elliptical curve stuff is not described in the
  H
         4   paper at all.      It's just there.       The crypto stuff
         5   is not described either."
         6             A.       That is what he said.
         7             Q.       Right.    Then, to follow through the
         8   paragraph so we are given the context, so everyone
  L
  H
         9   understands what Dr. Wright was saying, you then
        10   write that you asked him to show you the trail of
        11   ideas that led to their collaboration; correct?
        12                      MS. McGOVERN:      Object to the form.

L, H    13             A.       That's right.
        14   BY MR. BRENNER:
        15             Q.       When you were not there, who was
        16   there?    I will ask the question again.          In that
  L     17   sentence where it says:        "I asked him to show me
  H
        18   the trail of ideas that led to their
        19   collaboration."      Was the "their" you are referring
        20   to Dr. Wright and Mr. Kleiman?
        21                      MS. McGOVERN:      Object to the form.
 L, H   22             A.       It was.
        23   BY MR. BRENNER:
        24             Q.       Okay.    Then after the commas does
        25   that become another quote from Dr. Wright?
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                                                                           Page 94
        1                       MS. McGOVERN:      Object to the
        2    form (unclear).
        3                       THE COURT REPORTER:       I am sorry
        4    Ms. McGovern, I did not get that objection.
        5                       MR. BRENNER:      There is a period
        6    after the word "collaboration", correct?
        7              A.       There is.
        8              Q.       Yes, it is a combination of a bad
        9    copy and old eyes, so I am doing my best.             After
       10    that there is a quotation that starts, correct?
       11              A.       Yes.
       12              Q.       Is that a quotation -- we will read
       13    it, but is it a quotation from Dr. Wright?
       14              A.       It is.
       15              Q.       Okay, and it says:       "So all these
       16    things are there."        Correct?
       17              A.       That what it says, yes.
       18              Q.       Is that an accurate thing of what
       19    Dr. Wright told you?
       20              A.       It is.
       21                       MS. McGOVERN:      Mr. Brenner, can you
       22    please finish the rest of the sentence because it
       23    is just hanging there.
       24                       MR. BRENNER:      I am happy to.      I am
       25    just trying to see -- I cannot tell where the
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                                                                          Page 95
        1    quote ends and where it starts again.
        2    BY MR. BRENNER:
        3              Q.       Is the part where it says,
        4    "application to audits" also part of the quote?
        5                       MS. McGOVERN:      Object to the form.
        6                       MR. BRENNER:      I am trying to spare
        7    your objection.
        8                       MS. McGOVERN:      If you could just
        9    read it as it is stated, it would be easier,
       10    Mr. Brenner.
       11                       MR. BUNTING:      Mr. Brenner, I do
       12    understand your confusion, the quote mark opens
       13    again at "application to audits", yes.
       14    BY MR. BRENNER:
       15              Q.       Okay, so let me read into record
       16    the full quote from Dr. Wright and ask you to
       17    confirm the accuracy, okay?
       18              A.       Yes.
       19              Q.       Dr. Wright responded to your
       20    request that he show you the trail of ideas that
 H     21    led to the collaboration between himself and
 L
       22    Mr. Kleiman, he said:        "All things are there,
MCD
       23    application to audits, value analyse failures
       24    deriving the mathematics behind it, simplifying
       25    the mathematics and there you go.           The core of the
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                                                                          Page 96
         1   Bitcoin paper is a hoison(?) model based on

 H       2   binomial distribution, that is how it got solved."
 L       3   Is that an accurate statement of what Dr. Wright
MCD
         4   told you?
         5             A.       Yes.
         6                      MS. McGOVERN:      Object to the form.
         7   BY MR. BRENNER:
         8             Q.       May I take you to the next
         9   paragraph -- no, it is not the next paragraph, it
        10   is the page, the paragraph starts with, "Yes, he
        11   said."
        12             A.       Yes.
        13             Q.       I am going down to the bottom part
        14   of that paragraph, where it says, "when I asked"?
        15             A.       Yes.
        16             Q.       I will wait for everyone to get
        17   there.    It is the very bottom part of that

   H    18   paragraph.     In there you write:        "When I asked to
   L    19   see the e-mails between him and Kleiman" -- is
        20   that accurate that you asked Dr. Wright to see he
        21   e-mails between himself and Dave Kleiman?
        22                      MS. McGOVERN:      Object to the form.
 H, L   23             A.       Yes.
        24   BY MR. BRENNER:

 H, L   25             Q.       Is that right, sir?
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                                                                            Page 97
        1              A.       That is right.
        2              Q.       You wrote first that he shrugged,
        3    correct?
   H
   L    4              A.       Yes.
        5              Q.       That is accurate?
        6              A.        That is accurate.
        7                       MS. McGOVERN:      Object to the form.
        8                       MR. BRENNER:      Then you write, and
        9    this is not in quotation marks.           You write:     "He
       10    said he was not getting on well with his first
   H
   L   11    wife when he wrote them and I assume that meant
       12    that they were full of talk about her."             Is that
       13    an accurate statement of what Dr. Wright told you?
       14                       MS. McGOVERN:      Object to the form.

   H   15              A.       That is an accurate statement of my
   L   16    impression.
       17    BY MR. BRENNER:
   H   18              Q.       Of what Dr. Wright told you?
   L
       19              A.       Yes.
       20              Q.       If you go on to the next paragraph
       21    where it starts:       "I do not know if I can find
   H   22    them."
       23              A.       Yes.
       24              Q.       Do you see that?       Just to give a
       25    context following the paragraph before, first of
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                                                                            Page 98
        1    all, the quote, "I do not know if I can find

H-L     2    them", is that an accurate quote from Dr. Wright?
        3              A.       It is.
        4              Q.       And the "them" that he is referring
   H
   S    5    to is the e-mails between himself and Mr. Kleiman?
   L
        6              A.       Yes.
        7              Q.       And then skip two sentences.          The
        8    next sentence starts with, "Wright always said"?
        9              A.       Yes.
       10              Q.       It says:    "Wright always said these
       11    stories have been provoked by a 'leak'" ----
H-L
       12              A.       Yes.
       13              Q.       -- "the work of a disgruntled
       14    employee of his who had stolen a hard drive."
       15              A.       Yes.
       16              Q.       Is that an accurate statement of
       17    what Dr. Wright told you?
       18              A.       Yes.
       19              Q.       Okay. Go down to the next
       20    paragraph?
       21              A.       Yes.
       22              Q.       It starts with, "The subject of
       23    Bitcoin came up."
       24              A.       Got it.
       25              Q.       Got it?
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                                                                          Page 99
        1              A.       Yes.
        2              Q.       Thank you.     To give context for the
        3    quotes we are about to go through, in this
        4    paragraph, are you reading from or have you been
        5    provided an e-mail from Wright dated March 2008?
        6              A.       Is your question did I have a copy
        7    of that e-mail?
        8              Q.       Yes, sir?
        9              A.       I did.
       10              Q.       And so the next quote, is that a
       11    quote from the e-mail from Dr. Wright?
H-L    12              A.       Yes.
       13              Q.       Okay, and that e-mail, is that
       14    e-mail to Mr. Kleiman, Dave Kleiman?
       15                       MR. KORZENIK:      Objection.     What
       16    does it say?
       17                       MR. BRENNER:      You would have to go
       18    back -- okay.
       19                       MS. McGOVERN:      Same objection.
       20    BY MR. BRENNER:
       21              Q.       Let us read the quote then I will
       22    ask you the question.        Are you quoting from the
H-L    23    e-mail, by the way?
       24              A.       Yes.
       25              Q.       The quote says:      "I need your help
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                                                                         Page 100
         1    editing a paper I am going to release later this
         2    year.   I have been working on a new form of
         3    electronic money, bitcash, Bitcoin.           You are
         4    always there for me, Dave, I want you to be part

 H-L     5    of it all.     I cannot release it as me, GMX,
         6    Mr. Mail(?) and tour, I need your help and I need
         7    a version of me to make this work that is better
         8    than me."      Does that finish that quote?
         9              A.      Yes.
       10               Q.      Is that a quote from an e-mail from
       11     Dr. Wright to Dave Kleiman in March 12, 2008?
       12                       MR. KORZENIK:      Objection, with what
       13     is the fact asserted here?
       14                       MR. BRENNER:      I am sorry, I did not
       15     hear you.
       16                       MR. KORZENIK:      I am objecting to
       17     it, I am saying we should stick with what -- with
       18     the factual assertion within the article.
       19                       MR. BRENNER:      Yes, but I am
       20     entitled to know what he is quoting.
       21                       MR. KORZENIK:      He can say it is
       22     accurate, but he does not know the provenance of
       23     the e-mail.     He knows what he looked at.
       24                       MR. BRENNER:      Fair enough.
       25     BY MR. BRENNER:
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                                                                          Page 101
         1               Q.     From your review of that e-mail,
         2    the March 12, 2008 from Dr. Wright, from your
         3    review of that e-mail, who was that e-mail

   H     4    addressed to?
         5               A.     It was my understanding that that
         6    e-mail was from Dr. Wright to Dave Kleiman.             That
         7    is what he told me.
         8               Q.     Thank you.
         9                      MR. KORZENIK:      I am just going to
       10     object to going off the particular lines in the
       11     article.    In other words, if the article says that
       12     it comes from an e-mail from Wright or whoever
       13     then we can confirm the accuracy of that.             But
       14     I do not want to get into a discussion of what he
       15     thinks, outside of confirming the particular
       16     statement made in the article.
       17                       MR. BRENNER:      And that is fair
       18     enough.    I am trying to give this some context.
       19     If you read the paragraphs leading up to it, it is
       20     clearly as the witness described, it is clearly
       21     the e-mail to Mr. Kleiman, even within the e-mail
       22     itself.    He has answered the question.
       23     I understand what you are doing.          All I am trying
       24     to do is not leave things unclear on the record.
       25     I understand your objection and I will do my best
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                                                                         Page 102
         1    to stick to the parameters that we discussed.
         2    Okay.
         3                      MR. KORZENIK:      Good.
         4    BY MR. BRENNER:      The next sentence after the end
         5    of that quote starts with, "Wright told me".             Do
         6    you see that?
         7              A.      I do.
         8              Q.      We are now off of the e-mail on to
         9    something Dr. Wright told you, correct?
       10               A.      Yes.
       11               Q.      It says:     "Wright told me that he
       12     did the coding and that Kleiman helped him write
       13     the White Paper and make the language 'serene'."

 H-L   14     Do you see that?
       15               A.      I do.
       16               Q.      Is that an accurate depiction of
       17     what Dr. Wright told you?
       18               A.      That is what he told me.
       19               Q.      If you go down to the bottom of
       20     that paragraph ----
       21               A.      Yes.
       22               Q.      -- where it appears to be the
       23     second to last sentence, it says, "It was there."
       24               A.      Yes.
       25               Q.      This sentence is, as the article
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                                                                         Page 103
         1    says, it is something that Dr. Wright told you,
         2    correct?
         3              A.      Yes.
         4              Q.      It is accurate that Dr. Wright told
         5    you "it was there" -- strike that.           If you could
         6    just familiarise yourself with the paragraph which
         7    says "It was there" are you talking about the --
L-H-S
         8    just a few words before it -- the farm in Port
         9    Macquarie?
        10              A.      He was referring to Port Macquarie.
        11              Q.      Okay, so is it accurate when we use
        12    the word there you are using the word Port
        13    Macquarie in the sentence?
        14              A.      Yes.
        15              Q.      Okay.    Is it accurate that
  H-L
        16    Dr. Wright said that it was there that he did the
        17    majority of the work on Bitcoin and where he spoke
        18    to Kleiman most regularly; is that an accurate
        19    depiction of what Dr. Wright told you?
        20              A.      That is what he said.
        21              Q.      Okay, so you can go to the next
        22    page.
        23              A.      Hmm hmm.
        24              Q.      It starts -- I don't know if it is
        25    your next page -- I am sorry, the next paragraph,
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                                                                         Page 104
         1    where it says:      "On December 27 December 2008."
         2              A.      I have it.
         3                      MR. BRENNER:      It is the immediate
         4    succeeding paragraph, for counsel.
         5                      MS. McGOVERN:      Mr. Brenner ----
         6                      MR. KORZENIK:      That page?
         7                      MR. BUNTING:      186.
         8                      MS. McGOVERN:      I am just looking at
         9    the real feed.      I think I am losing some of my
       10     stated objections for the record, as I do not see
       11     them, and I think it is perhaps we are talking
       12     over each other and we have this video on.             If we
       13     could just allow two seconds to interpose whatever
       14     objections we have to the questions, so that we
       15     make sure that the record accurately reflects the
       16     whole proceeding.      I would really appreciate that.
       17                       MR. BRENNER:      Mr. O'Hagan, I know
       18     it is hard, it is unnatural to have a
       19     conversation, but if you could just wait a beat or
       20     two before answering, to give Ms. McGovern or your
       21     counsel an opportunity to make an objection,
       22     I think everyone would appreciate that, okay?
       23               A.      I will do, apologies Ms. McGovern.
       24                       MR. KORZENIK:      And can you
       25     reposition us on the next now that we are looking
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                                                                         Page 105
         1    at?
         2                      MR. BRENNER:      Sure.    It is the next
         3    paragraph from where we just were ----
         4                      MR. BUNTING:      Page 186.
         5                      MR. BRENNER:      The paragraph is:
         6    "On 27 December 2008".
         7                      MR. KORZENIK:      Good, I have it.
         8    BY MR. BRENNER:
         9              Q.      Okay.    Mr. O'Hagan, in the next
       10     paragraph you are quoting from something

 H-L   11     Dr. Wright wrote to Mr. Kleiman; correct?
       12               A.      I am quoting from something that he
       13     told me was an e-mail to Mr. Kleiman, yes.
       14               Q.      Okay.    Thank you for the
       15     clarification.      Unlike the prior one, is this an
       16     e-mail that you actually were looking at or
       17     something that he told you ----
       18                       MR. KORZENIK:      Objection, we are
       19     going outside of what the article asserts.
       20                       MR. BRENNER:      Okay.    I am not --
       21     bear with me.
       22     BY MR. BRENNER:
       23               Q.      The quote you are doing here, is

 H-L   24     this something that Dr. Wright told you or that
       25     you read in an e-mail?
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                                                                         Page 106
         1              A.      It is something that I read in an
         2    e-mail.
         3              Q.      Thank you.     Let me read it for the
         4    record and ask you to confirm that it is an
         5    accurate statement of what the e-mail said, okay?
         6              A.      Yes.
         7              Q.      It is an e-mail from -- dated
         8    December 27, 2008?
         9              A.      That is right.
       10               Q.      Written by Dr. Wright?
       11               A.      Yes.
       12               Q.      Correct?     To Kleiman, who is Dave
       13     Kleiman; correct?
   H
       14               A.      Yes.
       15               Q.      I will start with the quote:          "My
       16     wife will not be happy, but I am not going to go
       17     back to work.     I need to get my idea going.          The
       18     presentation was good and the paper is out.             I am
       19     already getting shit from people and attacks on
       20     what we did.     The bloody bastards are wrong and
       21     I frikin' showed it.       They should stick to the
       22     science and piss off with their political
       23     crap" ----
       24               A.      "Politicised crap".
       25               Q.      I am sorry?
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                                                                         Page 107
         1              A.       "Politicised crap", not political.
         2              Q.       Thank you.     "...they should stick
         3    to the science and piss off with their politicised
         4    crap.    I need your help, you edited my paper and
   H
         5    now I need to have you aid me build this idea."
         6    Is that an accurate statement of what
         7    Dr. Wright's      ----
         8                       THE COURT REPORTER:       I am sorry, we
         9    lost you there.      "Is that an accurate statement of
       10     what Dr. Wright..."?
       11     BY MR. BRENNER:
       12               Q.       I will do it again.       What I just
       13     read, is that an accurate statement of the e-mail
       14     you reviewed from Dr. Wright to Mr. Kleiman from
       15     December 27, 2008?
       16                        MR. KORZENIK:     Not to quibble, but
       17     I do not want to be discussing how he sourced
       18     something.      He just says, "Wright wrote to
       19     Kleiman".      So the question is, is that an accurate
       20     statement of what Wright wrote to Kleiman?             How he
       21     got it I do not really want you to be asking
       22     about.
       23                        MR. BRENNER:     Okay, I agree with
       24     that.    I did not I think asked that, but I will
       25     rephrase it.
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                                                                         Page 108
         1    BY MR. BRENNER:
         2              Q.      The quote I read, is that an
         3    accurate quotation of what Wright wrote to Kleiman
 L-H
         4    in December 27, 2008?
         5              A.      Yes.
         6              Q.      Then if you go further in the
         7    paragraph, I am now focused on -- the next
         8    sentence says, "Wright told me", do you see that?
         9              A.      I do.
       10               Q.      Are you now in the article
       11     transitioning to something Dr. Wright told you, as
       12     opposed to something you saw in an e-mail?
       13                       MR. KORZENIK:      Objection.
       14     BY MR. BRENNER:
       15               Q.      You can answer.
       16                       MR. BUNTING:      If the question ----
       17                       MR. KORZENIK:      (Unclear) talking
       18     about a transition, there is a new sentence here,
       19     let us focus on the sentence.
       20                       MR. BUNTING:      If the question is,
       21     is it accurate that Wright told you these things,
       22     then that is an appropriate question.
       23     BY MR. BRENNER:
       24               Q.      Sure.    I am just reading further in
       25     the paragraph.      Is it accurate that Wright told
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                                                                         Page 109
         1    you that it took several attempts to get the
         2    protocol up and running?
         3              A.      It is.
         4              Q.      Reading on the sentence you have a
         5    quote that starts, "after January 2009", the next
         6    sentence starts with a quote?
         7              A.      Yes.
         8              Q.      Is it an accurate quote from
         9    Dr. Wright that he said:        "That was where the real
       10     money started rolling in"?
       11               A.      That is what he said.
       12               Q.      Again, does the quote pick up again
       13     at the words, "there were actually"?
       14               A.      Yes.
       15               Q.      Is it accurate that Dr. Wright told
       16     you:   "There were actually a few versions of the
       17     genesis block.      It fucked up a few times and we
   R
   H   18     reviewed it a few times.        The genesis block is the
   L
       19     one that didn't crash."        Is that an accurate
       20     statement of what Dr. Wright told you?
       21               A.      It is.
       22               Q.      Now, if you scroll down a little
       23     bit further there is a statement that says:
H-NQ
       24     "Satoshi sent Finney ten Bitcoins on 12 January
       25     2009."
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                                                                         Page 110
           1            A.       Yes.
           2            Q.       Is that an accurate factual
           3   assertion, is it your understanding?
           4            A.       That was my understanding, based on

H-L        5   my journalistic material.
           6            Q.       Okay.   Then it says:      "It is the
           7   first outgoing transaction we know to have come
           8   from Satoshi."     Is that accurate based on your
           9   journalistic understanding?
          10                    MS. McGOVERN:      Object to the form.
 H        11            A.      Indeed.
          12   BY MR. BRENNER:
          13            Q.      You can answer.
          14            A.      Yes, it is.

L-H       15            Q.      You then write:       "Satoshi also sent
          16   four other transactions on the same day."            Is that
          17   also accurate, based on your journalistic
          18   understanding?
          19                    MS. McGOVERN:      Object to the form.
      H   20            A.      It is.
          21   BY MR. BRENNER:
          22            Q.      Okay.    Then the next thing,
          23   although it is not in quotes, you set forth a
          24   question you asked Dr. Wright in the next
          25   sentence; correct?
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                                                                         Page 111
         1              A.      You are referring to the sentence
         2    beginning, "I asked Wright who the recipients
         3    were."?
         4              Q.      Yes?
         5              A.      Yes.
         6              Q.      Right.    So you asked Dr. Wright who
         7    the recipients were of those four transactions;
         8    correct?
         9              A.      That is correct.
       10               Q.      Then the next is a quote from him,
       11     correct, from Dr. Wright?
       12               A.      That is what he said.
       13                       MS. McGOVERN:      Object to the form.
       14     BY MR. BRENNER:
       15               Q.      He told you that the four
       16     recipients were, "Hal, Dave, myself and another
       17     I could not name because I have no right to do
       18     so."   Is that accurate?
       19               A.      That is what he said.
       20               Q.      Okay, so if you go to the next
       21     paragraph ----
       22               A.      Yes.
       23               Q.      -- it starts with Wright's e-mails
       24     to Kleiman?
       25               A.      Indeed.
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                                                                         Page 112
         1              Q.      You write that:       "Wright's e-mails
         2    to Kleiman suggest that by the point he was
         3    starting to mine the millions or so Bitcoins that
         4    are said to be owned" -- I am sorry, I will start
         5    that question again.
         6              A.      Sure.
         7              Q.      In the next sentence you write:
         8    "Wright's e-mails to Kleiman suggest that by this
         9    point he was starting to mine the millions or so
       10     Bitcoin that are said the be owned by Satoshi
       11     Nakamoto."     Is that an accurate factual assertion,
       12     based on your journalistic knowledge?
       13                       MR. KORZENIK:      Let's go away from
       14     saying what it is based on, because that is not in
       15     the zone, just stick with whether that statement
       16     is accurate.
       17                       MR. BRENNER:      Okay.    Let me
       18     rephrase it.
       19     BY MR. BRENNER:
       20               Q.      You write:     "Wright's e-mails to
       21     Kleiman suggest that by this point he was starting

 H-L   22     to mine the million or so Bitcoins that are said
       23     to be owned by Satoshi Nakamoto."           Is that
       24     accurate?
       25               A.      Yes.
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                                                                         Page 113
         1              Q.      Then you pick up with a quote, and
         2    just familiarise yourself because I wanted to make
         3    sure you agree with me.        You are quoting from
         4    something that Dr. Wright wrote to Kleiman;
         5    correct?
         6              A.      Yes.
         7              Q.      And Dr. Wright -- you state that
         8    Dr. Wright wrote to Kleiman:         "I have a few
         9    potential clients in gaming and banking, I figure
       10     I can work 10 to 15 hours a week and pretend to
       11     have a consultancy and use this to build and buy
       12     the machines I need.       If I automate the code and
       13     monitoring I can double the productivity and still
       14     offer more than others are doing.           The risks are
       15     in place in" ----
       16               A.      "The racks are in place", sorry.
       17               Q.      Thank you.     "...I figure we can
       18     have 100 cores a month set up and get to around
       19     500."   Is that an accurate depiction of what
       20     Dr. Wright write to Mr. Kleiman?
       21                       MS. McGOVERN:      Object to the form.
       22               A.      Just for the record, sir, you
       23     mistook the word "racks" for the word "risks" when
       24     you quoted that material.        The word racks after
       25     the ellipses should be clear, not risks.
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                                                                         Page 114
         1    Otherwise, it is accurate.
         2    BY MR. BRENNER:
         3               Q.     Just so the record is clear, I know
         4    it is cumbersome, because we may have to play this
         5    in court, I am going to read it again and I will
         6    try to read at a higher level than I currently
         7    have been doing.      You write in your article that
         8    Dr. Wright wrote the following to Mr. Kleiman:
         9    "I have a few potential clients in gaming and
        10    banking.    I figure I can work 10 to 15 hours a
        11    week and pretend to have a consultancy and use
        12    this to build and buy the machines I need.             If I
 H-L    13    automate the code and monitoring I can double the
        14    productivity and still offer more than others are
        15    doing.    The racks are in place in Bagnu and
        16    Lisero.    I figure we can have 100 cores a month
        17    set up and get to around 500."          Is that an
        18    accurate statement of what Dr. Wright wrote to
        19    Mr. Kleiman?
        20                      MS. McGOVERN:      Object to the form.
    H   21              A.      That is accurate.
        22    BY MR. BRENNER:
        23              Q.      Then you write:       "Kleiman replied
 H-L    24    the same day to affirm their vows."           Is that
        25    accurate?
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                                                                         Page 115
         1                      MS. McGOVERN:        j
                                                   Object to the form.
   H     2              A.      That is accurate.
         3    BY MR. BRENNER:
         4              Q.      Now, if you go to -- I will count
         5    the paragraphs -- nine paragraphs down.
         6              A.      Yes.
         7              Q.      It starts off with, "For some
         8    reason"?
         9              A.      Yes.
       10                       MR. BRENNER:      Is everyone there?
       11                       MR. KORZENIK: Not yet.
       12               Q.
       13                       MR. BUNTING:      Page 190,
       14     Mr. Korzenik.
       15                       MR. KORZENIK:      Thank you, got it.
       16     BY MR. BRENNER:
       17               Q.      Mr. O'Hagan, in that paragraph.
       18     You write:     "For some reason, possibly fear of the
       19     ATO, Wright set up a trust fund called the Tulip
       20     Trust in June 2011 and asked Kleiman to sign an
       21     agreement saying that he, Kleiman, would hold
       22     1,100,111 Bitcoin for, and then valued £100,000."
       23                       MR. KORZENIK:      Objection to the
       24     composite.
       25                       MS. McGOVERN:      Objection to form.
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                                                                         Page 116
         1                      MR. BRENNER:      Let me try to import
         2    your objection -- do you want me to break the
         3    sentence up?
         4                      MS. McGOVERN:      You are making the
         5    question as though it were a quote.           If you could
         6    please indicate in your question if there is a
         7    quotation.     If there is not, I think we can assume
         8    there are no quotations around the statement and
         9    it is simply Mr. O'Hagan's statement, as opposed
       10     to a quote.
       11                       MR. BRENNER:      Okay.    Since every
       12     time I have used a quotation, I have said "quotes"
       13     you are perfectly welcome to assume when I do not
       14     use the word "quotes" there is no quotes.             I did
       15     not say "quotes".      Okay?    So please, we are trying
       16     to get through this, it is not ----
       17                       MS. McGOVERN:      I simply need to
       18     know when you are making your question whether you
       19     are referring to a quotation, and if so, please
       20     say "I quote".
       21                       MR. BRENNER:      I have said that
       22     every time.     I am not quoting here.        I am actually
       23     quoting what Mr. O'Hagan wrote.          Let us start
       24     over.
       25     BY MR. BRENNER:
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                                                                         Page 117
         1              Q.      In this paragraph, Mr. O'Hagan, you
         2    write:    "For some reason, possibly fear of the
         3    ATO, Wright set up a trust fund called the Tulip

 H-L     4    Trust in June 2011 and asked Kleiman to sign an
         5    agreement saying that he, Kleiman, would hold
         6    1,100,111 Bitcoin per an, then valued at £100,000,
         7    currently worth around $800 million."
         8                      MR. KORZENIK:      There is a lot
         9    there, I object to that.
       10                       MS. McGOVERN:      Same objection.
       11                       MR. BUNTING:      Break it down.
       12     BY MR. BRENNER:
       13               Q.      Okay.    Did you write that, sir, is
       14     that accurate?
       15               A.      That is two different questions,
       16     Mr. Brenner.     I did write it.
       17               Q.      Okay you did write it.         Is it

 H-L   18     accurate?
       19               A.      It is a true reflection of my
       20     understanding at the time, yes.
       21               Q.      Okay.    Then you go on and write:
       22     "For clarity, there is no evidence that Kleiman
       23     ever took custody of that amount."           Is that
       24     accurate?
       25                       MR. KORZENIK:      Objection.
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                                                                         Page 118
         1                      MS. McGOVERN:      Same objection.
         2    BY MR. BRENNER:
         3              Q.      You can answer.
         4              A.      I would like to understand the
         5    nature of Mr. Korzenik's objection.
         6              Q.      Sure.
         7                      MR. KORZENIK:      The only question is
         8    whether that -- he believes that is accurate.
         9    BY MR. BRENNER:
       10               Q.      Right, that is all I asked you.
       11               A.      Yes, it is accurate.
       12               Q.      The next sentence says:         "However,
       13     there was a separate agreement that Kleiman would
       14     receive 350,000 Bitcoin when this transaction was
 H-L   15     made."    Do you see that?
       16               A.      I do.
       17               Q.      Is that accurate?
       18               A.      It is an accurate reflection of my
       19     journalistic materials.
       20                       MS. McGOVERN:      Object to the form.
       21                       MR. KORZENIK:      I am sorry,
       22     Andrew ----
       23               A.      I said it is an accurate reflection
       24     of my journalistic materials.
       25     BY MR. BRENNER:
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                                                                         Page 119
         1              Q.      Then the next sentence has a
         2    quotation, is that a quotation from Dr. Wright --
         3    strike that.     The next sentence has a quotation.
  H-L
         4    You are quoting from -- it says you are quoting
         5    from a trust document?
         6              A.      That is what it says.
         7              Q.      Okay.     Go to the next -- there is
         8    the block quote, there is another paragraph and
         9    then there is a paragraph that starts with,
        10    "I came to fee."
        11              A.      Got it.
        12              Q.      You got it?
        13              A.      I have.
        14              Q.      Without reading out loud, can you
        15    just read that paragraph so you are familiar with
        16    sort of the context of what is being talked about
        17    in that paragraph, just to yourself?
        18              A.      Give me one second.
        19              Q.      Sure.
        20                      MS. McGOVERN:      Where are you
        21    directing him?
        22                      MR. BRENNER:      The paragraph that
        23    starts with, "I came to feel."
        24              A.      Yes.
        25    BY MR. BRENNER:
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                                                                         Page 120
         1              Q.      Okay.    So in the -- I guess about
         2    five lines up from the bottom of that paragraph
         3    where it talks about the e-mails ----
         4              A.      Hmm hmm.
         5              Q.      -- having read that, when you said
         6    the e-mails, what were you referring to?
         7                      MR. KORZENIK:      Objection.
         8    BY MR. BRENNER:
         9              Q.      You can answer.
       10                       MR. KORZENIK:      No, I want you to
       11     cite particular assertions and then ask if they
       12     are accurate or not, provided that they are facts
       13     or quotes.
       14                       MR. BRENNER:      Well, I am doing my
       15     best, but it is impossible if he cannot identify
       16     when he uses the word "the e-mails", I cannot
       17     identify who the e-mails are.
       18     BY MR. BRENNER:
       19               Q.      Are the e-mails from Dr. Wright?
       20                       MR. BUNTING:      Objection.
       21                       MR. KORZENIK:      Let's read the
       22     passage here again to try to understand what it is
       23     that is referenced.       If it is not clear in the
       24     passage then it is not something that we are going
       25     to discuss.
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                                                                         Page 121
         1    BY MR. BRENNER:
         2              Q.      Let us try it that way and see if
         3    we can get there.      I am starting to read from
         4    where it says, "the e-mails", do you see that?
         5              A.      Yes.
         6              Q.      It says:     "The e-mails, when I got
         7    them, seemed to clear this up slightly, but during
         8    many dozens of hours of conversations with Wright
         9    he never properly told me how many Bitcoin he
       10     mined."    Is that an accurate statement of what
       11     Dr. Wright told you?
       12               A.      I think you need to rephrase that,
       13     Mr. Brenner, it is not referring to what he told
       14     me.
       15               Q.      Well, I am referring to where he
       16     says, "he never properly told me how many Bitcoin
       17     he mined"?
       18               A.      That is an accurate statement, yes,
       19     but that is in the latter half of a long sentence.
       20               Q.      Fair enough.      I will break it up.
       21     Is it true that during your many hours of
 H     22     conversations with Dr. Wright, is it accurate that
COT
       23     during your many dozens of hours of conversations
 L
       24     with Dr. Wright, he never properly told you how
       25     many Bitcoin he mined; is that accurate?
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                                                                           Page 122
             1                     MS. McGOVERN:     Object to the form.

H, COT, L    2            A.       That is accurate.
             3   BY MR. BRENNER:
             4            Q.       Thank you.    Is it true, when
             5   discussing the full accounting of everything that
             6   happened between him and Mr. Kleiman, meaning
             7   Dr. Wright and Mr. Kleiman, Dr. Wright said that
             8   it was ----
             9                     THE EXAMINER:     Can we -- we
            10   couldn't hear the last few words.
            11   BY MR. BRENNER:
            12            Q.      Mr. O'Hagan, I am in the same
            13   paragraph?
            14            A.      Yes.
            15            Q.      Let me ask the question again.
            16   I am just -- using your language, okay?
            17            A.      Yes.
            18            Q.      Is it accurate that Wright did not
   COT      19   ever give you a full account of everything that
    S
    H       20   had occurred between him and Mr. Kleiman?
            21            A.      That is correct.
            22            Q.      And it is accurate that regarding
            23   that subject, meaning his accounting of what he
            24   had done with Mr. Kleiman, that Dr. Wright told
            25   you it was complicated?
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                                                                         Page 123
         1              A.      That is what he said.
         2              Q.      Okay.    Thank you.     So I am now
         3    going two paragraphs down.
         4              A.      Yes.
         5              Q.      The paragraph that starts with,
         6    "I asked Dr. Wright"?
         7              A.      "I asked Wright".
         8              Q.      Yes, "I asked Wright", thank you.
         9    In order to understand that, that says, "I asked

  H-L   10    Wright about this"; correct?
        11              A.      Yes.
        12              Q.      The "this" is, if you could read
        13    the paragraph before, so you have context of what
        14    the conversation was about.         Do you see that?
        15              A.      Yes, I do.
        16              Q.      In discussions with Dr. Wright
        17    about 1.1 million Bitcoin, did Dr. Wright tell you
        18    that it was true that his and Kleiman's mining
        19    activity had led to a complicated trust; is that
        20    accurate?
        21                      MS. McGOVERN:      Object to the form.
        22    BY MR. BRENNER:
        23              Q.      Let me rephrase it because I should
        24    have been using accurate instead of true.             Let me
        25    rephrase it.     Is it accurate that Dr. Wright told
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                                                                         Page 124
         1    you that his and Kleiman's mining activity had led
         2    to a complicated trust?
         3              A.      That is what he said.
         4              Q.      And the mining activity is
         5    referring to the mining of Bitcoin; correct?
         6              A.      Correct.
         7              Q.      Okay.    Go to two paragraphs down,
         8    it starts off with, "Around this time."
         9              A.      Got it.
       10               Q.      Go to the very end of that
       11     paragraph.
       12               A.      Yes.
       13               Q.      And the last sentence, do you see
       14     that?
       15               A.      I do.
       16               Q.      Just to give yourself context, can
       17     you confirm for me that the "he" you are quoting
       18     there is Dr. Wright?
       19               A.      Yes.
       20               Q.      Let me read the quote and ask you
       21     if it is accurate, okay?
       22               A.      Okay.
       23               Q.      Is it accurate that Dr. Wright told

   L   24     you:    "My way of lying is to let you believe
       25     something.     If you stop questioning then and then
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                                                                         Page 125
         1    you go off and I do not correct you, that is my
 H-L     2    lie."   Is that accurate of what Dr. Wright told
         3    you?
         4                      MS. McGOVERN:      Object to the form.

 H-L     5              A.      That is an accurate quote.
         6    BY MR. BRENNER:
         7              Q.      Thank you.     An accurate quote from

 H-L     8    Dr. Wright?
         9              A.      Yes.
       10               Q.      Thank you.     You are going to skip
       11     the next paragraph and go to the next paragraph,
       12     which is just a single quotation paragraph.
       13               A.      Hmm hmm.
       14               Q.      I am sorry, so everyone gets there,
       15     the paragraph starts with a quotation mark with
       16     the words, "We never really thought."
       17               A.      Yes.
       18                       MR. BRENNER:       Is everyone there?
       19                       MR. KORZENIK:      Yes.
       20     BY MR. BRENNER:
       21               Q.      Did Dr. Wright -- is it accurate
       22     that Dr. Wright told you:        "We never really

 L-H   23     thought that 'we made Satoshi' it was good, it was
       24     done, it was cool, but I don't think we realised
       25     how big it would be."       Is that an accurate
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                                                                         Page 126
         1    description of what Dr. Wright told you?
         2              A.      That is what he said.
         3              Q.      Then he goes on in that quote,
         4    talking about Satoshi, and says:          "We thought it
 H-L
         5    was funny."     Is that accurate, what Dr. Wright
         6    told you?
         7              A.      That is right, that is an accurate
         8    quote from him.
         9              Q.      Thank you.     Okay.    We are going
       10     several pages forward, so let me see if I can find
       11     some sort of header that will help you get there.
       12     If you start from where we were, and you keep
       13     turning pages, you will get to a page that has a
       14     paragraph that starts with a bold letter "P"?
       15               A.      Yes.    Petersen.
       16               Q.      Petersen?
       17               A.      Yes.
       18               Q.      If you turn a couple more pages you
       19     will get to one with a bold letter "T", for "The
       20     main players?"
       21               A.      Got it.
       22               Q.      Do you see that?
       23               A.      I do.
       24               Q.      Now go eight more paragraphs to a
       25     paragraph that starts off:         "We talked about some
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                                                                         Page 127
         1    of the difficulties."
         2              A.      I am there.
         3              Q.      I am sure others are going to have
         4    to catch up.
         5                      MR. KORZENIK:      Got it.
         6                      MS. McGOVERN:      This is Amanda, I am
         7    not there.     Can you sort of map that out again?
         8                      MR. BRENNER:      If you start at where
         9    we left off, and you start turning pages you will
       10     get to a paragraph that has -- the first letter is
       11     a capitalize bolded "P".
       12                       MS. McGOVERN:      Yes, we got it.
       13                       MR. BRENNER:      Continue past that,
       14     you will get to one that has a capitalised bolded
       15     "T".
       16                       MS. McGOVERN:      I got it.
       17                       MR. BRENNER:      Then you go about
       18     eight more paragraphs.
       19                       MS. McGOVERN:      I got it.
       20                       MR. BRENNER:      "We talked about some
       21     of the difficulties."
       22                       MS. McGOVERN:      Yes, I got it.
       23     BY MR. BRENNER:
       24               Q.      The beginning of that paragraph is
       25     talking about your discussions with someone else,
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                                                                         Page 128
         1    so I am not going to ask you about that.
         2              A.      Okay, yes.
         3              Q.      So we are going down to the end of
         4    that paragraph, where it actually talks about
         5    something Dr. Wright told you; do you see that?
         6              A.      Yes.
         7              Q.      If you could familiarise yourself,
         8    just to read those last two sentences, then
         9    I think it will help you answer the question.
       10               A.      Yes, I am there.
       11               Q.      Is it accurate that here you are
       12     talking about a conversation -- strike that, do
       13     you call it a conversation or interview when you
       14     are talking about that, I want to use the right
       15     term, I do not want to belittle it or make it
       16     something it is not.
       17                       MR. KORZENIK:      Look at what it
       18     says.
       19                       MR. BRENNER:      It does not say
       20     either.
       21     BY MR. BRENNER:
       22               Q.      Would you rather me refer to it as
       23     a conversation an or interview?
       24               A.      I think that is a perfectly
       25     reasonable question.       Over that length of time it
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                                                                         Page 129
         1    became a conversation rather than an interview.
         2              Q.      I do not want to offend you by
         3    making it something i tis not.          Okay, in this
         4    paragraph, correct me if I am wrong, are you
         5    talking about a conversation with Dr. Wright
         6    regarding certain e-mails between him and
         7    Mr. Kleiman?
         8              A.      Mr. Brenner, are you referring to
         9    that last sentence, "Wright had told me he would
       10     produce"?
       11               Q.      Yes, I am trying to give context
       12     for what the quote is, the statement.            The
       13     conversation you had with Dr. Wright is about
       14     e-mails between him and Mr. Kleiman?
       15               A.      Yes.
       16               Q.      Is that right?
       17               A.      Yes.
       18               Q.      And Dr. Wright told you that he
       19     would produce the e-mails by the following
       20     Wednesday but he never did; is that accurate?
       21                       MR. KORZENIK:      Just a minute, can
       22     we stick with the lines from the words.
       23                       MR. BRENNER:      I read it exactly.
       24     I will do it again.
       25     BY MR. BRENNER:
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                                                                         Page 130
         1              Q.      Is it true that Dr. Wright told you
         2    he would produce the missing e-mails by the
         3    following Wednesday -- strike that.           Is it
         4    accurate that Dr. Wright told you that he would
         5    produce the e-mails by the following Wednesday but
         6    that he never did?
         7              A.      That is what I wrote and that is
         8    accurate.
         9              Q.      Thank you.     Skip the next
       10     paragraph, and then we are going to paragraph that
       11     starts off with the name Calvin Ayre?
       12               A.      Yes.
       13                       MR. BRENNER:      Is everyone there?
       14                       MR. KORZENIK:      Yes.
       15     BY MR. BRENNER:
       16               Q.      In the second sentence there is a
       17     statement from Dr. Wright to you regarding
       18     Mr. Ayre?
       19               A.      There is.
  R
  H    20               Q.      And Dr. Wright told you that he
  L
       21     call would Mr. Ayre, "The man in Antigua"; is that
       22     accurate?
       23               A.      That is what he called him.
       24               Q.      If you could go down two
       25     paragraphs?
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                                                                         Page 131
         1              A.      Yes.
         2              Q.      Paragraph starts with, "At the
         3    Jermyn Street."      I am going to the paragraph that
         4    says "many people".
         5              A.      Yes.
         6              Q.      Three lines down?
         7              A.      "Many people refer" yes.
         8              Q.      You write:     "Many people refer to a
         9    Satoshi mine hoard that has never been spent and
       10     the figure always around a million Bitcoin is the
       11     same one admitted to by Wright and Kleiman."             Do
       12     you see that?
       13               A.      I do.
       14               Q.      Is that something that Dr. Wright
       15     admitted to you, that quote, is that accurate?
       16                       MS. McGOVERN:      Object to the form.
       17                       MR. KORZENIK:      I am going to object
       18     to the composite.      It is not clear to me what that
       19     refers to.
       20                       MR. BRENNER:      If I asked him what
       21     it refers to you are going to tell me to stick to
       22     the -- I read the whole sentence so I don't know
       23     what you want me to do.
       24                       MR. KORZENIK:      Break it up.
       25               A.      Can I help you, Mr. Brenner, are
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                                                                         Page 132
         1    you asking me if he admitted it to being himself
         2    and Kleiman, or are asking me if he admitted it to
         3    being himself?
         4    BY MR. BRENNER:
         5              Q.      Or you could tell me if it is one
         6    of those two things or something else.            I am
         7    asking you what he admitted?
         8              A.      I am alerting you to the fact that
         9    it might be more than one person that is behind
       10     the admission.
       11                       MS. McGOVERN:      Excuse me,
       12     Mr. O'Hagan, I hate to interrupt you, but I need
       13     to make my objection on the record.           It is the
       14     only time we have the opportunity to do this.
       15                       THE WITNESS:      I understand.
       16                       MS. McGOVERN:      I do not understand
       17     the question, can you please repeat it?
       18     BY MR. BRENNER:
       19               Q.      Mr. O'Hagan, I am on the sentence
       20     that starts with "many people"?
       21               A.      Yes.
       22               Q.      And what I am going to do, just so
       23     you understand what my question is going to be,
       24     I am going to read the sentence in to the record
       25     then I am going to ask you which part of that
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                                                                         Page 133
          1   sentence is an accurate depiction of what
          2   Dr. Wright admitted to you, okay?
          3             A.       Yes.
          4             Q.      The sentence says:        "Many people
          5   refer to a Satoshi mine hoard that has never been
    H
          6   spent and the figure, always around a million
          7   Bitcoin, is the same one admitted to by Wright and
          8   Kleiman."      What did Dr. Wright admit to you?
          9                      MS. McGOVERN:     Object to the form;
         10   outside the scope and hearsay.
         11   BY MR. BRENNER:
         12             Q.      You can answer.
         13             A.      The figure.
         14             Q.      That the Satoshi mined hoard is
         15   around a million Bitcoin?
         16             A.      Yes, that is what he said.
         17             Q.      Then the next sentence says:          "The
         18   difference is that Wright said he spent a lot of

   H     19   his."   Do you see that?
  MIS    20             A.      Yes.
         21             Q.      Is that accurate of what Dr. Wright
         22   told you?
         23                     MS. McGOVERN:      Object to the form.
H, MIS   24             A.      That is what he said.
         25   BY MR. BRENNER:
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                                                                         Page 134
         1              Q.      Okay.     I am now going to go a few
         2    more pages, and let me try to orient everyone.              If
         3    you turn the next page, you will see a paragraph
         4    that starts off with a bold "S"?
         5              A.      Yes, "Satoshi".
         6              Q.      Yes, we are going to go past that
         7    one.    The next marker I can see is a subheading or
         8    a heading that is called "proof"?
         9              A.      Yes.
       10               Q.      We are going to skip past that.           On
       11     the next page, there is a part that starts with a
       12     bold "I"?
       13               A.      Yes.
       14               Q.      I am going to be the paragraph
       15     right above the bolded "I"?
       16               A.      Got it.     "Just before these
       17     sessions took place." Yes?
       18               Q.      Yes, that paragraph, yes, sir.
       19                       MR. KORZENIK:      We do not have
       20     bolded.
       21                       MR. BRENNER:      That complicates it
       22     more.   Okay.    It starts off with -- the paragraph
       23     starts with, "Just before these sessions took
       24     place."
       25                       MR. KORZENIK:      Got it.
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                                                                         Page 135
         1                      MR. BRENNER:      You good?
         2                      MR. KORZENIK:      Yes.
         3    BY MR. BRENNER:
         4               Q.     Thank you.     In that paragraph, at
         5    the end of that paragraph, I am just trying to --
         6    there is a sentence that starts, "I didn't
         7    always"?
         8               A.     Yes.
         9               Q.     "I didn't always know what he was
       10     talking about."      Are you referring to Dr. Wright
       11     in this?
       12               A.      Yes.
 H-L   13               Q.      Let me read it then:        "I didn't
       14     always know what he was talking about.            His
       15     expertise at certain periods was startling and so
       16     were his obfuscations."        Is that accurate?
       17               A.      Obfuscations, yes.
       18               Q.      Okay.    Then the next paragraph, we
       19     are going to now go several pages.           Let me see the
       20     best way to give you the markers.           Give me one
       21     second to do that.       The paragraph we were on, the
       22     next paragraph starts with a bold "I".
       23               A.      Yes.
       24               Q.      There is then one a couple of pages
       25     late with a bold "A"?
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                                                                         Page 136
         1              A.      Yes.
         2              Q.      There is then a subheading in that
         3    article that says "The reveal"?
         4              A.      Yes.
         5              Q.      Then if you go -- I will count the
         6    paragraphs is the easiest way to do it.            Starting
         7    with the section that starts with "The reveal" --
         8    27 paragraphs, the paragraph starting with,
         9    "I have people mud slinging" -- I assume it is
       10     going to take folks some time to get there.
       11                       MR. BUNTING:      Page 40 of
       12     Mr. O'Hagan.
       13                       MR. KORZENIK:      What is that Jude?
       14                       MR. BUNTING:      It is page 40 of the
       15     one that Mr. O'Hagan has.
       16               A.      Yes, I am there.
       17                       MR. KORZENIK:      Past "The reveal".
       18                       MR. BRENNER:      Yes, 27 paragraphs
       19     into that section.
       20                       MR. KORZENIK:      And it has, "I have
       21     people slinging mud".
       22                       MR. BUNTING:      It is page 228 of
       23     yours, Mr. Korzenik.
       24                       MR. KORZENIK:      228, got it.
       25                       MR. BRENNER: Ms. McGovern, do you
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                                                                         Page 137
         1    have it?
         2                      MS. McGOVERN:      I apologise, yes,
         3    I do.
         4    BY MR. BRENNER:
         5              Q.      Okay, Mr. O'Hagan, I think you have
         6    it?
         7              A.      I do.
         8              Q.      Thank you sir.       That paragraph
         9    starts off with a quote from Dr. Wright; correct?
       10               A.      It is, yes.
       11               Q.      It is accurate ----
       12               A.      Yes, that is what he said.
   H   13               Q.      Just to give context, the part of
   R
   L   14     the article that you are quoting from Dr. Wright
       15     is his discussion regarding -- is it his
       16     discussion about coming out as Satoshi Nakamoto?
       17               A.      That is the context, yes.
       18               Q.      And he said:      "I've got people mud
       19     slinging."     Is that accurate?
       20               A.      That is accurate.
       21               Q.      And then you then write -- I am now
       22     quoting you, not Dr. Wright.         You write:     "But
       23     that wasn't true, he wasn't feeling forced because
       24     of what he people said.        He felt forced or obliged
       25     to come out because he'd signed the deal with
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                                                                         Page 138
         1    Encrypt in June 2015."        Is that accurate?
         2                      MR. KORZENIK:      Objection, that is
         3    more evaluative and opinion.         You started with
         4    "having felt", that is his surmise, that is not
         5    factual.
         6                      MR. BRENNER:      I ask that you allow
         7    him to answer the question, and we will be almost
         8    done.   If you instruct him not to answer, we will
         9    have to take it up with the court.
       10                       MS. McGOVERN:      I join the
       11     objection.
       12                       MR. BRENNER:      Are you going to
       13     allow him to answer?
       14                       MR. KORZENIK:      No.
       15     BY MR. BRENNER:
       16               Q.      Okay.    Mr. O'Hagan, just as a
       17     formally, are you going to follow your counsel's
       18     instruction?
       19               A.      I am.
       20               Q.      Thank you.     You write, and this is
       21     leading up to a quote, you write:           "And he
       22     deepened the lie when Cellan-Jones asked him why
       23     he had not revealed himself."          First of all, is
       24     that accurate?
       25                       MR. KORZENIK:      Objection.     Again,
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                                                                           Page 139
         1    I object because it is his surmise and
         2    characterisation of people's -- it is an
         3    attribution of intention, it is not factual, and
         4    therefore outside of the order.
         5                      MR. BRENNER:      And you are
         6    instructing him not to confirm what he wrote?
         7                      MR. KORZENIK:      Correct.
         8    BY MR. BRENNER:
         9              Q.      Are you going to follow your
       10     counsel's instruction?
       11               A.      I will.
       12               Q.      Thank you sir.       Then there is a
       13     quote again, this is, just to give context,
       14     Dr. Wright is talking about his coming out as
       15     Satoshi Nakamoto.      The quote is:      "I would like to
       16     go to conferences, put out papers, I cannot do
       17     that now, I can never just be Craig again."             Is
       18     that an accurate statement of what Dr. Wright told
       19     you?
       20                       MR. KORZENIK:      I an sorry Andrew,
       21     where is that?
       22               A.      It is at the end of that paragraph.
       23     BY MR. BRENNER:
       24               Q.      I will read it again.
       25                       MR. BUNTING:      It is over the page.
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                                                                         Page 140
         1                       MR. KORZENIK:     I got it, 229. Good.
         2    BY MR. BRENNER:
         3              Q.      I will ask it again so the record
         4    is clean.      Again, in the context of Dr. Wright
         5    talking about coming out as Satoshi Nakamoto, is
   H
         6    it accurate that he gave you the following quote:
   R
         7    "I would like to go to conferences, put out
         8    papers, I cannot do that now, I can never just be
         9    Craig again."
       10               A.      That is what he said to me.
       11               Q.      Okay, now I guess it is about two
       12     pages, but just to do it the way we have been
       13     doing it, since it is the way it is working, turn
       14     a page or two, you will see a bolded letter "T"?
       15               A.      Yes.
       16               Q.      And we are going to go -- let us go
       17     there, let me ask you, you have a series of
       18     quotations starting at the end of the paragraph
       19     that starts with "T", correct?
       20               A.      Yes.
       21               Q.      The first quotation that I see
       22     says:   "My name is Craig Wright and I am about to
   H
   R   23     demonstrate the signing of the message with a key
   L
       24     that is associated with the first transaction ever
       25     done on Bitcoin, the transaction of ten Bitcoin to
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                                                                            Page 141
             1   Hal Finney."     Is that an accurate quote from
             2   Dr. Wright?
             3              A.     That is what he said, yes.
             4              Q.     The next quote is not from
             5   Dr. Wright, am I correct it is someone asking
             6   Dr. Wright questions?
       H     7              A.     Cellan-Jones, who is referred to at
       L
             8   the end of the first paragraph with the drop T.
             9              Q.     I am not going to ask you to
            10   confirm the accuracy of what Mr. Cellan-Jones, I
            11   am just going to identify which is him talking
            12   about which is Dr. Wright talking?
            13             A.      Sure.
            14             Q.      The next quote, who did the
H, L, MCD
            15   transaction without confirming or denying the
            16   accuracy, that is a quote from Mr. Cellan-Jones;
            17   correct?
            18             A.      Yes.

       H    19             Q.      Mr. Write's response was, quote,
       L
            20   "I did"; correct?
            21             A.      Yes.
            22             Q.      That is accurate?
            23             A.      Yes.
            24             Q.      Okay.    The next quote is from

H, L, MCD 25     Mr. Cellan-Jones and says:         "In whose name is
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                                                                             Page 142
H, R, MCD    1    associated with that transaction."
             2              A.       Yes, that is Cellan-Jones.

       H     3              Q.       Is it accurate that Dr. Wright's
       R     4    response was:      "The Moniker is Satoshi Nakamoto."
       L
             5    Is that accurate?
             6                       MS. McGOVERN:     I Object to the form
             7    of the question.
             8    BY MR. BRENNER:
             9              Q.       You can answer.
            10              A.      Yes, that is accurate.
            11              Q.      The next quote from
            12    Mr. Cellan-Jones is:       "So you are going to show me
      H     13    that Satoshi Nakamoto is you"; do you see that?
      R
            14              A.      I do.
      L
            15              Q.      And is it true, is it accurate that
            16    Dr. Wright's response was "yes"?
            17              A.      Yes.
            18              Q.       The next quote from
            19    Mr. Cellan-Jones says:        "Are you confident that
            20    this will prove to the world that you are
            21    Satoshi?"      Do you see that?
            22              A.       Yes.
            23                       MS. McGOVERN:     I am going to object
            24    to hearsay statements from Cellan-Jones.
            25                       MR. BRENNER:     You have a standing
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                                                                         Page 143
         1    objection to hearsay, you do not need to do it.
         2                      MS. McGOVERN:      Evaluative
         3    statements of Mr. O'Hagan can be hearsay
         4    statements.     I object to that.
         5                      MR. BRENNER:      You have a standing
         6    objection to hearsay and I am just reading quotes,
         7    but the objection stands.
         8                      MS. McGOVERN:      (Unclear).
         9                      MR. BRENNER:      Sure.
       10     BY MR. BRENNER:
       11               Q.      I will ask you again, Mr. O'Hagan,
       12     so we can have a clean record.
       13               A.      Sure.
       14               Q.      The next quote is from Mr.
       15     Cellan-Jones.     It says:     "Are you confident that
   H
   R   16     this will prove to the world that you are
   L   17     Satoshi?"
       18               A.      That is Cellan-Jones.
       19               Q.      Okay.    Then the next quote is from
       20     Dr. Wright, is the next quote from Dr. Wright, is
       21     it accurate that he said:        "It proves I have keys
       22     other things will be releasing will help, some
       23     people will believe and some people won't and to
       24     tell you the truth I don't really care."            Is that
       25     an accurate quote from Dr Wright?
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                                                                         Page 144
         1                      MS. McGOVERN:      Objection to form.
         2    This is below with respect to the ellipses, that
         3    apparently suggest there are other things said
         4    that are not there, so whether it is an accurate
         5    quote is a statement that cannot be answered on
         6    the record.
         7                      MR. BRENNER:      It does not sound
         8    like a form of objection, but thank you.
         9    BY MR. BRENNER:
       10               Q.      It is accurate that Dr. Wright
       11     said:    "It proves I have keys, other things we'll
       12     be releasing will help, some people will believe
       13     and some people won't and to tell you the truth
       14     I don't really care."
       15               A.      He said those words.
       16               Q.      The next quote is from Mr.
       17     Cellan-Jones.     He says:     "But you can say hand on
   H
   L   18     heart 'I am Satoshi Nakamoto.'"          Did I read that
       19     right?
       20                       MS. McGOVERN:      Object to the form.

   H   21               A.      You read it right, yes.
   L
       22     BY MR. BRENNER:
       23               Q.      The next quote, is it accurate that

   H   24     Dr. Wright said:      "I was the main part of it,
   L   25     other people helped.       At the end of the day none
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                                                                         Page 145
         1    of this would have happened without Dave Kleiman,
         2    without Hal Finney and without those who took over
   H
   L     3    like Gavin and Mike."       Is that accurate?
         4               A.     That is what he said.
         5               Q.     The next quote -- on my copy the

MCD      6    next page, a page and a third down, the paragraph
         7    starts with, "Also at 8 a.m." it is right after
         8    the long block work?
         9               A.     Yes, I have it.
       10                       MR. BRENNER:      Folks, other counsel,
       11     let me know if you are able to find it.
       12                       MS. McGOVERN:      I am not sure where
       13     you are.
       14                       MR. BRENNER:      Sure.    So on the next
       15     page there is a subheading called "life rights",
       16     and in that section there is a paragraph and a
       17     longish block quote.
       18                       MR. KORZENIK:      Yes.
       19                       MR. BRENNER:      The next paragraph
       20     starts with, "Also at 8 a.m."
       21                       MR. KORZENIK:      Yes, got it.
       22     BY MR. BRENNER:
       23               Q.      Thank you.     Thank you.      In this
   H   24     paragraph, to give context, this is -- I am in the
       25     back part of the paragraph, the bottom half of the
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                                                                         Page 146
         1    paragraph -- you refer to a Radio 4 Today
         2    programme broadcast?
         3              A.      Yes.
         4              Q.      About Cellan-Jones' report?
         5              A.      Yes.
         6              Q.      You then have a quotation, is that
         7    something that was on the radio report?
         8              A.      Yes.
   H     9              Q.      Then at the end of that you put --
   L
       10     at the very end of the paragraph you say "they",
       11     are you referring to the report still, the radio
       12     report?
       13               A.      Yes.
       14               Q.      You say:     "They played the part of
       15     the interview where Wright said he was part of the
       16     group between Satoshi."        Is that accurate?
       17               A.      That is accurate.
       18               Q.      Go a few pages further, we will try
       19     to do what we have been doing before to help you
       20     -- if you go several pages, you will get to
       21     paragraph that starts with a capitalised "T"?
       22               A.      Yes.
       23               Q.      Then if you go -- don't worry about
       24     it, it is not -- let's take a very short break
       25     because I think I am done.
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                                                                         Page 147
         1                      THE VIDEOGRAPHER:       Are you going to
         2    go off the record then.
         3                      MR. BRENNER: Sure.
         4                      THE VIDEOGRAPHER:       Going off the
         5    record.    The time is 4.27.
         6     (A short break off the record from 4.27 to 4.39)
         7     THE VIDEOGRAPHER:       Back on the record.       The time
         8                              is 4.39.
         9    BY MR. BRENNER:
       10               Q.      Thank you.     Mr. O'Hagan, I
       11     just have two more questions and in the interest
       12     of full disclosure, they're questions that have to
       13     do with evidentiary rules in the United States
       14     that I need to ask you.        The first question is:
       15     Is it accurate that on or about June 2016 the
       16     London Review of Books published an article

   L   17     entitled "The Satoshi Affair.          Andrew O'Hagan on
       18     the many lives of Satoshi Nakamoto" a copy of
       19     which is attached to this deposition as exhibit 2?
       20                       MS. MCGOVERN:      Object to the form.

   L   21               A.      Yes, it did.
       22     BY MR. BRENNER:
       23               Q.      Is it true, that -- does the copy
       24     of the article attached to this deposition as
       25     exhibit 2 truly and accurately reflect the
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                                                                         Page 148
         1    observations and contained in that article?
         2                       MS. MCGOVERN:     Object to the form.
         3                       MR. KORZENIK:     Objection.     I think
         4    it's simply:      Is it a true copy of the article?
         5                       MR. BRENNER:     Effectively yes.       I
         6    just need to use the magic language.           You can
         7    answer.
         8              A.       It is a true copy of the article as
         9    published.
       10                        THE EXAMINER:     Are those your two
       11     questions?
       12     BY MR. BRENNER:
       13               Q.       No well, the problem is the answer
       14     changed the -- I have to ask the question again
       15     with the words that I need for evidential
       16     purposes.      Does the copy of the article attached
       17     to this deposition as exhibit 2 truly and
       18     accurately reflect the observations and facts
       19     contained therein?
       20                        MR. KORZENIK:     Objection.     It can't
       21     be done in such a global way.
       22                        MR. BRENNER:     I'd really -- fine.
       23     This would be a shame to come back on this.             This
       24     is -- Mr. Korzenik, if you recall that this is
       25     exactly what you guys asked for originally to
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                                                                         Page 149
         1    -- regarding the article and actually put in an
         2    affidavit, I believe, I just request the witness
         3    answer the question.       It is just for evidentiary
         4    purposes.
         5                      MR. KORZENIK:      It is not
         6    evidentiary.     What you're asking is to confirm all
         7    of the assertions and observations in the article.
         8    We can't do that.      In other words, I'm not
         9    globally asserting that everything in it is true.
       10     There are some things in it that different parties
       11     out there quotations from people that take
       12     different positions on the same thing and you can
       13     see the end of the article that a lot is left to
       14     the reader.     So I --
       15                       MR. BRENNER:      Yes ----
       16                       MR. KORZENIK:      -- that on a global
       17     level, I can't say that everything in it is
       18     correct or that everybody's observations are
       19     correct.    Some observations turn out not to be
       20     correct.    Right?
       21     BY MR. BRENNER:
       22               Q.      Fair enough, I'm not trying to ask
       23     him to vouch for what about someone told him or
       24     did not tell him was true or not, other than what
       25     we already done.      All I am asking is the article
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                                                                         Page 150
          1   attached to deposition as exhibit 2 truly and
          2   accurately reflect the observations and facts as
          3   you observed them and understood them?
          4                     MS. MCGOVERN:      Object to the form.
          5                     MR. KORZENIK:      Same objection. It's
          6   just global.     In other words, you're asking does
          7   it truly reflect the quotations that were cited
          8   attributed to different people within the work,
          9   then the answer would be fairly yes, because we've
CC       10   specifically addressed those.          We don't know if
R
NQ       11   some of those are true or not.          That's just what
         12   they said and it is a truthful account of what
         13   they said and an accurate account of what they
         14   said.
         15   BY MR. BRENNER:
         16             Q.      Do you agree with what your counsel
         17   just stated as the nature of the article?
     R
         18             A.      I do, it is an accurate expression
         19   of what he said.
         20             Q.      Okay.    That's all the questions
         21   I have.
         22                     THE EXAMINER:      Right.    Thank you
         23   very much, Mr. Brenner.
         24                     MR. BRENNER:      That's all the
         25   questions I have subject to whether I need to come
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                                                                           Page 151
         1    back on anything, but for now that's all the
         2    questions I have.
         3                      THE EXAMINER:      Thank you.     Now, is
         4    there going to be any cross-examination?
         5                      MS. McGOVERN:      Yes, Ms. Green,
         6    thank you very much.
         7                      MR. BUNTING:      Before we start the
         8    cross-examination, can we please identify who
         9    S. Licata is for the record?
       10                       MS. McGOVERN:      That is not someone
       11     on our side, I do not know.
       12                       MR. BRENNER:      I did not hear the
       13     question    I'm sorry. Oh Samantha Licata, I'm sorry
       14     is an associate in the Boies Schiller office so
       15     apparently I guess dialled it and ----
       16                       MR. BUNTING:      And who is Simon
       17     Cohen?
       18                       MR. BRENNER:      I don't know.      Oh,
       19     Simon Cohen I believe is London counsel for
       20     Dr. Wright ----
       21                       MR. BUNTING:      Thank you.
       22                       MR. BRENNER: -- and the Rivero firm
       23     can confirm that.
       24                       MS. McGOVERN:      Yes, that is correct
       25     Simon Cohen is for the purposes of this deposition
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                                                                         Page 152
         1    in light of the fact that it was taken by a video
         2    conference UK counsel.        Of course, we're all on
         3    video now, so -- but he is associated with this
         4    deposition and he is represented by -- he
         5    represents Dr. Wright for this deposition.
         6                      THE EXAMINER:      It's very important
         7    that the court reporter has got an accurate record
         8    of all the people who have been involved in
         9    attending this video, whether it has been in
       10     person with Mr. O'Hagan or by video, even if it is
       11     only that they have been in and out, so we have an
       12     accurate record of that.        Could all the parties
       13     make sure that they have given full details not
       14     just a name but also the firm they represent and
       15     what their position is within the firm.
       16                       MR. BRENNER:      Yes, would you like
       17     us to do that on the record now or just send it to
       18     the Court Reporter?       I'm happy to do it any way
       19     you want.
       20                       THE EXAMINER:      I would ordinarily
       21     say send it to the Court Reporter but because
       22     we're in a strange period of time, where things
       23     may not get through by mail or e-mail, I prefer
       24     just for safety sake, you just record it on this
       25     video while we all hear it now.
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                                                                            Page 153
         1                      MR. BRENNER:      Of course.       I will
         2    start with the plaintiffs and then I'll turn over
         3    to the defendants.
         4                      THE EXAMINER:      I know you've all
         5    introduced yourselves but if you just say what
         6    your position is in the firm, where the -- and
         7    clearly say what the firm is and who you represent
         8    so she has got it absolutely accurately.
         9                      MR. BRENNER:       I am happy to do
       10     that.   Again, my name is Andrew Brenner,
       11     B-R-E-N-N-E-R.      I'm a partner in the law firm
       12     Boies, B-O-I-E-S, Schiller, S-C-H-I-L-L-E-R, and
       13     Flexner, F-L-E-X-N-E-R.        I'm a partner in the
       14     Miami office of that law firm.          Also attending
       15     some or all and I just don't know, because I have
       16     not followed the screen is Samantha Licata, the
       17     last name is spelled L-I-C-A-T-A and she is an
       18     associate in that -- in my law firm.
       19     Mr. Freedman, who we talked about earlier his last
       20     name is spelled F-R-E-E-D-M-A-N.          He also
       21     represents the plaintiffs and he is from the law
       22     firm Roche Cyrulnik and Freedman.           Roche,
       23     R-O-C-H-E, Cyrulnik, C-Y-R-U-L-N-I-K and Freedman,
       24     F-R-E-E-D-M-A-N.      As far as I know that is
       25     everyone who has attended some or all of this
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                                                                         Page 154
         1    deposition on behalf of the plaintiffs in the
         2    lawsuit.
         3                      THE EXAMINER:      Thank you very much.
         4    So if we go defendants ----
         5                      THE COURT REPORTER:        Thank you, I
         6    have everybody else.
         7                      MR. KORZENIK:      David Korzenik,
         8    partner with Miller Korzenik Sommers Rayman.
         9    Korzenik is the only one hard to spell, K-O-R-Z,
       10     as in zebra, E-N-I-K and we're appearing on behalf
       11     of Andrew O'Hagan, and with me is my partner
       12     Terence Keegan, thank you.
       13                       THE EXAMINER:        Thank you.     And as
       14     far as Ms. McGovern, you really -- you did give us
       15     all the names, but if you wouldn't mind doing it
       16     all again of those from your firm.
       17                       MS. McGOVERN:      Of course.     My name
       18     is Amanda McGovern.       I am with my colleague, Julio
       19     Paez which is J-U-L-I-O, Paez is P-A-E-Z.             We are
       20     both counsel for Dr. Wright with the law firm.
       21     Rivero Mestre, R-I-V-E-R-O, M-E-S-T-R-E.
       22                       THE EXAMINER:      Thank you. Was there
       23     a paralegal?     Was there a paralegal present as
       24     well?
       25                       MS. McGOVERN:      I believe there was
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                                                                          Page 155
         1    confusion that Mr. Paez was a paralegal.            He is
         2    fact ----
         3                      THE EXAMINER:      No, it was at the
         4    beginning of this examination a young man next to
         5    Mr. Paez.     There was a young man who I thought was
         6    a paralegal.
         7                      MS. McGOVERN:      Yes, so there was an
         8    IT specialist.      His name is Gabriel and I believe
         9    his last name is F-E-B-R-E-V-E.          If that is a
       10     mistaken spelling, I apologise profusely and
       11     I will correct that.       But yes, he was a technical
       12     specialist.
       13                       THE EXAMINER:      So there was that
       14     young man and there was also a man in the
       15     hinterland behind Mr. Paez, is he involved at all?
       16                       MS. McGOVERN:      That is true, so --
       17     excuse me -- so my partner Andres Rivero,
       18     A-N-D-R-E-S, Rivero, R-I-V-E-R-O, he was here in
       19     the morning, and he also is a member of our --
       20     partner of the firm and represents Dr. Wright.
       21                       THE EXAMINER:      Thank you.     And then
       22     I think I'm fairly clear on the -- who is present
       23     in the solicitors office but just for the record
       24     again, if you just go through who has been
       25     actually present.
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                                                                         Page 156
         1                      MR. COHEN:     So Ms. Green, I just
         2    thought I would jump in and tact on to the end of
         3    Ms. McGovern given that we're both acting for
         4    Dr. Wright.
         5                      THE EXAMINER:      Good idea. I hadn't
         6    seen you before, welcome.
         7                      MR. COHEN:     I've been lurking in
         8    the background.      I'm Simon Cohen, C-O-H-E-N,
         9    senior associate at the firm SCA Ontier,
       10     O-N-T-I-E-R and I represent Dr. Wright for the
       11     purposes of this deposition.
       12                       THE EXAMINER:      Thank you.
       13                       MR. BUNTING:      So, my name is
       14     Jude Bunting.     I appear on behalf of Mr. O'Hagan.
       15     Sitting with me are three solicitors from Simons
       16     Muirhead and Burton.       Those are Martin Soames who
       17     is a partner.     Soames is spelled S-O-A-M-E-S,
       18     Erica Henshilwood, Erica is spelled E-R-I-C-A.
       19     Henshilwood is spelled H-E-N-S-H-I-L-W-O-O-D.              She
       20     is a senior associate.        Next to Ms. Henshilwood is
       21     Flora Bezzenberger who is a trainee solicitor.
       22     Flora is spelled F-L-O-R-A.         Bezzenberger is
       23     spelled B-E-Z-Z-E-N-B-E-R-G-E-R.
       24                       THE EXAMINER:      Thank you very much.
       25     So, Mr. O'Hagan, I must thank you for coming today
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                                                                         Page 157
         1    in difficult times to those offices and for giving
         2    your evidence as you did.        As the attorneys have
         3    indicated that they have completed the deposition,
         4    as far as I am concerned, you're now free to leave
         5    the building and I thank you for your corporation.
         6                      MS. McGOVERN:      Miss Green ----
         7                      MR. COHEN:     I understand there is
         8    cross-examination ----
         9                      MS. McGOVERN:      We have a cross
       10     notice to the deposition because it is a
       11     deposition that is going to be used in the case
       12     against our client and we have questions to ask as
       13     well.   I apologise if there was a
       14     misunderstanding.
       15                       THE EXAMINER:      Well, I did ask if
       16     anybody -- first of all, I did ask if anybody has
       17     got questions and I assumed that as nobody had
       18     piped up, that was the situation.           But if you have
       19     questions, then I better not let Mr. O'Hagan leave
       20     yet, and we're not off the record; we're still on
       21     the record.     Mr. O'Hagan, I am afraid we've got to
       22     allow for you to be more patient for some time
       23     longer ----
       24                       MR. O'HAGAN:      Indian giver!
       25     BY MISS MCGOVERN:
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                                                                         Page 158
         1              Q.       I apologise for that
         2    misunderstanding (unclear).         I actually -- I'm
         3    happy to hear though that you didn't hear me pipe
         4    up.   That is the first time I've heard that so
         5    that makes me feel a little bit better!            So I
         6    don't appear to be too aggressive!           Mr. O'Hagan,
         7    my name is Amanda McGovern and I represent
         8    Dr. Wright?
         9              A.       Good afternoon.
       10
       11               Q.       I am in Miami Florida, called
       12     Rivero Mestre and we represent Dr. Wright in the
       13     litigation that is pending against him, which is
       14     the reason for your deposition today.            If I ask a
       15     question that in any way, shape or form is
       16     confusing to you, please correct it; I want to
       17     make sure the record is clear.          I do not mean to
       18     suggest anything when I ask a question, so I do
       19     not ask you to speculate or guess as to the
       20     response.      And if in fact I can state the question
       21     better please tell me and I will?
       22               A.       Thank you.
       23               Q.       I am going to my very best to
       24     follow the parameter laid out today by your
       25     counsel with respect to the scope of this
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                                                                         Page 159
         1    deposition.     If I go outside of it, I apologise
         2    and I will try to get back in.          Mr. O'Hagan, if
         3    you could turn to exhibit 2, with the plaintiff's
         4    counsel, Mr. Brenner.       Mr. O'Hagan, are you
         5    familiar by the way with who the plaintiffs are in
         6    this case?
         7                      MR. KORZENIK:      By the way Amanda,
         8    if I can just interrupt, do you -- how much --
         9    just give us a sense of how much time you expect
       10     you'll need.
       11                       MS. McGOVERN:      I am going to try to
       12     finish in 20 minutes or less.
       13                       MR. BUNTING:      Okay.
       14                       BY MS. MCGOVERN:       And the only
       15     reason that I wouldn't do that is because I would
       16     speak slower than I normally do.
       17     BY MS. MCGOVERN:
       18               Q.      Mr. O'Hagan, do you have -- let me
       19     go back to the question I asked, I apologize.              Are
       20     you familiar with who the plaintiffs are in this
       21     litigation which has brought you here today to
       22     testify?
       23               A.      I am.
       24               Q.      In fact, are you familiar with the
       25     subject matter of the litigation that has brought
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                                                                         Page 160
         1    you here to testify?
         2                      THE EXAMINER:      Just a minute.
         3    Which question are you posing to him?            The first
         4    one are you familiar with who or are you posing
         5    the question about litigation?
         6                      MS. MCGOVERN: The plaintiffs that
         7    have brought the litigation that is the subject of
         8    Mr. O'Hagan's deposition here today.           I asked if
         9    he was familiar with who the plaintiffs are, in
       10     other words, what parties have initiated this
       11     lawsuit against Dr. Wright and whether Mr. O'Hagan
       12     knows the identity of those plaintiffs.
       13                       MR. KORZENIK:      It is out of the
       14     boundaries but you can answer that question
       15     quickly.
       16               A.      Yes, I know their identities.
       17     BY MS. MCGOVERN:
       18               Q.      And are you aware, Mr. O'Hagan,
       19     that the defendant in this case is Dr. Craig
       20     Wright who is the subject of exhibit 2 entitled
       21     "The Satoshi Affair"; are you aware of that?
       22               A.      I am.
       23               Q.      Could you turn, please, to exhibit
       24     2?   The very first page of exhibit 2, do you see
       25     the title of the article that you wrote in June
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                                                                         Page 161
         1    2016?
         2              A.      I do.
         3              Q.      Could you, please, read the full
         4    title of the article into the record?
         5              A.        "The Satoshi Affair", subheading
         6    "Andrew O'Hagan on the many lives of Satoshi
         7    Nakamoto".
         8              Q.      So the second part of the title
         9    which says "Andrew O'Hagan on the many lives of
       10     Satoshi Nakamoto", does that -- is that an
       11     accurate representation of the manner in which
       12     this article has been represented, in other words
       13     this is Andrew O'Hagan's article, opinions and
       14     evaluative journalistic work on the many lives of
       15     Satoshi Nakamoto?
       16                       MR. BRENNER:      Object to the form.
       17     BY MS. McGOVERN:
       18               Q.      Is that accurate, Mr. O'Hagan?
       19                       MR. BRENNER:      Same objection.
       20               A.      I am the author, yes.
       21     BY MS. MCGOVERN:
       22               Q.      So, this is your account, is that
       23     why the title is written that way, "Andrew O'Hagan
       24     on the many lives of Satoshi Nakamoto"; in other
       25     words is this your account in this article?
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                                                                          Page 162
         1                      MR. BRENNER:      Object to the form.
         2                      MR. BUNTING:      Stop, we've lost our
         3    US counsel. He is coming back on line now.             He
         4    hasn't heard the questions.         It may be that our US
         5    counsel has an objection to this question.
         6                      MR. KORZENIK:      I am back on.      I had
         7    to switch devices.
         8                      MS. McGOVERN:      Would you like me to
         9    repeat the question, Mr. Korzenik?
       10                       MR. KORZENIK:      Please, yes.
       11     BY MS. MCGOVERN:
       12               Q.      Mr. O'Hagan, I think the question
       13     is whether or not the second line in the article
       14     which says "Andrew O'Hagan on the many lives of
       15     Satoshi Nakamoto", whether that represents that
       16     that is in fact Andrew O'Hagan, in other words
       17     your account of the article of the information
       18     that is contained in the article?
       19                       MR. BRENNER:      Objection to the
       20     form.
       21                       MR. BUNTING:      Objection, outside
       22     the scope of the order.
       23                       MR. KORZENIK:      Yes, I agree.
       24                       MS. McGOVERN:      Can he answer the
       25     question, Mr. Korzenik?
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                                                                         Page 163
         1                      MR. BUNTING:      No.
         2                      MR. KORZENIK:      No.
         3    BY MS. MCGOVERN:
         4              Q.      So, Mr. O'Hagan, let me ask another
         5    question for the record.        You may be getting a lot
         6    of objections, but I need to make my record
         7    anyway.    I do not mean it to be annoying.
         8              A.      I understand.
         9              Q.      Mr. O'Hagan, "The Satoshi Affair",
       10     that is the title of this article (unclear) is
       11     that correct?
       12               A.      That is the title.
       13               Q.      What does "The Satoshi Affair"
       14     mean?
       15                       MR. KORZENIK:      Objection.
       16                       MS. McGOVERN:      Are you instructing
       17     him not to answer?
       18                       MR. KORZENIK:      Yes.
       19     BY MS. MCGOVERN:
       20               Q.      Mr. O'Hagan is that a factual
       21     statement that this is an affair or is this a
       22     evaluative opinion on your behalf?           Which is it, a
       23     fact or opinion which actually is the moniker on
       24     this journalistic article that we're referring to?
       25     Can you answer that question ----
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                                                                          Page 164
         1                      MR. KORZENIK:      Objection.
         2    Objection, the article speaks for itself, the
         3    words speak for themselves and you may ask
         4    questions about the sub content of the article.
         5                      MR. BRENNER:      Well, I'll object to
         6    the form and I'm not weighing in on the --
         7    obviously Mr. O'Hagan's counsel is ably
         8    representing him and we'll object to the issues
         9    regarding the scope of the deposition.            I would
       10     only say that to my knowledge the counsel for the
       11     defendant made no effort to bring their own
       12     proceeding in the London courts to try to expand,
       13     restrict or change the scope of the deposition.
       14     We have -- we did bring such a proceeding and we
       15     ultimately had an order from the court telling us
       16     what the scope of the deposition would be and
       17     that's what we complied with, but I understand
       18     this defendant did not go through such a
       19     procedure.     So, I'm just objecting to the form and
       20     I'll refer to Mr. O'Hagan's question counsel as to
       21     their instructions to the witness.
       22                       MR. KORZENIK:      Yes, and Amanda
       23     I would also just say -- I would also say that I
       24     will want you to stay within the zone of
       25     acceptable cross.
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                                                                         Page 165
         1                      MS. McGOVERN:      I understand, Mr.
         2    Korzenik and I'm going to attempt to do that.
         3    BY MS. MCGOVERN:
         4              Q.      Mr. O'Hagan, you stated that you
         5    were a member of the George Orwell Society in
         6    London; is that correct?
         7              A.      I stated -- I stated I was a
         8    patron.
         9              Q.      What is a patron?
       10               A.      A sort of guiding light.
       11               Q.      You were the guiding light of the
       12     George Orwell Society; is that accurate?
       13               A.      It's how I would characterise it,
       14     yes.
       15               Q.      George Orwell was known for writing
       16     social criticism; is that correct, as an essayist,
       17     journalist and novelist?
       18               A.      I'm afraid I'm not answering that.
       19     That's out of the scope of this ----
       20                       MR. KORZENIK:      Objection to this
       21     it's going far afield.        I'll let it go a little
       22     ways in terms of background, but this is not a
       23     really proper background, but proceed with this
       24     for the moment.      Let's see where we're going.
       25     BY MS. MCGOVERN:
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                                                                         Page 166
         1               Q.      I apologise, Mr. Korzenik.
         2    I actually appreciate a little leeway on this in
         3    light of the amount of background that Mr. Brenner
         4    went into in terms of the nature of the journalism
         5    that Mr. O'Hagan enjoys and has become well known
         6    for.     I'm simply asking whether that includes his
         7    role as the guiding light in a society of -- for
         8    George Orwell in which that journalist, novelist
         9    and essayist was known for writing social
       10     criticism?
       11                        MR. BUNTING:     Objection.     That was
       12     a lengthy speech.      It calls for literary
       13     criticism.      It's entirely irrelevant to the
       14     proceedings and it's outside the scope of the
       15     order.    Mr. O'Hagan won't be answering that
       16     question.
       17     BY MS. MCGOVERN:
       18               Q.       Mr. O'Hagan, this article that
       19     you've testified about today, I believe you stated
       20     in your testimony when you -- when Mr. Brenner was
       21     asking you questions was published again in
       22     another book; is that right?
       23               A.       When you say "another book", that
       24     suggests that it's first publication was in a
       25     book.    As we have established, this first
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                                                                         Page 167
         1    publication was in a magazine.
         2              Q.      Thank you for that correction.
         3    Exhibit 2 was published in another form, I believe
         4    you've testified it was published in a book called
         5    "The Secret Life"; is that correct.
         6              A.      That is correct.
         7              Q.      Was it republished in a book called
         8    "The Secret Life" in its original form that we
         9    have seen here and gone over at length as exhibit
       10     2?
       11               A.      That's correct.
       12               Q.      Who came up with the name "The
       13     Secret Life"?
       14                       MR. KORZENIK:      Objection.     You need
       15     not answer that question, far outside the
       16     boundaries of the permitted questions.
       17     BY MS. MCGOVERN:
       18               Q.      Is "The Secret Life" a form of
       19     journalism, Mr. O'Hagan?
       20                       MR. KORZENIK:      Objection.     You need
       21     not answer that question.        Outside the scope of
       22     the permitted questions.
       23     BY MS. McGOVERN:
       24               Q.      I'm simply going to be making my
       25     record on these questions, Mr. O'Hagan and I know
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                                                                         Page 168
         1    Mr. Korzenik will object.        I don't mean to make
         2    you make you uncomfortable but we need to be able
         3    to bring the proceedings to the district court
         4    here and without specific questions, it will be
         5    difficult for us to make our argument.            So
         6    I explain that simply so that I'm not putting you
         7    in a difficult position when I continue to ask
         8    questions that I know will draw objections from
         9    your counsel.
       10               A.      I understand.
       11               Q.      Mr. O'Hagan, did "The Satoshi
       12     Affair", "Andrew O'Hagan on the many lives of
       13     Satoshi Nakamoto" is an article that was then a
       14     book; correct?
       15               A.      A known fiction book, yes.
       16               Q.      But it was a book, it wasn't a
       17     journalistic piece; isn't that correct?
       18                       MR. BRENNER:      Object to form.
       19                       MR. KORZENIK:      Objection.
       20                       MS. McGOVERN:      Can he answer?
       21                       MR. KORZENIK:      I don't -- I'm not
       22     sure, it seems fairly tendentious but ----
       23                       MR. BUNTING:      It's also a
       24     non-sequitur.
       25                       MR. KORZENIK:      The work speaks for
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                                                                          Page 169
         1    itself.
         2    BY MS. McGOVERN:
         3              Q.        I understand but my question of
         4    Mr. O'Hagan simply goes to the form of the
         5    writing.       You stated that this exhibit 2 is
         6    journalism, and I'm stating that it then became a
         7    book.    That's not journalism, is it, Mr. O'Hagan?
         8              A.        Ms. McGovern, I'm afraid ----
         9                        MR. KORZENIK:    I object.     That's
       10     just arguing with the witness here.
       11               A.       No let me answer.      Ms. McGovern,
       12     you're making mistake a mistake there.            American
       13     journalism and British journalism are full of
       14     examples of collections of journalism by famous
       15     individuals such as Joan Didion or Norman Mailer,
       16     in the American context.        They remain journalism
       17     although collected in a book.
       18     BY MS. McGOVERN:
       19               Q.       So is it your position, Mr.
       20     O'Hagan, that "The Secret Life" is journalism --
       21     is a form of journalism?
       22               A.       It is a collection of journalism,
       23     madam.
       24                        MR. BRENNER:     Where is that noise
       25     coming from; do we know?
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                                                                         Page 170
         1                      MR. KORZENIK:      Yes, it's coming
         2    from my office.      I may have to move because there
         3    is some construction going on upstairs.
         4                      MR. BRENNER:      Okay.
         5                      MR. KORZENIK:      So I try to mute it
         6    whenever they start drilling.
         7                      MR. BRENNER:      Okay. We'll do our
         8    best. Thank you.
         9    BY MS. MCGOVERN:
       10               Q.      Mr. O'Hagan, do you enjoy writing
       11     books?
       12                       MR. BUNTING:      Objection,
       13     irrelevant.
       14                       MR. KORZENIK:      Objection.
       15     BY MS. MCGOVERN:
       16               Q.      How many books have you written
       17     versus the number of articles, journalistic
       18     articles that you have written; what would you say
       19     the percentage is?
       20                       MR. BUNTING:      Objections.     Presumes
       21     and answered.     The witness -- the questions keep
       22     asking if books are not journalism and they
       23     proceed on that basis.        These are also irrelevant
       24     and outside of the scope of the questions --
       25     outside the scope of the order.
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                                                                         Page 171
         1                      MR. KORZENIK:      It has been asked
         2    and answered.     He gave the number of articles he
         3    has written and the number of books he has
         4    written.
         5    BY MS. MCGOVERN:
         6               Q.     Who was "The Secret Life" about?
         7                      MR. KORZENIK:      Objection.     The book
         8    and the articles speak for themselves.
         9                      MS. McGOVERN:      Again are you -- you
       10     can simply tell us whether you're instructing the
       11     witness not to answer my questions on
       12     cross-examination of him regarding a published
       13     article.    If you can simply tell him not to answer
       14     the question, I will be finished very quickly.
       15                       MR. KORZENIK:      I do not see the
       16     point of that question.        What does that mean to be
       17     what it is about?      Is it the subject matter, the
       18     person, what are you looking for?
       19     BY MS. McGOVERN:
       20               Q.      Who is it about, "The Secret Life",
       21     whose life is secret, Mr. O'Hagan?
       22                       MR. KORZENIK:      Objection.     "The
       23     Secret Life" is a title of a book about a number
       24     of different subjects.
       25                       MS. McGOVERN:      Mr. Korzenik if you
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                                                                         Page 172
         1    could simply allow me to answer[sic] the question
         2    and allow him to answer -- or tell him not to
         3    answer.    I need to make my record on what I've
         4    been able to cross-examine him on with respect
         5    ----
         6                      MR. KORZENIK:      I do object and he
         7    need not answer a question that can be answered by
         8    reading the work itself.
         9                      MR. BUNTING:      Ms. McGovern, if it
       10     helps you, what you are permitted to ask questions
       11     about are Mr. O'Hagan's educational background,
       12     his employment history, his professional
       13     qualifications, his personal preparation for the
       14     deposition, the accuracy of the quotes and factual
       15     assertions contained within his work "The Satoshi
       16     Affair".    That's the limit of this deposition and
       17     your questions so far have all been outside the
       18     limit of this deposition.        So, can I ask that you
       19     focus your questions on this limited deposition
       20     and then we'll be able to make progress.
       21     BY MS. McGOVERN:
       22               Q.      So, I've asked you who "The Secret
       23     Life" is about, you have been instructed not to
       24     answer.    Let's move on to "The Satoshi Affair" and
       25     the statements contained therein.           If you could
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                                                                         Page 173
         1    please turn, Mr. O'Hagan, to page -- I believe
         2    it's 7, I have the version that has 55 pages
         3    (unclear) Mr. Brenner.
         4                      MR. BRENNER:      Is there some sort of
         5    marker in the article where it is and I'll try to
         6    find it?
         7    BY MS. McGOVERN:
         8              Q.      The marker is the actual page with
         9    the four pictures on it.
       10               A.      Yes, I've got it.
       11               Q.      There are four pictures in the
       12     centre of the -- what page is this?           It's 7 of 55.
       13     There are four pictures of four people on it and
       14     then the first paragraph on that page has a big
       15     "S" in bold that says "since".
       16                       MR. KORZENIK:      Yes, we have it.
       17               A.      I'm there too.
       18               Q.      Great.    If you could look at the
       19     second paragraph, Mr. O'Hagan and familiarise
       20     yourself with that paragraph?
       21                       MR. BRENNER:      The paragraph after
       22     the one that starts with the big "S".
       23     BY MS. MCGOVERN:
       24               Q.      That is correct.       It starts with
       25     "McGregor"?
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                                                                         Page 174
         1                      MR. BRENNER:      Thank you, got it.
         2    BY MS. McGOVERN:
         3              Q.      Do you see that, Mr. O'Hagan?
         4              A.      I do.
         5              Q.      That sentence reads as follows.
         6    "McGregor described Wright to me as 'the goose
         7    that lays the golden egg'."         Do you see that
         8    sentence?
         9              A.      I do.
       10               Q.      Is that an accurate statement?
       11                       MR. BRENNER:      I would just --
       12     I don't have an objection except for I was
       13     precluded pursuant to the court order from going
       14     into the accuracy of quotes from anyone else other
       15     than Dr. Wright and I therefore did not do that.
       16     If the witness is allowed to answer this question,
       17     which I'm totally fine if he is, then I will
       18     obviously have to go back and do the same thing
       19     with quotes from other people in the article.              As
       20     I read the order that we talked about earlier and
       21     that Examiner Green also reviewed and I look at
       22     paragraph 3(d), I understood I was precluded from
       23     that line of questioning.        So, I will do whatever
       24     counsel directs.      I'm just saying that if the
       25     defendant is able to do it, then I obviously have
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                                                                         Page 175
         1    to do it too.
         2                      MR. KORZENIK:      I would just say
         3    this, that it's outside the boundary of the cross.
         4    I agree with the reading of the order but I also
         5    think it's outside the boundary of the cross.
         6                      MS. McGOVERN:      We at cross noticed
         7    the deposition.      I simply to need to know I'm
         8    being precluded from asking the questions
         9    particularly since, if we read the order to mean
       10     it's a one way street about statements of
       11     Dr. Wright and not statements of others about
       12     Dr. Wright, then we simply need to clear that
       13     issue up.    I don't want to get argumentative about
       14     it.   Are you instructing the witness not to answer
       15     that question?
       16                       MR. BUNTING:      Can I clarify from
       17     the perspective of local counsel?           Paragraph 3(d)
       18     reads that "Mr. O'Hagan is not required to confirm
       19     the accuracy of factual assertions which were made
       20     by other people, i.e. people other than
       21     Mr. O'Hagan in 'The Satoshi Affair'."            That's what
       22     paragraph 3(d) covers.        It does not mean that
       23     Mr. O'Hagan's deposition is limited to being asked
       24     questions about quotations only from Dr. Wright.
       25     And from the perspective of local counsel the
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                                                                         Page 176
         1    question asked by Miss McGovern is within the
         2    scope of the cross-examination.
         3                       MS. McGOVERN:     I believe
         4    Mr. O'Hagan that means that you can answer the
         5    question but anybody can, please, correct me if I
         6    am wrong.
         7                       MR. BUNTING:     That's correct.
         8    BY MS. MCGOVERN:
         9              Q.       Could you please answer the
       10     question, Mr. O'Hagan?
       11               A.       Yes.
       12               Q.       Is that an accurate statement?
       13               A.       That's a ----
       14                        THE EXAMINER:     Can you repeat the
       15     question you want him to answer, because there has
       16     been a lot of talking in between.
       17     BY MS. MCGOVERN:
       18               Q.       Mr. O'Hagan, I'm referring to the
       19     first sentence in the second paragraph of page
       20     7/55 where it states:       "McGregor described Wright
       21     to me as 'the goose that lays the golden egg'."
       22     My question is:      Is that an accurate statement?
       23               A.       That is what Mr. McGregor said.
       24               Q.       If we move on to the next sentence,
       25     it reads:      "She said that if I agree to take part,
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                                                                         Page 177
         1    I would have exclusive access to the whole story
         2    and to everyone around Wright and then I would end
         3    -- and that it would all end with Wright proving
         4    he was Satoshi by using cryptographic keys that
         5    only Satoshi had access to, those associated with
         6    the very first blogs on the blog chain period."
         7    Do you see that sentence?
         8               A.     I do.
         9               Q.     Is that an accurate ----
       10                       MR. KORZENIK:      I'm going to object
       11     to this, because this is outside the scope of what
       12     was asked in the prime -- in the primary
       13     deposition and I don't see its relationship to
       14     anything else that was asked by plaintiff's
       15     counsel.    It's not as if we have -- in other
       16     words, if you cross notice a deposition, you did
       17     not cross notice it with us, and number 2, your
       18     cross notice means you were invited to attend and
       19     cross-examine it, examine and that's all that I
       20     think you may do.
       21                       MR. BUNTING:      It's within the scope
       22     of ----
       23                       MS. McGOVERN:      Mr. Korzenik, are
       24     you instructing the witness not to answer my
       25     cross-examination question that I have just posed?
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         1                      MR. KORZENIK:      I don't see its
         2    connection with the -- with any of the questions
         3    asked in the deposition and so it is not proper
         4    cross, and I object and request that the witness
         5    not answer.
         6                      MS. McGOVERN:      If we could, please,
         7    move on to the next sentence, you have been
         8    instructed not to answer, Mr. O'Hagan, so I'm
         9    moving on to the next sentence.
       10                       MR. BRENNER:      Just for the record,
       11     just for the record, I do not believe as far as
       12     I know the counsel of the defendant did not, in
       13     addition did not participate in any proceedings in
       14     London, did not cross notice the deposition in or
       15     through the London courts or with London counsel,
       16     to my knowledge.      And that appears to have been
       17     what the proper procedure should have been, but
       18     again -- I'm not instructing the witness, not that
       19     I could anyway, but I'm not instructing the
       20     witness not to answer.
       21                       MS. McGOVERN:      All of these
       22     arguments Mr. Brenner, you know, we can make in
       23     court here.     I do not want to keep this witness
       24     longer that I need to.        If you're ----
       25                       MR. FREEDMAN:      Ms McGovern, I just
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                                                                         Page 179
         1    want to add one last thing which is your cross
         2    notice is improper even under the local rules here
         3    in the southern district of Florida as not being
         4    14 days in advance of the deposition.
         5                      MS. McGOVERN:      Mr. Freedman, I'm
         6    sure you'll make that argument, if I just continue
         7    with my record we will get finished earlier than
         8    we did yesterday.
         9    BY MS. McGOVERN:
       10               Q.      The next sentence that I would like
       11     to ask you about says quote:         "All he wants is
       12     peace to get on with his ----
       13                       MR. KORZENIK:      That ----
       14                       MS. McGOVERN:      I need to make my
       15     record.    You can instruct him not to answer.
       16                       MR. KORZENIK:      Oh, no, I just said,
       17     "Where is it".
       18     BY MS. McGOVERN:
       19               Q.      Oh, sorry.     I think the next
       20     sentence after that, there is a sentence which
       21     says "Wright's patents", right?          And then after
       22     that there is a quote.        So let me for the record
       23     be very clear.      My question pertains to the
       24     sentence that begins quote:         "All he wants is
       25     peace to get on with his work."          "McGregor told me
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                                                                         Page 180
         1    at the first meeting."        It goes on:     "And how this
         2    ends for me is with Craig working for say Google
         3    with the research staff of 400."          Do you see that?
         4              A.      I do see it.
         5              Q.      Is that an accurate statement,
         6    Mr. O'Hagan?
         7                      MR. KORZENIK:      Objection.     Is it a
         8    --   I will permit you to ask whether it is a
         9    proper quote just to move things along, but I'm
       10     not -- it seems to me outside the boundaries of
       11     proper cross.
       12     BY MS. MCGOVERN:
       13               Q.      Let me rephrase.       Is that a proper
       14     quote Mr. O'Hagan?
       15               A.      It is a proper quote from
       16     Mr. McGregor, yes.
       17               Q.      Mr. O'Hagan, if you could, please,
       18     turn to page 9 of 55, the remaining questions I'm
       19     going ask you, just so you have a heads-up, are
       20     going to refer specifically to the things that you
       21     were asked by Mr. Wright.        What I just asked you
       22     about is the only paragraph that I was going to
       23     ask outside of what Mr. McGregor talked to you
       24     about just to let you know.
       25               A.      Thank you.
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                                                                         Page 181
         1              Q.      At Paragraph 9/55 ----
         2                      MR. BRENNER:      Just, yes, tell me
         3    with the paragraph starts with.
         4    BY MS. McGOVERN:
         5              Q.      So it starts with "I found him
         6    easier"?
         7              A.      Yes.
         8                      MR. BRENNER:      I got it.
         9    BY MS. MCGOVERN:
       10               Q.      Mr. O'Hagan, if you could look at
       11     the sentence that states about four lines down
       12     from the top:     "He said he was happy"; do you see
       13     that Mr. O'Hagan?
       14               A.      Yes.
       15               Q.      Did Mr. ----
       16                       MR. KORZENIK:      By the way, do you
       17     have the page number in ours?
       18                       MR. BUNTING:      171.
       19                       MR. KORZENIK:      171, okay, thank
       20     you.
       21                       MR. BUNTING:      Bottom of the page.
       22     BY MS. MCGOVERN:
       23               Q.      Mr. O'Hagan, let me go back and
       24     refresh the question.       I am referring to the
       25     sentence that starts:       "He said he was happy I was
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                                                                         Page 182
         1    writing about him because he wanted to 'step into
         2    his history', but mainly because he wanted to tell
         3    the story of the brilliant people he had
         4    collaborated with."       Do you see that Mr. O'Hagan?
         5              A.      I do see it.
         6              Q.      When was this -- is this an
         7    accurate statement?       I believe you testified
         8    earlier that it was.       Just for the purposes of my
         9    next question, is that an accurate statement?
       10                       MR. KORZENIK:      Is that an accurate
       11     quote, you mean?
       12               A.      Yes that is what I was about to ask
       13     you.    When you say an "accurate statement", that's
       14     -- you should ask Mr. Wright that.           If you're
       15     asking me if it's an accurate reflection of what
       16     he said, yes.
       17     BY MS. MCGOVERN:
       18               Q.      Okay.    So, if it doesn't have
       19     quotes around it, it's not something Dr. Wright
       20     said; is that a fair statement?
       21               A.      That is not a fair statement.
       22                       MR. BRENNER:      Objection to the
       23     form.
       24     BY MS. MCGOVERN:
       25               Q.      So, this does not have quotes
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                                                                         Page 183
         1    around it when you say "he said he was happy"?
         2              A.      I can give you a lecture on
         3    literary style if you like, madam but it's not
         4    always necessary to put material that was said
         5    inside quote.     That's a choice that a writer will
         6    make based on rules of paraphrasing and other
         7    rules to do with good writing.
         8    BY MS. MCGOVERN:
         9              Q.      When you wrote this article,
       10     Mr. O'Hagan, and stated "he said he was happy",
       11     was he happy before or after you finished and
       12     published it?
       13               A.      He said he was happy in the
       14     situation.
       15                       MR. KORZENIK:      Objection, unless
       16     the article states the timing of it.
       17     BY MS. MCGOVERN:
       18               Q.      Was this before or after you
       19     published this article that he said he was happy.
       20     Core?
       21                       MR. BUNTING:      Objection ----
       22                       MR. KORZENIK:      Objection.     It would
       23     have to be before.
       24                       MS. McGOVERN:      Mr. Korzenik, please
       25     don't testify for the witness.
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                                                                         Page 184
         1                      MR. BUNTING:      Objection in any
         2    event.
         3                      MR. KORZENIK:      I'm just asking what
         4    your question is.      It's not clear.       Objection as
         5    to vagueness.
         6                      MS. McGOVERN:      You're an American
         7    lawyer, and you know that you don't have to
         8    testify for Mr. O'Hagan, because I do not want to
         9    be suggesting to Mr. O'Hagan what the answer is.
       10                       MR. BUNTING:      Ms. McGovern ----
       11                       MS. McGOVERN:      You objected
       12     (unclear) where if I'm outside the scope of the
       13     order or you've instructed him not to answer, that
       14     is fair, but please, don't testify for
       15     Mr. O'Hagan.
       16     BY MS. McGOVERN:
       17               Q.      Mr. O'Hagan was this before or
       18     after you published the article?
       19               A.      Ms. McGovern, the question is
       20     patently absurd.      How could he be responding to an
       21     article that had not yet been published.
       22               Q.      So, it was before, right?
       23               A.      Obviously.
       24               Q.      Right.    Mr. O'Hagan, if you could
       25     turn, please, to what my exhibit 2, which
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                                                                         Page 185
         1    Mr. Brenner provided to us last night, is 14 of
         2    55, page 14/55.
         3              A.      Yes.
         4              Q.      And it starts -- my question begins
         5    with the ----
         6                      MR. BRENNER:      You're going to have
         7    to let -- you're going to have to let me find it,
         8    because I have different pagination. What does the
         9    paragraph start with?       Is there some marker?
       10                       MS. MCGOVERN:      It is page 14 of 55.
       11                       MR. BRENNER:      Right, but I have
       12     different page numbers so ----
       13                       MR. BUNTING:      "The days in
       14     St. Christopher Place were almost languorous" is
       15     the start of one of the paragraphs.           For
       16     Mr. Korzenik's reference, it's page 180.
       17                       MR. BRENNER:      Say that again, a
       18     paragraph.
       19                       MR. BUNTING:      "The days in
       20     St. Christopher Place were almost languorous."
       21                       MR. BRENNER:      I've got it.      I have
       22     that paragraph.
       23                       MR. KORZENIK:      Good, I'm there.
       24     BY MS. MCGOVERN:
       25               Q.      The paragraph I'm referring to,
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                                                                         Page 186
         1    however, begins with the paragraph two down which
         2    starts "until Napster"; do you see that?
         3              A.      I've got it.
         4                      MR. KORZENIK:      Yes.
         5                      MR. BRENNER:      Yes.
         6    BY MS. McGOVERN:
         7              Q.      And my specific question goes to a
         8    sentence which is the last sentence in my version
         9    of that paragraph reads "Wright never" and then
       10     comma; do you see that?
       11               A.      Yes.
       12               Q.      And it reads:      "Wright never,
       13     I have to say, made it fully clear how they had
       14     collaborated on building Bitcoin."           Do you see
       15     that?
       16               A.      I do.
       17               Q.      Is that an accurate statement?
       18               A.      That was my understanding based on
       19     my journalistic material at the time.
       20               Q.      And the "I" in the -- between the
       21     two paragraphs that says "I have to say", that
       22     "I"is referring to you Mr. O'Hagan; correct?
       23               A.      Correct.
       24               Q.      And if you go down a little
       25     further, the "they", right before "had
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                                                                          Page 187
         1    collaborated", so the "they had not collaborated"
         2    -- or "had collaborated" excuse me, refers to
         3    Dr. Wright and David Kleiman; correct?
         4              A.       The context should make that clear;
         5    correct.
         6              Q.       So, if we simply replace those
         7    pronouns, it would say "Wright never" -- you --
         8    "I have to say made it clear that Dr. Wright and
         9    Dave Kleiman had collaborated on building
       10     Bitcoin."      Correct?
       11                        MR. BRENNER:     Objection.     You've
       12     misread the sentence and changed the words to make
       13     a totally different meaning.         So why don't you
       14     read it correctly, see the word -- why don't you
       15     read it correctly instead of changing a word.              It
       16     didn't say "that they collaborated", it says "how
       17     they collaborated".       Why don't you read it
       18     correctly and let the record reflect what the
       19     article actually says and let the witness answer
       20     truthfully and honestly.
       21     BY MS. McGOVERN:
       22               Q.       So, Mr. O'Hagan, the sentence says:
       23     "Wright never, I have to say, made it perfectly
       24     clear how they had collaborated on building
       25     Bitcoin."      Is that an accurate statement?
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                                                                         Page 188
         1               A.     That is what it says.
         2               Q.     I can -- and then it goes on to
         3    read:     "I kept referring or returning to the
         4    subject, and my doubts would flair up when he
         5    failed to be explicit"        do you see that ----
         6                      MR. KORZENIK:      Objection.     He can
         7    answer part of that sentence, that is doubts, that
         8    is his own impressions, but if you're asking
         9    whether he failed to be explicit, you can ask him
       10     about that.
       11     BY MS. MCGOVERN:
       12               Q.      You had doubts, isn't that right,
       13     Mr. O'Hagan with respect to ----
       14                       MR. KORZENIK:      Objection.
       15     BY MS. McGOVERN:      The statement says you had
       16     doubts?
       17                       MR. KORZENIK:      Objection.     It's not
       18     within the boundaries of the order.
       19                       MS. McGOVERN:      If we could, please,
       20     turn to the next page.
       21                       MR. KORZENIK:      You can ask him the
       22     latter part of that sentence.
       23                       MS. McGOVERN:      I'm fine,
       24     Mr. Korzenik.
       25                       MR. KORZENIK:      Okay.
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                                                                         Page 189
         1    BY MS. MCGOVERN:
         2              Q.        I'm sorry. If you could please
         3    turn to the next page the paragraph that starts:
         4    "We needed people to respond to us."           Do you see
         5    that?
         6              A.      Yes.
         7              Q.      I would like to go to the middle
         8    part of what is the quotation in that paragraph.
         9              A.      Yes.
       10               Q.      Where it states:       "If I can come
       11     out originally as Satoshi without Dave, I don't
       12     think it would have gone anywhere."           Do you see
       13     that sentence?
       14               A.      I do see it.
       15                       MR. BRENNER:      It is not an end
       16     quote.
       17     BY MS. McGOVERN:
       18               Q.      Well it's the quotation within the
       19     quotation.     I'm just asking about that sentence
       20     within the bigger quote, do you understand that,
       21     Mr. O'Hagan?
       22               A.      I do.
       23               Q.      Is that an accurate quote?
       24               A.      That's what he said.
       25               Q.      And if you go down a little bit
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                                                                         Page 190
         1    further for the page and you go to the quotations
         2    where it says:      "We got to a point."        Do you see
         3    that quotation?
         4              A.      I do, yes.
         5                      MR. KORZENIK:      Could you lead me to
         6    the beginning of that paragraph?            What's the
         7    opening line?
         8                      MS. McGOVERN:      Yes, Mr. Korzenik
         9    that is the opening line.        It's the series of
       10     quotes back and forth but this one is the, at
       11     least on my version, it's the third from the
       12     bottom and it starts:       "We got to a point in the
       13     writing of the Satoshi paper."          Do you see that?
       14                       MR. KORZENIK:      Yes.
       15     BY MS. McGOVERN:
       16               Q.      My question is directed to that he
       17     quotation, Mr. O'Hagan and so, I'm going to read
       18     it exactly as it's written and then I have a
       19     question.
       20               A.      Sure.
       21               Q.      "We got to a point in the writing
       22     of the Satoshi paper where it was... perhaps
       23     people say that it was hard."          Is that an accurate
       24     quote?
       25               A.      No, it's not.      You just inserted
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                                                                          Page 191
         1    the word "perhaps" in front of "people".
         2              Q.      Oh, people, I'm sorry.         "People say
         3    that it was hard".        Is that an accurate quote?
         4              A.      Yes, that's what he said.
         5                      MR. BRENNER:      For the record you
         6    left out the word "white" before paper, that would
         7    make it accurate.
         8                      MS. McGOVERN:      Let me read it
         9    again.    I don't know what's happening to me right
       10     now.    I'm just like forgetting words and putting
       11     in other ones.      Excuse me.
       12     BY MS. McGOVERN:
       13               Q.      "We got to a point in the writing
       14     of the Satoshi White Paper where it was...people
       15     say that it was hard."        Do you see that?
       16               A.      I do.
       17               Q.      Is that an accurate quote?
       18               A.      That is what he said.
       19               Q.      And the next quote states:          "He
       20     wanted you to bring the language down a little
       21     bit."    Do you see that?
       22               A.      Yes.
       23               Q.      And that is an accurate quote as
       24     well, is it not?
       25                       MR. BRENNER:      Object to the form.
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                                                                         Page 192
         1    BY MS. MCGOVERN:
         2               Q.       Is that an accurate quote,
         3    Mr. O'Hagan?
         4               A.       An accurate quote from whom?
         5               Q.       You?
         6               A.       Yes.
         7               Q.       Then the next quote says "a lot".
         8    Do you see that?
         9               A.       I do.
       10               Q.        Is that an accurate quote by
       11     Dr. Wright?
       12               A.        Yes, it is.
       13                         MR. KORZENIK:    Yes, that was asked
       14     and answered.
       15     BY MS. MCGOVERN:
       16               Q.        So, if we go on because this
       17     question that was asked of you didn't complete the
       18     rest of the paragraph, which is the reason I'm
       19     asking you, is if we go down, you say, or let me
       20     say question, "the document states"?
       21                         MR. BRENNER:    Where are you reading
       22     it from?
       23     BY MS. MCGOVERN:
       24               Q.        "I asked him to show me", do you
       25     see that.       "I asked him to show me", the same
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                                                                         Page 193
         1    paragraph that starts "a lot"?
         2              A.      Yes.
         3                      MR. BRENNER:      I'm there, thank you.
         4                      MS McGOVERN:      Do you have it?
         5                      MR. KORZENIK:      Yes.
         6    BY MS. McGOVERN:
         7              Q.      It states:     "I asked him to show me
         8    the trail of ideas that led to the collaboration."
         9    Do you see that statement?
       10               A.      I do.
       11               Q.      Is that an accurate statement?
       12               A.      I did ask him that, yes.
       13               Q.      "I" in that statement refers to you
       14     Mr. O'Hagan?
       15               A.      It does.
       16               Q.      And there is then a quote.          "'So,
       17     all these things are there', he said, pointing to
       18     a 330 page thesis on his computer called 'The
       19     quantification of information systems risked',
       20     which he had recently submitted in partial
       21     fulfillment of a philosophy doctorate at Charles
       22     Sturt University."       Do you see that?
       23               A.      I do.
       24               Q.      Is that an accurate quote?
       25                       MR. BRENNER:      Object to the form.
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                                                                         Page 194
         1              A.      You made a mistake in the number of
         2    pages.    You said 330.     It is 337 but otherwise
         3    that's what he said.
         4                      MR. KORZENIK:      I think we already
         5    confirmed these -- this with Andrew Brenner, but
         6    you can ask that to make sure you're complete but
         7    we did cover this paragraph.
         8                      MS. McGOVERN:      I objected
         9    Mr. Korzenik to the fact that his thesis paper was
       10     not included in Mr. Brenner's, we skipped over it
       11     and went to the next paragraph.
       12                       MR. KORZENIK:      I see, okay.
       13                       MS. McGOVERN:      That was the reason
       14     for my including Dr. Wright's thesis on this which
       15     was submitted for his doctorate.
       16                       MR. KORZENIK:      But keep in mind
       17     that only the first part of it is a quotation and
       18     that's what we're confirming.
       19                       MR. BRENNER:      Precisely.
       20     BY MS. MCGOVERN:
       21               Q.      If you could please turn to page 17
       22     of 55?
       23               A.      Yes.
       24                       MR. BRENNER:      Could you give us
       25     some -- the first paragraph, some words I can look
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                                                                         Page 195
         1    for.
         2                      MS. McGOVERN:      It is the paragraph
         3    that begins "The subject of Bitcoin came up".
         4                      MR. BRENNER:      Yes.
         5              A.      Got it.
         6                      MR. KORZENIK:      Yes.
         7    BY MS. MCGOVERN:
         8              Q.      I would like you to go to the
         9    quotation in this paragraph that refers to the
       10     e-mail dated March 12th, 2008.          I just want to
       11     clarify because I'm not sure if it was clear at
       12     least for me when asked about it by Mr. Brenner.
       13     The date, not sure it was clear at least from me
       14     when asked about it from Mr. Brenner.
       15                       It states:     "I need your help
       16     editing a paper I am going to release later this
       17     year.   I have been working on a new form of
       18     electronic money, Bitcash, Bitcoin...you were
       19     always there for me Dave" -- do you see that?
       20               A.      I do see it.
       21               Q.      The "I" is referring to Dr. Wright,
       22     is that an accurate understanding?
       23               A.      Evidently, yes.
       24                       MR. BRENNER:      I only object for the
       25     record that you've stopped reading in the middle
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                                                                         Page 196
         1    of a quote.     So, you're welcome to do that but
         2    you've read part of the quote.
         3    BY MS. MCGOVERN:
         4              Q.      Let me do it again.        It states:
         5    "I have been working on a new form of electronic
         6    money Bitcash, Bitcoin...you were always there for
         7    me Dave, I want you to be a part of it all.
         8    I cannot release it as me.         GMX, Vista Mail and
         9    TORA, I need your help and I need a version of me
       10     to make this work -- to make this work that is
       11     better than me."
       12                       MR. BRENNER:      And I would
       13     only object that when you read it that time you
       14     left off the first sentence.         I know you are not
       15     doing it intentionally but if you want to read a
       16     whole quote, you should read a whole quote.
       17                       MS. McGOVERN:      Let me do it again,
       18     because we're obviously talking about ----
       19                       MR. KORZENIK:      I think we already
       20     confirmed this quote before but just lock it up to
       21     be done with it.
       22                       MS. McGOVERN:      I would like to lock
       23     it up, because I want to make sure it is clear who
       24     the "I" is, so I will do it again.
       25     BY MS. McGOVERN:
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         1              Q.      Mr. O'Hagan, you state:         "I need
         2    your help editing" -- excuse me, let me rephrase.
         3    The sentence begins:       "I need your help editing
         4    the paper I am going to release later this year.
         5    I have been working on a new form of electronic
         6    money, Bitcash, Bitcoin...you were always there
         7    for me Dave, I want you to be a part of it all.
         8    I cannot release it as me.         GMX, Vista Mail and
         9    TORA I need your help and I need a version of me
       10     to make this work that is better than me."             Do you
       11     see that?
       12               A.      I do.
       13               Q.      I believe we lost the connection?
       14                       MR. BUNTING:      No, we're all still
       15     here.
       16               A.      We're all still here.
       17                       THE EXAMINER:      Mr. O'Hagan, did you
       18     hear that question?
       19               A.      The last question I heard, was did
       20     I see the quote.      The answer is yes.
       21                       MR. BRENNER:      I'm still on.
       22     Mr. O'Hagan, is back.
       23                       THE EXAMINER:      Did you hear the
       24     question that was posed by Ms. McGregor[sic] as
       25     she re-read the sentences that she wanted to?
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                                                                         Page 198
         1                      MS. McGOVERN:      Ms. McGovern, I'm
         2    sorry.    I just want to make -- you me confused for
         3    Ms. McGregor, Ms. McGovern.
         4                      THE EXAMINER:      Sorry, I'm sorry
         5    that's -- I apologise.
         6              A.      I did hear the question did I see
         7    the quote, and I do see the quote.
         8    BY MS. MCGOVERN:
         9              Q.      Is that an accurate quote?
       10               A.      Yes.
       11               Q.      If I could point you to the first
       12     -- second sentence of that quote that states
       13     "I have been working"; do you see that?
       14               A.      I do.
       15               Q.      The "I" refers to Dr. Wright, is
       16     that correct?
       17               A.      That was my understanding.
       18               Q.      And then the statement that reads
       19     "I cannot release it as me", the "I" refers to
       20     Dr. Wright and the "me" refers the Dr. Wright; is
       21     that correct?
       22               A.      That was my understanding.
       23                       MR. BUNTING:      Ms. McGovern,for your
       24     record, there is 15 minutes left.
       25                       MS. McGOVERN:      Left for what?
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                                                                         Page 199
         1                      MR. BUNTING:      The deposition which
         2    is four hours.
         3                      MS. McGOVERN:      For the entire
         4    deposition?
         5                      MR. BUNTING:      Yes.
         6                      MS. McGOVERN:      Has there been a
         7    time limit in place on this deposition?            I was
         8    unaware of that.
         9                      MR. BUNTING:      Yes, it's in the
       10     court order.
       11                       MR. KORZENIK:      Yes, four hours.
       12     BY MS. MCGOVERN:
       13               Q.      Okay.    If you could please turn to
       14     page 19 of 55?
       15               A.      Yes.
       16               Q.      If you could, please, turn to page
       17     19 of 55?
       18               A.      Yes.
       19               Q.      And if you can, please, turn to the
       20     paragraph that starts "I came to feel"; do you see
       21     that?
       22               A.      I do see it.
       23                       MR. BUNTING:      Marking forward to
       24     217 ----
       25                       MR. KORZENIK:      I'm not seeing it.
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                                                                         Page 200
         1    Where is it, again?
         2                      MR. BUNTING:      Top of page 191,
         3    Mr. Korzenik.
         4                      MR. KORZENIK:      Thank you.     Thanks
         5    Jude.
         6    BY MS. MCGOVERN:
         7              Q.      (Unclear) to sort speed things up,
         8    if you could please read the first sentence of
         9    that paragraph to yourself.         It's the sentence
       10     that reads "I came to feel there were secrets
       11     between Wright and Kleiman that might never be
       12     revealed."     Do you see that?
       13               A.      I see it, yes.
       14               Q.      And is that an accurate statement?
       15                       MR. KORZENIK:      Objection.     That's
       16     outside the scope of the permitted questions.
       17                       MS. MCGOVERN:      Are you instructing
       18     him not to answer, Mr. Korzenik?
       19                       MR. KORZENIK:      Yes, I am.
       20     BY MS. MCGOVERN:
       21               Q.      If you could go up to the paragraph
       22     that starts:     "For some reason" ----
       23               A.      Yes.
       24               Q.        -- "possibly fear for the ATO",
       25     it's on the same page in my version ----
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                                                                         Page 201
         1               A.      I see it.
         2               Q.      You see it?     If you could look at
         3    the sentence that reads, that starts "for clarity"
         4    ----
         5               A.      Yes.
         6               Q.      It's in the same ----
         7                       MR. BRENNER:     I'm having trouble.
         8    Its starts "for some reason"?
         9                       MR. KORZENIK:     Yes.
       10                        MR. BRENNER:     Is it "up" meaning
       11     it's earlier in the article or "up" meaning
       12     further down?
       13                        MR. BUNTING:     Earlier in the
       14     article; you read it earlier Mr. Brenner.
       15                        MR. BRENNER:     How many paragraphs?
       16                        MR. BUNTING:     Four ----
       17                        MR. BRENNER:     I got it, I got it.
       18     I'm there.      I got it, I got it.      My apologies, I
       19     got it.
       20     BY MS. MCGOVERN:
       21               Q.       The sentence I'm asking you to
       22     focus on, Mr. O'Hagan, is:         "For clarity: there is
       23     no evidence that Kleiman ever took custody of that
       24     amount."    Do you see that?
       25               A.       I do.
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                                                                         Page 202
         1              Q.      Is that an accurate statement?
         2              A.      That was my understanding based on
         3    my journalistic materials at the time.
         4              Q.      Going through my notes real quick.
         5    If you could, please -- if you could turn to page
         6    28?
         7              A.      Yes.
         8              Q.      The first full paragraph starts
         9    with "like McGregor" but it is not at the top of
       10     the page it's the next one ----
       11                       MR. BRENNER:      I got it.     "Like
       12     McGregor, Calvin Ayre"?
       13                       MS. McGOVERN:      That ----
       14                       MR. BRENNER:      Got it.
       15                       MS. McGOVERN:      -- to focus ----
       16                       MR. BUNTING:      Page 206,
       17     Mr. Korzenik.
       18                       MR. KORZENIK:      What was that,
       19     again, Jude?
       20                       MR. BUNTING:      206.
       21                       MR. KORZENIK:      206, thanks.
       22     BY MS. MCGOVERN:
       23               Q.      I would like to ask you about the
       24     statement in the sentence that starts "Matthew's
       25     explicit."     Sorry, I've got a bad copy.
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                                                                          Page 203
         1    "Matthew's, explicit as usual", do you see that?
         2              A.      I don't.
         3              Q.      It's the paragraph above the
         4    paragraph "like McGregor", and it's the third or
         5    the second sentence of ----
         6              A.      I've got it.
         7                      MR. KORZENIK:      I've got it.
         8    BY MS. McGOVERN:
         9              Q.      Great, so "Matthew's", I would like
       10     to ask you though about the statement or the
       11     statement that reads in that sentence:            "Though
       12     I have no other evidence that Ayre was anything
       13     but an interested observer."         Do you see that?
       14               A.      I do.
       15               Q.      Is that an accurate statement?
       16               A.      That's an accurate reflection of
       17     what I thought at the time, based on my material.
       18               Q.      If I could ask you to take a look
       19     at page 42 of 55?
       20               A.      Yes.
       21               Q.      The sentence that I ask you to
       22     focus on, Mr. O'Hagan, starts with "We are going
       23     to film"; do you see that?
       24                       MR. BRENNER:      Can you give me a --
       25     a sentence that starts a paragraph because
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                                                                         Page 204
         1    otherwise there's no way I'll find it.
         2                      MS. McGOVERN:      That is the
         3    paragraph.     It's the series of quotes back and
         4    forth over ----
         5                      MR. BRENNER:      "We are going to
         6    forward a straightforward interview."
         7              A.      Yes.
         8    BY MS. McGOVERN:
         9              Q.      You see that Mr. O'Hagan?
       10               A.      I've got it.
       11               Q.      That quotes -- reads as follows,
       12     quote ----
       13                       MR. KORZENIK:      Where do you have
       14     it?
       15                       MR. BUNTING:      I'm trying to find
       16     it.
       17                       MS. McGOVERN:      Can you find it?
       18                       MR. BRENNER:      No.
       19                       MR. BUNTING:      What does the
       20     paragraph begin with?
       21                       MS. McGOVERN:      There is a paragraph
       22     with a big T, a big T starts "That day".
       23                       MR. BUNTING:      Yes, that's page --
       24     that's page 231 Mr. Korzenik.          The big T at page
       25     231 but I haven't found the next bit.
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                                                                         Page 205
         1                      MS. McGOVERN:      The sentence at the
         2    very bottom of what is page 42 of 55 that starts
         3    -- got it?
         4                      MR. BUNTING:      The quotation that is
         5    being put is on page 232, Mr. Korzenik.
         6                      MR. KORZENIK:      Got it, thanks.
         7    BY MS. MCGOVERN:
         8              Q.      This quote reads as follows:          "We
         9    are going to film a straightforward interview
       10     upstairs without the computer."          Do you see that?
       11               A.      I do.
       12               Q.      Is that an accurate quote?
       13                       MR. BRENNER:      Object to form.
       14               A.      That's an accurate quote from
       15     Mr. Cellan-Jones.
       16                       MS. McGOVERN:      That's all I have.
       17     Thank you so much, Mr. O'Hagan, for your time.
       18                       MR. O'HAGAN:      Thank you.
       19                       MR. BRENNER:      I don't I think have
       20     a follow up, give me 30 seconds.          That's all,
       21     I don't have anything further.
       22                       THE EXAMINER:      Thank you very much
       23     Mr. Brenner.     So, as far as I'm concerned,
       24     Mr. O'Hagan it seems now that everybody has
       25     finished their questioning of you.           There does
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                                                                         Page 206
         1    remain that finally a deposition is going to be
         2    printed up for you to sign.         Now, ordinarily,
         3    I would say you would come and see me in my
         4    chambers for it to be signed.          But unfortunately
         5    I've heard that somebody in my chambers suspects
         6    that he contracted coronavirus on the weekend and
         7    sent an e-mail today.       So, that's not -- I'm not
         8    sure when it will be possible for us to meet.              But
         9    we will have to make some arrangement for the
       10     deposition to eventually go through the courts and
       11     back to the USA.      We will just have to do our best
       12     in the circumstances.
       13                       MR. O'HAGAN:      Of course.
       14                       THE EXAMINER:      But again, thank you
       15     very much for coming.
       16                       MR. O'HAGAN:      Thank you, Ms. Green.
       17                       THE EXAMINER:      Hopefully, everybody
       18     can have a safe journey back to wherever they're
       19     going to go next if they're not going to be
       20     staying at home.      So as far as I'm concerned the
       21     deposition is on the record and if anybody has
       22     anything to say off the record, please do that in
       23     front of the others who are here.
       24            (The deposition concluded at 5.49p.m.)
       25
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                                                                         Page 207
         1                     CERTIFICATE OF EXAMINER
         2
         3                      The preceding pages of typescript
         4    were furnished to me by Amy Coley as containing
         5    her transcript of his notes of the evidence of
         6    ANDREW O'HAGAN given upon his examination before
         7    me.
         8
         9
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       17     .......................
       18     Ms. Alison Green -       Examiner
       19
       20     Dated this ..... day of ............. 2020
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                                                                         Page 208
         1                      CERTIFICATE OF WITNESS
         2
         3              I,ANDREW O'HAGAN, am the deponent in the
         4    foregoing deposition.       I have read the foregoing
         5    deposition and, having made such changes and
         6    corrections as I desired, I certify that the
         7    transcript is a true and accurate record of my
         8    responses to the questions put to me on 17th
         9    March, 2020.
       10
       11
       12
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       14
       15     Signed    ................................
       16
       17     NAME....................
       18
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       20     Dated this ..... day of ............ 2020
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                                                                         Page 209
         1                 CERTIFICATE OF COURT REPORTER

         2

         3              I, Amy Coley, Accredited Court Reporter,

         4    do hereby certify that I took the Stenograph notes

         5    of the foregoing deposition, and that the

         6    transcript thereof is a true and accurate record

         7    transcribed to the best of my skill and ability.

         8                      I further certify that I am neither

         9    counsel for, related to, nor employed by any of

       10     the parties to the action in which the deposition

       11     was taken, and that I am not a relative or

       12     employee of any attorney or counsel employed by

       13     the parties hereto, nor financially or otherwise

       14     interested in the outcome of the action.

       15

       19

       20               ...................................

       21               AMY COLEY

       22

       23

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       25
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                                                                         Page 210
         1                             E R R A T A
         2       (Please make any corrections here NOT in the
         3                           transcript)
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              DSRORJLHV               DUWV       DVVHUWLRQ 
                           DUJXPHQWDWLYH                         
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       DQVZHU>VLF    DSSURSULDWHO\                             
       DQWLFLSDWH                                       DWWDFNV 
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       DWWHPSW              EHJLQQLQJ                 
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       DXWKRU        EDQN                                    
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       ERXQGDU\                                      
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                     %UHQQHU V                
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                     EULGJH                    FDSDFLW\ 
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                        EULOOLDQW            FDSLWDOLVHG
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               FKDUDFWHULVH        FOHDUO\               
       FDSLWDOL]H                                         FRQILGHQW 
       FDUH          FKDUJH          FOLFN                   
                     FKDULW\         FOLHQW                     FRQILGHQWLDO
       FDUHIXOO\      &KDUOHV       FOLHQWV        FRPPD          
       FDUULHV         FKHFN                         FRPPDV        FRQILGHQWLDOLW\
       FDUU\LQJ       FKLOGUHQ        FRDFKLQJ        FRPPHQW         
       FDUYH                           FRGH                        FRQILQHV 
       FDVH       FKRLFH                       &RPPRQZHDOWK       FRQILUP 
              FKRSS\         FRGLQJ                         
                  &KULVWRSKHU         &RKHQ      FRPPXQLW\             
                                                   
                     FLUFOHV                 FRPSOHWH         
       FDWFK          FLUFXODWLRQ    &ROH\                   
       FHOO                                           
       &HOODQ-RQHV        FLUFXPVWDQFHV                                 FRQILUPDWLRQ
                              FROODERUDWHG        FRPSOHWHG       
               FLWH                           FRQILUPHG 
             FLWHG                 FRPSOH[LW\       
                  &LW\                   FRPSOLFDWHG        FRQILUPLQJ 
                FODLPV                                  
                     FODULILFDWLRQ       FROODERUDWLRQ                        
       FHQWUH                          FRPSOLFDWHV          
       FHUWDLQ                                         FRQIOLFW 
                 FODULI\     FROOHDJXH        FRPSOLHG     FRQIXVHG 
                                             FRPSRQHQWV           
       FHUWDLQO\             FROOHFWHG                   FRQIXVLQJ 
                               FROOHFWLRQ    FRPSRVLWH      FRQIXVLRQ 
                       FODULW\       FROOHFWLRQV                     
       &(57,),&$7(                                          FRQQHFWLRQ 
                 FODXVH         &ROOHJH        FRPSXWHU       
                      FOHDQ          FRORQ                       FRQVFLRXVQHVV
       FHUWLI\                      FRPELQDWLRQ         FRQFHQWUDWH      
                    FOHDU                         FRQFHUQHG      FRQVHQW 
       FKDLQ                 FRPH                 
       FKDOOHQJH                                  FRQVHQWHG 
       FKDPEHUV                                 FRQVLGHU 
                                                         
       FKDQJH                         FRQFHUQV      FRQVWUXFWLRQ
       FKDQJHG                                         
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       FKDQJHV                                           FRQVXOW 
       FKDQJLQJ               FRPIRUWDEOH         FRQFOXVLRQ    FRQVXOWDQF\
       FKDSWHUV                          FRQFUHWH       
       FKDUDFWHULVDWLRQ            FRPLQJ          FRQIHUHQFH    FRQWDFW 
                                  FRQIHUHQFHV          
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                                                      
       FRQWDFWHG                               FU\SWR 
       FRQWDFWV                                           
       FRQWDLQHG                                        FU\SWRJUDSKLF
                 FRUH                               
                             FRUUHFWLRQ              FU\SWRJUDSK\
               FRUHV         FRUUHFWLRQV                
                                                            
       FRQWDLQLQJ     FRUQHU      FRUUHFWO\            FXPEHUVRPH
       FRQWHQW                                  FRXUWHV\         
       FRQWH[W        FRURQDYLUXV         FRXQVHO      FRXUWV        FXUUHQFLHV 
                                             FXUUHQF\ 
               FRUSRUDWLRQ                    FRXUW V           
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               FRUUHFW                   FRYHU          FXUUHQWO\ 
                                   FRYHUHG           
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       FRQWLQXH                       FRYHUV        FXUYH 
                                   &UDLJ         FXVWRG\ 
                                               
       FRQWUDFW                                FXW 
       FRQWUDFWHG                                      F\EHU 
       FRQWUDGLFW                         FUDS       F\EHUSXQN 
       FRQWULEXWHG                                            &\UXOQLN 
                                    FUDVK            
       FRQWULEXWLQJ                          FUHDWH          &2+(1
                                    FUHDWLRQ         
       FRQWULEXWLRQV                  FRXQVHO V      FUHGHQWLDOV     &<58/1
                                      FUHGLELOLW\      
       FRQWULEXWRU                    FRXQW          FULWLFLVP 
                                                                 '
       FRQYHQH                FRXSOH          FURVV      ' 
       FRQYHUVDWLRQ                             'DLO\ 
                                                  GDWH 
                        FRXUVH                      
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       FRQYHUVDWLRQV                          FURVVLQJ         
                                         FURVVH[DPLQDW    
                           FRXUW             'DYH 
       FRRO                                     
       FRSLHV                                           
       FRS\                       FURVVH[DPLQH         
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                         GHWDLOV        GLVFXVVLRQ       
                              GHYLFHV                    
                 GHSOR\         'HYLQ                         
       'DYLG         GHSRQHQW       GHYRWHG          GLVFXVVLRQV           
                  GHSRVLWLRQ                                 
                               GLDOOHG        GLVJUXQWOHG           
       GD\               GLDORJXH                          
                        'LGLRQ         GLVWDQW           
                         GLIIHUHQFH     GLVWLQFWLRQ      
                                GLIIHUHQW       GLVWULEXWLRQ     
       GD\V                        GLVWULFW      
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       GH                                              
       GHDO                         GRFWRUDWH        
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       GHDOV                GLIILFXOW        GRFXPHQW        
       GHDWKV                                     
       GHEDWH                                         
       'HFHPEHU                GLIILFXOWLHV              
                                       GRFXPHQWDULHV        
                        GLIILFXOW\                         
                                       GRFXPHQWV       
                              GLJ                                
       GHHP                    GLJLWDO         GRLQJ        
       GHHSHQHG                  GLUHFW               
       GHIHQG                                           
       GHIHQGDQW                                         
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                                                      
       GHIHQGDQWV     GHSRVLWLRQV     GLUHFWLRQ                 
                      GHSWK          GLUHFWO\         GRWV             
       'HIHQVH          GHULYLQJ       GLUHFWV        GRXEOH         
       GHILQH          GHVFULEH       GLVDJUHH                         
       GHILQLQJ                                   GRXEWV        
       GHILQLWHO\               GLVFORVH                     
       GHJUHH                         GLVFORVHG      GR]HQV        
       GHOD\          GHVFULEHG     GLVFORVLQJ      'U        
       'HOLFK                   GLVFORVXUH              
       GHPDQG                  GLVFXVV                     
       GHPRQVWUDWH                                            
                     GHVFULSWLRQ                       
       GHQ\LQJ       GHVLUH          GLVFXVVHG                 
       GHSDUWLQJ      GHVLUHG        GLVFXVVLQJ                       
       GHSLFWLRQ     GHWDLO                               
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                HIIHFWLYHQHVV       HQWLWOHG                 H[LVWHG 
                                                 H[LVWHQFH 
              HIIRUW                   H[DPLQDWLRQ         H[SDQG 
               HJJ                        H[SHFW 
               HLJKW                        H[DPLQH         
                       (ULFD       H[DPLQHU        H[SHFWHG 
              HLWKHU                             
                          (VT            H[SHULHQFH 
                                        
                             (VTXLUH                   H[SHUW 
       GUDIW                         HVVD\LVW            H[SHUWLVH 
       GUDZ      HOHFWURQLF                            H[SODLQ 
       GUDZLQJ                 HVWDEOLVK                  
       GULOOLQJ                                                
       GULYH          HOOLSVHV      HVWDEOLVKHG                H[SOLFLW 
       GURS                                               
       GXH        HOOLSWLFDO      HVWDWH                H[SUHVVLRQ 
                  (0              HVWLPDWH                   
       GXO\            (PDLO                               H[SUHVVO\ 
                                           HW                       H[WHQW  
                (          HPDQDWHV        (XURSH                     H\H 
       (      HPSOR\HG       HYDOXDWLRQ               H\HV  
       HDUOLHU                                    H\HZLWQHVV 
                             HYDOXDWLYH                      
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       HDUOLHVW        HPSOR\HU               H[FOXVLYH        
       HDVLHU       HPSOR\PHQW          HYDOXHG        H[FXVH            
                           HYHQW                    
       HDVLHVW        HQDEOH                                    
       HDVWHUQ         HQFU\SW         HYHQWXDOO\                      
       HGLWHG                                                 
       HGLWLQJ        HQGV       HYHU\ERG\      H[HUFLVHG        
              (QJODQG                 H[KLELW        
       HGLWLRQ        (QJOLVK                              
       HGLWRU             HYHU\ERG\ V                  
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                          HYLGHQFH                     
       HGLWRULDO      HQMR\                               
       HGLWRUV        HQMR\V                             
       HGXFDWLRQ       HQTXLU\                             
       HGXFDWLRQDO                        HYLGHQWLDO                 
                  HQWLUH     HYLGHQWLDU\                   
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       HIIHFWLYHO\    HQWLUHO\       (YLGHQWO\     H[KLELWHG      (5,&$
                                    H[DFWO\        H[KLELWV         
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                )                                       IRUFH 
       IDFW               ILQGLQJ                 IRUFHG 
                                                 IRUHJRLQJ 
                      ILQGV           ILUVWKDQG        
                          ILQH                     IRUHLJQ  
                                 )LW]URYLD       IRUHQVLFV 
                         ILQLVK                      IRUJHWWLQJ 
                                      )LW]UR\     IRUJRW 
               IDUP                    ILYH       IRUP  
                IDUPLQJ                                 
       IDFWV      IDWKHU                                   
                IHDU                IL[              
                                             IODLU            
       IDFWXDO      )HGHUDO        ILQLVKHG       )OHHW          
               IHH                     )OH[QHU          
             IHHG                                           
             IHHO      )LQQH\         )ORUD          
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                              ILUH      )ORULGD        
              IHHOLQJ                            
                                                           
                 IHOORZ          ILUP                       
               IHOW              IRFXV         
                     IHVWLYDOV                         
       IDLOHG       ILFWLRQ                         
       IDLOXUHV                                          
       IDLU                                IRFXVHG           
                 ILHOG                                            
               ILJKW      ILUVW      IRFXVVHG          
               ILJXUH                    IRONV        
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       IDLUO\                                        
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       IDPLOLDU      ILJXUHV                              
                ILOH                       IROORZHG        
                    ILOHG                 IROORZLQJ          
       IDPLOLDULVH    ILOP                             
                 ILQDOO\                               
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       IDPLOLDULW\    ILQDQFLDOO\                              
       IDPRXV                                IROORZV            
       )DPRXVO\       ILQG                               
       IDU                                          
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                                            
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       )RUVWHU                              
       IRUWK                                      
               IXOO\                      
                      IXOOWLPH                   
       )RUWQLJKWO\                                    
                      IXQG                           
       IRUXPV                                     
                       IXQGUDLVLQJ                    
       IRUZDUG         IXQQ\                        
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       IRXU       IXWXUH                            
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                            *ODVJRZ                  
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       )UDQFLV                                          
       IUHH           )5(('0   JOREDO                
       )UHHGPDQ                                 
                                  JOREDOO\                     
                     *         *0;          JRLQJ        
               *DEULHO                     
                JDPLQJ       JR             
       )UHHGPDQ V                                       
                      JDWKHU                        
       IUHHGRP        *DYLQ                        
       IUHHODQFH      JHQHUDOO\             JROGHQ 
       IUHHVWDQGLQJ                                  
                      JHQHVLV              JRRG  
       IULNLQ        JHQWOHPDQ V                   
       IURQW                          
               *HRUJH                        
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       IXFNHG                                         
       IXOILOOPHQW         JHVWXUHV                   
                     JHWWLQJ               *RRJOH 
       IXOO                              JRRVH 
                                      
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       JUHDW                               ,            
                             KHOSIXOO\      LGHD       LQFOXGHV 
             KDUG      KHOSV                      
       *UHHQ            +HQVKLOZRRG                     
                                                  LQFOXGLQJ 
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              KDWH         KHUHWR        LGHDV        
            KHDG           KLJKHU                   LQGHSHQGHQW 
                  KHDGHU                                       
       *UHQIHOO    KHDGLQJ        KLJKHVW        LGHQWLILFDWLRQ      ,QGLDQ 
                          +LOO                         LQGLFDWH 
                KHDGLQJV       KLQWHUODQG          LGHQWLILHG        
       JURXQG   KHDGVXS                                  LQGLFDWHG 
       JURXQGV     KHDU       KLVWRU\        LGHQWLILHV     LQGLYLGXDOV 
                                LGHQWLI\           
       JURXS                                  ,QIR 
       *XDUGLDQ          KLWV                     LQIRUPDWLRQ
                        KPP                  
       JXHVV       KHDUG              LGHQWLI\LQJ       
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       JXLGH                                 LGHQWLW\      LQLWLDWHG 
       JXLGLQJ    KHDULQJ        KRLVRQ          LPDJLQH        LQVHUWHG 
             KHDUVD\       KROG          LPPHGLDWH      LQVLGH 
       JX\V                          LPSRUW         LQVLVW 
                      KROGV          LPSRUWDQW      LQVWUXFW 
                             KROOHU                       
               +                 KRPH                                   
                                                                 
       +DO                          LPSRVVLEOH            
                         KRQHVWO\                     LQVWUXFWHG 
       KDOI                               LPSUHVVLRQ         
           KHDUW        KRQRUDU\                         
            KHOG        KRSH         LPSUHVVLRQLVW       LQVWUXFWLQJ 
       KDQG       KHOS                                       
       KDQGRYHU              +RSHIXOO\     LPSUHVVLRQV        
       KDQJLQJ              KRXUV                           
       KDSSHQHG                      LPSURSHU          
                                                        
       KDSSHQLQJ                      LQDELOLW\        
       KDSS\              KRYHU          LQDFFXUDWH       
                      KXQJ                          LQVWUXFWLRQ 
                      KXUU\           LQFLGHQW           
               KHOSHG         +$*$1           LQFOXGH          
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               KHOSIXO                                           
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       LQVWUXFWV                                            
       ,QWHO          LVVXHV       MRXUQDOLVWV            
       LQWHQG                                         
       LQWHQGHG       ,LV                    .LQJ V         
       LQWHQVH        ,$1'5(:          MRXUQH\        .OHLPDQ        
       LQWHQWLRQ                                             
       LQWHQWLRQDOO\       LH         -XGH                  
                                                          
       LQWHUDFWHG             -                          
                       -DQXDU\                       
       LQWHUHVW                  MXGJH                  
       LQWHUHVWHG     -GHOLFK#UFIOOS                   NQRZOHGJH 
                             MXGJPHQW                
       LQWHUMHFW      -HUP\Q                               
       LQWHUPLWWHQWO\      -RDQ        MXGJPHQWDO                 NQRZQ 
                        MRE                              
       LQWHUSRVH     MRLQ        -XOLR                    
       LQWHUUXSW      MRLQLQJ                               
               -RVHSK        MXPS                    NQRZV 
                MRXUQDO                                 
                      MRXUQDOLVP  -XQH                  .RUH]QLN 
       LQWHUYHQWLRQ                              .RU]HQLN 
       LQWHUYLHZ                                
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       LQWHUYLHZLQJ                                  
                      MRXUQDOLVW  -8/,2                    
       LQWURGXFHG                                       
       LQYHQWRU                                    .OHLPDQ V            
       LQYHVWLJDWH                   .                     
                      MRXUQDOLVWLF      .HHJDQ       NQRZ         
       LQYHVWLJDWLQJ                                  
                               NHHS                 
       LQYHVWLJDWLYH                                
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       LQYLWHG                                    
       LQYLWHV                  NHSW                   
       LQYROYH                  NH\                     
       LQYROYHG               NH\V                     
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       LUUHOHYDQW                                     
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       LVVXH            .LQJGRP                    
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                   OHDYH              ORFDWLRQV 
                .RU]HQLN V                                ORFN 
                     OHFWXUH         OLPLWDWLRQ       /RQGRQ  
             .\OH          OHG          OLPLWHG             
             .\OH#UFIOOSFR                        
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                .25=                /LQGD           
              .25=(1             OLQH           
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              ODQJXDJH                     OLQHV             
                    OHQJWK\                     
                   /HRQ                         
              ODQJXRURXV        OHWWHU          OLQN             ORQJ  
                                     /LVHUR           
            ODUJH              OLVWHG           
                       /HWWHUV                             
                             OHWWLQJ         OLVWHQ              
           ODUJHVW     OHW V       OLWHUDOO\         
             ODWH                   OLWHUDU\     ORQJHU  
            ODZ                             
                              /LWHUDWXUH          
                             OLWLJDWLRQ     ORQJLVK 
              ODZVXLW                           ORQJWLPH 
                                                       ORRN  
                ODZ\HU       OHYHO           OLWWOH         
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             OD\     OLH                 ORRNLQJ 
            OD\V   OLIH                     
             OHDG                 OLYHV         
             OHDGHUVKLS                         
                OHDGLQJ                             
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       ORRNV       0DWWKHZ V                
       /RV         PDQ                       
       ORVH                 0D DP                
       ORVLQJ                                   
       ORVW             0F*RYHUQ               
              PDQQHU                   
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       ORW                               
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             0DUFK                    
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       OXUNLQJ                                
       OX[XU\      PDUNHG                   0F*UHJRU>VLF
       O\LQJ                       
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                        PDUNHUV                    
              0         0DUNLQJ                  
       0            PDUNV                  
       PDFKLQHV  PDUWLDO                 
                  0DUWLQ                    
       0DFTXDULH                          
               0DV                     PHDQLQJ 
       PDGDP                                
               PDWHULDO                     
                                
       PDJD]LQH                           PHDQV  
                                              
       PDJLF       PDWHULDOV                   
       0DJQD                       PHDQW 
                                          PHDVXUH 
       PDLO                                  PHDVXUHG 
             PDWKHPDWLFLDQ                PHGLD  
                                                  PHHW 
       0DLOHU     PDWKHPDWLFV                     PHHWLQJ 
       PDLQ                             PHHWLQJV 
                  PDWKV              PHHWV  
       PDMRULW\  PDWWHU                     PHPEHU 
       PDNLQJ                                 
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                     PLVWDNH                       QRYHO  
       PHUHO\                           QHHGHG      QRYHOLVW 
       PHUJH         PLVWDNHQ                        
       PHUJHG        PLVWRRN                          QRYHOV 
       PHUJLQJ       PLVXQGHUVWDQG          QHHGV          1RYHPEHU 
       PHVVDJH              QDPH     QHLWKHU        QXPEHU 
       0HVVLDK       PRGHO                     QHYHU            
       0HVWUH      PRPHQW                        
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       PHW                                  
       PHWKRG         PRQH\                              
                                             QXPEHUV 
       PHWKRGRORJ\                                   
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       PHWKRGV       PRQLNHU       QDPHV                1<  
       0LDPL                   1DSVWHU    QHZ   
              PRQLWRULQJ                                2
       PLFURSKRQH                1DWLRQ                 2 
                     PRQWK         QDWXUH                  RDWK 
       PLGGOH                        1HZPDQ             
               PRQWKV        1HDU                            REIXVFDWLRQV
       0LNH          PRQWK V       QHDUE\         QHZVSDSHU        
       0LOOHU      PRUQLQJ         QHFHVVDU\                   REMHFW 
                                  QHHG       QHZVSDSHUV             
       PLOOLRQ      PRXQWDLQ                                  
               PRYH               QLJKW        
                                QLQH         
                                       QRGV               
       PLOOLRQV    PRYLQJ              QRLVH            
       PLQG      PXG                 QRPLQDWHG          
                                                            
       PLQH      0XLUKHDG                QRQILFWLRQ        
                                       
                                                   
       PLQHG     PXOWLSOH            QRQVHTXLWXU           
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       PLQLQJ       P\WK             QRUPDOO\         
                 0$6                 1RUPDQ           
       PLQXWH       0(675(                QRWH         
                                         QRWHG             
       PLQXWHV                               QRWHV        
                    1                                     
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       PLVUHDG      1DNDPRWR                             
       PLVVLQJ                                  
                                  QRWLFHG           
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                                                    
                        RIILFH                
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                     2K                       
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                       RND\                  
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       REMHFWHG                                   RUGHUHG 
                                            
       REMHFWLQJ                            RUGHUV 
                                          RUGLQDULO\
                                                     
       REMHFWLRQ       REMHFWLRQV                     RUJDQLVDWLRQ
                                            
                                         
                                     RULHQW 
                                 ROG          
                                RQFH      RULJLQDO 
                                                     
                                    RQHV      RULJLQDOO\ 
             REOLJDWLRQ           RQHVHOI        
              REOLJHG              RQOLQH     2UZHOO 
              REVHUYDWLRQV                             
                            2QWLHU           
                                     RQVLWH        RXWFRPH 
                                         RSHQLQJ      RXWJRLQJ 
           REVHUYHG               RSHQV          RXWLQJ 
                                       RSHUDWH       RXWVLGH 
             REVHUYHU             RSLQLRQ           
            REWDLQLQJ                            
                 REYLRXV                                
                 REYLRXVO\             RSLQLRQV          
                                                   
                             RSSRUWXQLW\           
               RFFXUUHG                            
              RIIHQG                             
              RIIHQVLYH                               
                 RIIHU                RSSRVHG           
                                                RXWVWDQGLQJ
             RIIKDQG             RUGHU        
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       RZQHG                                
                                              
       2 +DJDQ                           SDUDJUDSKV
                                          
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                                    
                                      
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                                     SDUDOHJDO 
                                              
                                          SDUDPHWHU
                                         
                                           SDUDPHWHUV
              2 +DJDQ V       SDJHV             
                                         3DUDPRXQW 
                                       SDUDSKUDVLQJ
                                           
                                      3DUN 
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                      3           SDJLQDWLRQ               
               3        SDSHU             
                                              
              3DH]                       
                                          
                                         
              SDJH                         
                                        
                        SDSHUV                
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                   SDUDJUDSK             
                                          
                                         
                                        
                                     SDUWLDO 
                                    SDUWLFLSDWH
                                  
                                   SDUWLFXODU 
                                     
                                      
                                     
                                          
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                   SHUFHQWDJH          SLQ                        SUHVHQW  
       SDUWLFXODUO\                    SLSH                       
                    SHUIHFWO\      SLSHG                      
       SDUWLHV                  SLVV              SUHVHQWDWLRQ
                      SODFH      SRLQWLQJ       
                                       SROLWLFDO     SUHVHQWHG 
                SHULRG                                    
       SDUWQHU                       SROLWLFLVHG         SUHVHUYH 
              SHULRGV                        SUHVXPHV 
             SHUPLVVLEOH         SODLQWLIIV     3RQFH            
                               3RUW     SUHWHQG 
       SDVVDJH      SHUPLW                 SRUWLRQ          
                SHUPLWWHG               SRVHG         SUHWW\ 
       SDWHQWO\                                         SUHYLRXV 
       SDWHQWV                 SODLQWLII V     SRVLQJ       SUHYLRXVO\ 
                                     SRVLWLRQ        SULPDULO\ 
       SDWKV        SHUVRQ      SOD\                      
       SDWLHQW                                     SULPDU\ 
       SDWURQ                SOD\HG                      
                                               SRVLWLRQHG      
       SD\          SHUVRQDO         SOD\HUV        SRVLWLRQV      SULPH 
       SHDFH             3OD]D                           3ULPURVH 
       SHQGLQJ       3HUVRQDOO\     SOHDVH       SRVVLELOLW\    SULQWHG 
                   SHUVSHFWLYH                                    
       SHRSOH                        SRVVLEOH       SULQWRXWV 
               SHUWDLQLQJ                             SULRU 
               SHUWDLQV                 SRVVLEO\        
               3HWHUVHQ                       SULYLOHJH 
                                                      
                SKLORVRSK\              SRWHQWLDO      SULYLOHJHG 
                                                     
             SKRQH                 SUDFWLFH       SUL]H 
                                  SUHFHGLQJ       
                                         SUHFLVHO\       SUREOHP 
              SKRWRFRS\                                
                 SKUDVH                   SUHFOXGHG     SUREOHPV 
                SLFN                        SURFHGXUH
                                        SUHIHU          
             SLFWXUHV                  SUHPLHU         SURFHHG 
                                                
                                       SUHSDUDWLRQ          
             SLHFH                          SURFHHGLQJ 
                     SOXUDO                    
                            SRHPV                      
             SLHFHV    SRLQW      SUHSDUHG       SURFHHGLQJV
       SHRSOH V                            SUHSDULQJ        
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                                        TXLFN 
       SURFHVV                                      
             SURYLQJ                                TXLFNO\ 
       SURFHVVHV     SURYRNHG      SXWWLQJ                    
       SURGXFH      SVHXGRQ\PV                              TXLWH  
                           3$(=                   
       SURGXFHG       SXEOLF        SP                      TXRWDWLRQ 
       SURGXFWLYLW\                                            
              SXEOLFDWLRQ            4                    
       SURIHVVLRQ            TXDOLILFDWLRQV               
       SURIHVVLRQDO                             
                                          
                                              
                      TXDQWLILFDWLRQ                 
                                                   
       SURIHVVRU                   TXDUWHU                    
       SURIXVHO\    SXEOLFDWLRQV       TXHVWLRQ              
       SURJUDPPH                                               
                     SXEOLVKHG               TXHVWLRQLQJ          
       SURJUDPPHV                                 
                                          TXRWDWLRQV 
       SURJUHVV                           
       SURORQJHG                              
       SURQRXQ                   TXHVWLRQV         
                                            
       SURQRXQV                             TXRWH 
       SURRI                                  
       SURSHU                                     
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       SURSHUO\                                   
                3XEOLVKHUV                     
               SXEOLVKLQJ                     
       SURSRUWLRQ                                   
       SURWHFWHG     SXUSRVH                              
       SURWRFRO      SXUSRVHV                       
       SURYH                                      
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       SURYHQDQFH         SXUVXDQW                            
                                                     
       SURYHV       SXW                        
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       SURYLGH                                        
       SURYLGHG                      TXLEEOH       
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                 UDLVH              UHFRUG       
              UDLVLQJ                        UHIHUULQJ 
               5D\PDQ                                 
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              UHDFK           UHDGV                      
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                          UHDO                
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                    UHDOO\                UHIHUV 
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                                                  
       TXRWHG                                     
       TXRWHV                                   
                                         UHIOHFW 
                                            
                                            
                                      UHIOHFWLRQ 
                                           
                                                  
                      UHDVRQ                  
                                            UHIOHFWV 
                                          UHIUHVK 
                                          UHIXWH 
                                           UHJDUGLQJ 
                                                
                                                  
       TXRWLQJ                              UHFRUGV           
                           UHDVRQDEOH          UHG               
                                     UHIHU     UHJDUGOHVV 
                              UHDVRQV            UHJDUGV 
                 UHDGHU                            UHJXODU 
             UHDGHUVKLS     UHFDOO                 UHJXODUO\ 
                                        UHIHUHQFH      UHMHFW 
                                          UHFHLYH                UHODWHG 
               5          UHDGLQJ         UHFLSLHQWV     UHIHUHQFHG     UHODWLQJ 
       5                                             UHODWLRQVKLS
       UDFNV               UHFRJQLVHV     UHIHUHQFHV       
                        UHFRJQLWLRQ                         UHODWLYH 
       UDGLR                              UHIHUUHG        UHOHDVH 
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                              UHVSRQGHQW                   
              UHSUHVHQWDWLRQV     UHVSRQGLQJ                        
       UHOHDVLQJ                                           VDIH 
                     UHSUHVHQWDWLYH      UHVSRQVH                VDIHW\ 
       UHOHYDQFH                                          VDNH 
                  UHSUHVHQWDWLYHV                       6DPDQWKD
                                           
               UHSUHVHQWHG         UHVSRQVHV              6DWRVKL 
       UHOHYDQW                UHVW                        
       UHO\LQJ         UHSUHVHQWLQJ                            
       UHPDLQ                 UHVWULFW                  
                          UHVXOWLQJ      ULJKWV           
       UHPDLQLQJ                          UHWXUQLQJ      ULJKWFOLFN       
                     UHSUHVHQWV     UHYHDO         ULJKWKDQG        
       UHPDUN                                      
                                              ULVNHG           
       UHPHG\          UHSXEOLVKHG     UHYHDOHG       ULVNV         
       UHSHDW                                                    
                UHSXWDWLRQ                    5LYHUR          
                           UHYLHZ                      
       UHSHDWHG                                    
       UHSHDWHGO\                                     
       UHSKUDVH       UHTXHVW               URDG        
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               UHTXLUHG            5RFKH        
               UHVHDUFK                           
                                         UROH         
       UHSODFH                                UROOLQJ          
       UHSOLHG       UHVHDUFKHUV         UHYLHZHG      UROOV             
       UHSRUW                                URRP               
              UHVLGH         UHYLHZLQJ      5R\DO              
       UHSRUWHU        UHVLGHQFH      UHYLHZV        UXOH         
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                                       
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       UHSRUWV                        UXVKLQJ         VDZ  
       UHSRVLWLRQ                        5,9(52         VD\LQJ  
       UHSUHVHQW       UHVSHFWLYH                            
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                                 VHQLRU         
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       6&$            VHFWLRQ                          VKUXJJHG 
       6FKLOOHU                                    VLGH 
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       VFKRODUV                                     VLJQ  
       VFLHQFH       VHFXULW\                              
                      VHH     VHHLQJ             VLJQDO 
       VFRSH                     VHHN                    VLJQDWXUH 
                         VHHNLQJ                  VLJQHG  
                       VHHQ                  
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       VLPSOH                       VRXWKHUQ             
                       VORZHU                                
       VLPSOLI\        6RDPHV      VSDUH                      
                                 VSHDN           VWDQGV          
       VLPSOLI\LQJ         VRFLDO                   VWDUW     
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       VLPSO\      VRFLHW\                           
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                VROLFLWRU                           VWDWHG  
                 VROLFLWRUV      VSHDNV                     
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                      VROYH                                         
       VLQJOH         VROYHG          VSHFLILF        VWDUWLQJ        
               VRPHERG\                               VWDWHPHQW 
                     VRPHZKDW        VSHFLILFDOO\             
       VLU       6RPPHUV                            
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                          VSHFXODWH      VWDUWV      
                        VSHFXODWLRQ                  
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                         VSHHG                  
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       VLW                           VSHQW                       
       VLWHG           VRUW                            
       6LWWLQJ                VSOLW                     
       VLWXDWLRQ              VSRNH                    
                              VTXDUH                   
       VL[                            6W                      
       VNLOO          VRXJKW                                 
       VNLS      VRXQG       VWDII                   
                VRXUFH         VWDQG                
       VNLSSHG              VWDQGDUG                  
       VOLJKWO\       VRXUFHG       VWDQGDUGV                  
       VOLQJLQJ    VRXUFHV         VWDQGLQJ                  
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               VWLSXODWLQJ    VXEVFULEHG     VZLWFK         
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              VWRULHV        VXJJHVW                             
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       VWDWHPHQWV                               7HO 
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                              6XLWH                    
                 VWUDLJKWIRUZDUG                      WDFW         WHOO  
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              VWUDQJH       VXUH                
                    6WUDWKFO\GH                            
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                                  WDNHQ        
               VWXGLHV                          
                    6WXGLRV                             
       VWDWLQJ       VWXII                                
                     6WXUW                   WDON      WHOOLQJ  
       VWD\         VW\OH                          
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       WHVWLILHG        WKDQNV                 WLPLQJ        725$ 
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                   XQGHUVWDQGLQJ               YRWHG 
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       WU\                        XQGHUVWRRG       YDOXHG      ZDON  
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                   XQDZDUH                     9HO#UFIOOSFRP      
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             ZLOOLQJ        ZRUGV         ZRUWK         
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